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     1                 UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
     2                       EASTERN DIVISION
     3    IN RE: NATIONAL             )   MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )   Case No. 1:17-MD-2804
                                      )
     5                                )   Hon. Dan A. Polster
          THIS DOCUMENT RELATES TO    )
     6    ALL CASES                   )
                                      )
     7
     8
     9                               __ __ __
    10                       Friday, February 8, 2019
                                     __ __ __
    11
                  HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                     CONFIDENTIALITY REVIEW
                                 __ __ __
    13
    14
    15
    16           Videotaped Deposition of GEORGE
           SAFFOLD, held at Worthington Renaissance
    17     Hotel, 200 Main Street, Fort Worth, Texas,
           commencing at 9:08 a.m. on the above date,
    18     before Susan Perry Miller, Registered
           Diplomate Reporter, Certified Realtime
    19     Reporter, Certified Realtime Captioner, and
           Notary Public.
    20
    21
    22                              __ __ __
    23                      GOLKOW LITIGATION SERVICES
                         877.370.3377 ph | fax 917.591.5672
    24                           deps@golkow.com
    25

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    3     BY: ERIKA M. KEECH, ESQUIRE
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    5     (202) 623-1900                                 5    EXAMINATION OF GEORGE SAFFOLD:
          Counsel for Plaintiffs
    6                                                    6    QUESTIONS BY MS. KEECH...................... 12
          KELLER ROHRBACK LLP
    7     BY: GARY GOTTO, ESQUIRE                        7    QUESTIONS BY MR. GASTEL.................... 196
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          Suite 1400                                     9
    9     Phoenix, Arizona 85012-2600
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   11                                                   11    LAWYER'S NOTES                       250
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          (615)254-8801                                 15    File 1                  10
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   16                                                   16    File 2                  94
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   20     SpecGx LLC and The Witness
   21                                                   21
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   25     SpecGx LLC and The Witness
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    4     2727 North Harwood Street                                    Saffold and Requests for
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    5     (214) 220-3939
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    6                                                        Saffold      George Saffold dated
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    8        mbalaster@reedsmith com                     8             7219673
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    9     Houston, Texas 77002                               Saffold      E-mail from Borelli,
          (713) 469-3800                                10   Exhibit 3    July 29, 2009
   10     Counsel for AmerisourceBergen Drug                           MNK-T1_0000290150 -
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   11                                                   11             290151
   12     COVINGTON & BURLING LLP                       12   Mallinckrodt- E-mail Chain ending with   62
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   13        awidas@cov.com                             13   Exhibit 4    10/31/2009
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   14     One City Center                               14             179936
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   15     Washington, D.C. 20001                             Saffold      E-mail from Stewart,
          (202) 662-6000                                16   Exhibit 5    November 17, 2009
   16     Counsel for McKesson Corporation                             MNK-T1_0000263249 -
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             jake.miller@arnoldporter.com                    Saffold      Rausch, 11/30/2009
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   25     BRIAN BOBBITT, Golkow Litigation Services     25

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    1    (Friday, February 8, 2019, 9:08 a.m.)     1             PROCEEDINGS
    2         THE VIDEOGRAPHER: All right,         2               GEORGE SAFFOLD,
    3    stand by. We are now on the record.       3   having taken an oath to tell the truth, the
    4    My name is Brian Bobbitt. I'm a           4   whole truth, and nothing but the truth,
    5    videographer for Golkow Litigation        5   testified as follows:
    6    Services. Today's date is February 8,     6                 EXAMINATION
    7    2019. The time is 9:08 a.m.               7   QUESTIONS BY MS. KEECH:
    8         This video deposition is being       8       Q. Good morning. Can you please
    9    held in Fort Worth, Texas, in the         9   state and spell your name for the record?
   10    National Prescription Opiate MDL,        10       A. Yes. My name is George
   11    2804, case number, for the United        11   Saffold, G-E-O-R-G-E, S, as in Sam, A, F as
   12    States District Court, Northern          12   in Frank, F as in Frank, O-L-D.
   13    District of Ohio, Eastern Division.      13       Q. And where do you currently
   14         The deponent is George Saffold.     14   reside?
   15         Does counsel want to identify       15       A. In North Richland Hills, Texas.
   16    theirselves for the record?              16       Q. Are you currently employed?
   17         MS. KEECH: Erika Keech from         17       A. Yes.
   18    Keller Rohrback on behalf of the         18       Q. Where?
   19    plaintiffs.                              19       A. For VF Corporation.
   20         MR. GOTTO: Gary Gotto from          20       Q. And where is VF located?
   21    Keller Rohrback.                         21       A. My office is located in
   22         MR. GASTEL: Ben Gastel from         22   Fort Worth.
   23    Branstetter Stranch & Jennings on        23       Q. And you understand that you're
   24    behalf of the Tennessee plaintiffs.      24   under oath today, right?
   25         MS. DURFEE: Laura Jane Durfee       25       A. Yes.
                                        Page 11                                             Page 13
    1    from Jones Day for Walmart.               1       Q. Are you taking any medication
    2         MS. BALASTER: Mary Balaster          2   or is there any other reason that would
    3    with Reed Smith on behalf of              3   interfere with your ability to testify
    4    AmerisourceBergen Drug Corporation.       4   truthfully and fully today?
    5         MS. LaRUSSA: Cassandra               5       A. No.
    6    LaRussa, Ropes & Gray, on behalf of       6       Q. Okay. And if I ask a question
    7    Mallinckrodt LLC, SpecGx and the          7   you don't understand, please let me know and
    8    witness.                                  8   I will try and rephrase it.
    9         MR. BERG: Nick Berg from             9       A. (Nods head.)
   10    Ropes & Gray.                            10       Q. Have you ever testified in a
   11         MR. SAFFOLD: George Saffold.        11   deposition or trial before?
   12         THE REPORTER: And those on the      12       A. No.
   13    phone, please?                           13       Q. I'm sure your counsel explained
   14         MR. MILLER: Hi, this is Jake        14   some general rules, but I'll also go over
   15    Miller from Arnold & Porter on behalf    15   some as well. The court reporter here has
   16    of the Endo and Par defendants.          16   the important job of transcribing everything
   17         MS. WIDAS: Alexandra Widas          17   that we're saying to each other, so it's
   18    from Covington & Burling on behalf of    18   important that we don't talk over one
   19    McKesson.                                19   another, and give audible answers.
   20         (Witness sworn by the               20            So, please, if I ask a
   21    reporter.)                               21   yes-or-no question, rather than shaking your
   22         (Examination begins on next         22   head, please answer yes or no. Does that
   23    page.)                                   23   sound good?
   24               --oOo--                       24       A. Yes.
   25               --oOo--                       25       Q. And are you represented by
  Golkow Litigation Services                                              Page 4 (10 - 13)
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    1   counsel here today?                              1       A. No. I did not review my phone
    2       A. Yes.                                      2   nor my personal computer.
    3       Q. And who are they?                         3       Q. Did anyone ask you to do that?
    4       A. They're from Ropes & Gray,                4       A. Yes. I did not because
    5   Cassandra and Kevin.                             5   they're -- I don't have any documents from
    6       Q. Okay. From time to time, your             6   Mallinckrodt on my personal computer, and I
    7   counsel may object to questioning. Unless        7   did not have a phone that I kept with me
    8   you get a clear instruction not to respond, I    8   after I left Mallinckrodt.
    9   would ask that you respond to my question,       9       Q. And what did you do to prepare
   10   okay?                                           10   for this deposition today?
   11       A. Yes.                                     11       A. I met with counsel on two
   12       Q. And to the extent that you need          12   separate occasions.
   13   a break, please let me know and I'll do my      13       Q. Did you review any deposition
   14   best to accommodate. I plan on taking breaks    14   transcripts or complaints or other papers
   15   about every hour.                               15   filed in this litigation?
   16       A. Thank you.                               16       A. No.
   17       Q. Sir, I'm handing you what's              17       Q. And when you met with your
   18   been marked as Exhibit 1.                       18   attorneys, was it in person?
   19            (Mallinckrodt-Saffold Exhibit 1        19       A. Yes.
   20       was marked for identification.)             20       Q. Okay. And without telling me
   21   QUESTIONS BY MS. KEECH:                         21   the content of your conversations, did you
   22       Q. Do you recognize this document?          22   review documents with your attorneys?
   23       A. Yes.                                     23       A. Yes.
   24       Q. And what is it?                          24       Q. And did reviewing documents
   25       A. It's a notice for the                    25   refresh your recollection of any past events?
                                              Page 15                                             Page 17
    1   deposition today.                                1       A. Partially.
    2       Q. Okay. And when did you first              2       Q. How so?
    3   see this document?                               3       A. The names of colleagues.
    4       A. Yesterday.                                4   Primarily that, just...
    5       Q. Would you turn with me to                 5       Q. Did you speak with anyone else
    6   Schedule A? Do you see the request to bring      6   prior to this deposition, any former
    7   documents?                                       7   colleagues, friends still at the company?
    8       A. I'm sorry, can you give me a              8       A. No.
    9   page? Oh, never mind. I do.                      9       Q. And are you being reimbursed by
   10       Q. And did you search for                   10   anyone for your expenses in connection with
   11   documents that were responsive to this?         11   this deposition?
   12       A. Yes.                                     12       A. No.
   13       Q. Did you look in your own                 13       Q. Are you being compensated by
   14   personal paper or electronic files?             14   anyone for your time in connection with your
   15       A. Yes.                                     15   attendance or preparation for this
   16       Q. Did you ever use your personal           16   deposition, including searching for your
   17   e-mail to communicate with your work            17   documents?
   18   colleagues or customers about your work while   18       A. No.
   19   you were employed with Mallinckrodt?            19       Q. Did you graduate from college?
   20       A. No.                                      20       A. Yes.
   21       Q. How about text messages?                 21       Q. Where?
   22       A. No.                                      22       A. Font Bonne University.
   23       Q. Did you review your phone or             23       Q. Can you spell that?
   24   personal computer for work-related text         24       A. F-O-N-T, B-O-N-N-E, University.
   25   messages or e-mails?                            25       Q. In what year?
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    1        A. 2016.                                    1       A. Yes. So I entered -- so it was
    2        Q. Can you briefly describe your            2   a temporary -- it was a very -- it was an
    3   job history after high school to the present?    3   occupational job, so it had a lot of data
    4        A. Sure. After high school, I               4   entry. Mallinckrodt had purchased a
    5   worked in a variety of jobs, a lot of            5   respiratory company called Nellcor Puritan
    6   restaurant jobs. I worked at Pasta House as      6   Bennett, and there was an effort to put them
    7   a restaurant bartender, cook and waiter.         7   onto the same system as Mallinckrodt's
    8   It's where I met my future wife.                 8   system.
    9            From there, I worked at                 9            And when they translated the
   10   Macaroni Grill as a bartender trainer. And      10   addresses over, the -- not all the addresses.
   11   from there I became a development coordinator   11   Customer addresses looked great. So my job
   12   for Macaroni Grill and ultimately for Brinker   12   was to go in and do things like retype an
   13   International, which is the parent company of   13   attention line.
   14   Macaroni Grill, where I went on the road and    14            And then also in that role,
   15   assisted with new unit development and          15   about three hours a day I was assigned to
   16   openings of new units.                          16   when a customer service rep entered a request
   17            Following that role, I became a        17   for a new customer address, my job was to
   18   temporary -- just kind of looking to make a     18   search to see if we actually already had that
   19   career change, so I became a temporary          19   address in our database.
   20   employee with Manpower USA in data integrity;   20       Q. Thank you. And what year did
   21   and then I was assigned Mallinckrodt, and I     21   you begin employment with Mallinckrodt?
   22   started working in data integrity at            22       A. Around 1999.
   23   Mallinckrodt.                                   23       Q. And do you recall when you
   24            From there, I became a customer        24   transitioned to customer service?
   25   service agent in our respiratory device         25       A. September of 1999, I believe.
                                              Page 19                                              Page 21
    1   division. Following that, I was a supervisor     1       Q. So how long would you estimate
    2   of critical care customer service, which was     2   that you were in the data integrity group?
    3   medical device.                                  3       A. Six-ish months.
    4            Following that, I was manager           4       Q. Okay. Do you hold any
    5   of distributor logistics for Mallinckrodt on     5   professional licenses or certificates?
    6   the medical device side. Then I became           6       A. Yes.
    7   director -- oh, I'm sorry. Then I was            7       Q. And what are they?
    8   manager of distribution operations for           8       A. I'm a Six Sigma Business
    9   Mallinckrodt imaging and respiratory.            9   Process Green Belt.
   10   Following that, I became director of customer   10       Q. And where did you obtain that
   11   service for Mallinckrodt imaging solutions      11   certification?
   12   and respiratory monitoring solutions.           12       A. Tyco Healthcare.
   13            After that, I became director          13       Q. Have you taken any courses
   14   of Mallinckrodt pharmaceutical and              14   related to distribution of controlled
   15   respiratory. Then I became director of          15   substances?
   16   Mallinckrodt pharmaceutical global customer     16       A. No.
   17   service. And then in March of 2017, I left      17       Q. Are you familiar with the
   18   the company.                                    18   claims asserted in this litigation?
   19       Q. Thank you. Before joining                19       A. In a general sense only.
   20   Mallinckrodt, did you have any experience in    20       Q. And generally speaking, what do
   21   the pharmaceutical industry?                    21   you understand the claims to be?
   22       A. No.                                      22       A. I understand that there are
   23       Q. Can you tell me a little bit             23   several -- there's a multiparty group
   24   more about your role in data integrity? What    24   asserting that a large number of defendants
   25   did that involve?                               25   are responsible for opioids.
  Golkow Litigation Services                                                     Page 6 (18 - 21)
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                                              Page 22                                             Page 24
    1       Q. Anything else?                            1   to 2009, you were given no training at
    2       A. No.                                       2   Mallinckrodt with regard to the Controlled
    3       Q. Okay. Do you have a view as to            3   Substances Act?
    4   the merits of any of the claims?                 4       A. Yes.
    5       A. No.                                       5       Q. And can you describe the
    6       Q. And when did you learn about              6   training that you were given?
    7   this litigation?                                 7       A. Yes. Our members of our
    8       A. I think I heard a little bit              8   compliance team, DEA compliance team, talked
    9   about it on 60 Minutes, and then -- then         9   about the importance of compliance, my
   10   certainly as I was contacted relevant to this   10   obligations, as in my role, and the
   11   case.                                           11   obligations of my team members.
   12       Q. Do you recall when you saw that          12       Q. And what did you understand
   13   60 Minutes episode?                             13   those obligations to be?
   14       A. No. And to be clear, I did not           14       A. Well, the first was to process
   15   see the 60 Minutes episode. I just saw the      15   orders carefully and diligently, paying
   16   advertisement for the 60 Minutes episode. I     16   attention to 222 forms and making sure those
   17   never watched it.                               17   were accurate.
   18       Q. Thanks for clarifying.                   18            And the second was to ensure
   19             Any idea as far as how many           19   that from the moment we accepted an order to
   20   years ago that was or how recently you saw      20   the moment it was delivered that it was
   21   the advertisement?                              21   secure, it was done properly and securely,
   22       A. I -- no.                                 22   and that if any anomaly or anything took
   23       Q. Okay. And thank you for                  23   place, like I said, a delivery exception, it
   24   running through your positions at               24   was our responsibility to report that
   25   Mallinckrodt earlier.                           25   immediately.
                                              Page 23                                             Page 25
    1            For each position, did your             1       Q. So you had a responsibility to
    2   duties require you to be familiar with the       2   report anomalies. Can you give an example of
    3   Controlled Substances Act or regulations         3   the type of anomaly?
    4   thereunder?                                      4       A. Yes. If a recipient of our
    5       A. No.                                       5   product called and said, hey, I'm short a
    6            MR. BERG: Object to form.               6   bottle of pills, we would immediately report
    7       A. No.                                       7   that to the DEA.
    8   QUESTIONS BY MS. KEECH:                          8            I'm sorry. We really -- I
    9       Q. In any of your positions at               9   wouldn't report it to the DEA. I would
   10   Mallinckrodt, were you given any training       10   report it to our DEA compliance team, and I
   11   regarding the Controlled Substances Act or      11   believe they would report it to the DEA.
   12   any of its regulations?                         12       Q. When you would raise issues
   13       A. Yes.                                     13   with the DEA compliance team internally at
   14       Q. And can you please describe              14   Mallinckrodt, would you then receive
   15   which positions required you -- or provided     15   verification that that issue was actually
   16   that training?                                  16   reported to the DEA?
   17       A. As director of customer service          17       A. I don't recall.
   18   for pharmaceuticals.                            18       Q. So fair to say you trusted that
   19       Q. Any other positions?                     19   the DEA compliance team would follow through
   20       A. No.                                      20   with whatever you raised to them?
   21       Q. And what year did you become             21            MR. BERG: Object to form.
   22   director?                                       22       A. Yes.
   23       A. In 2009.                                 23   QUESTIONS BY MS. KEECH:
   24       Q. 2009.                                    24       Q. And can you describe your job
   25            So is it fair to say that prior        25   description as a customer service

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    1   representative and director?                     1   respiratory group out of my -- mine and
    2        A. Which particular -- I had                2   transferring them over to another location,
    3   several roles. Each was a different job.         3   so I worked on that.
    4        Q. Actually, if you could walk              4            And then I also assumed
    5   through each of them, that would be great.       5   responsibility for our active pharmaceutical
    6        A. Sure. As a customer service              6   ingredients group and our dosage group.
    7   representative in the respiratory division of    7       Q. So when you assumed
    8   Mallinckrodt, I assisted distributors and        8   responsibility for active pharmaceutical
    9   hospitals, home healthcare providers, with       9   ingredients or API and dosage, can you
   10   tracheostomy and tracheotomy tubes,             10   describe your responsibilities in that role
   11   temperature monitoring devices and pulse        11   or that capacity?
   12   oximetry. So mainly it was order entry,         12       A. Sure. The API customer service
   13   letting people know where their orders were,    13   team accepted orders from manufacturers and a
   14   and then very low-level troubleshooting,        14   lot of that product is made to order, and so
   15   helping them with returns.                      15   then coordinated with our manufacturing team,
   16        Q. And your role as customer               16   our planning team, on the timing and delivery
   17   service director?                               17   of that.
   18        A. In which -- I was a customer            18            And then the dosage group
   19   service director in several groups.             19   sold -- primarily sold, you know, dosage
   20        Q. In each of your capacities.             20   pharmaceuticals to wholesalers, and that team
   21        A. So as customer service director         21   accepted orders, advised on order status and,
   22   for respiratory and monitoring solutions and    22   you know, assisted with returns, if any.
   23   imaging solutions, I had a few different        23       Q. So in your role as director of
   24   groups. On the respiratory side, we were        24   global customer service, who did you report
   25   mostly selling medical devices -- no,           25   to?
                                              Page 27                                              Page 29
    1   exclusively selling medical devices, so          1        A. So in my role as -- I reported
    2   pulse oximetry, tracheostomy, tracheotomy        2   to -- in my role as director of global
    3   tubes. I'm sure I'm missing some too, but a      3   customer service, I reported to the director
    4   lot of devices, a lot of those are               4   of global supply chain.
    5   disposable.                                      5        Q. And who was that?
    6             Then in the imaging side, we           6        A. George Morrison.
    7   had two unique businesses. One is contrast       7        Q. And was he -- were you his
    8   media, so dyes used for X-ray, right, and so     8   direct report when you left Mallinckrodt?
    9   I was assist -- so there our customers were      9        A. Yes.
   10   hospitals and imaging centers and               10            No, I'm sorry. Right before I
   11   distributors.                                   11   left Mallinckrodt, we restructured, and I was
   12             And then on the nuclear -- then       12   no longer his direct report at that time.
   13   we also had a nuclear medicine division, so     13        Q. And who was your supervisor at
   14   there we are making nuclear medicine,           14   that point in time?
   15   radioactive, for procedures. We're              15        A. Kassie Harrold.
   16   chartering planes and flying that medicine to   16        Q. And did she evaluate your
   17   hospitals and then getting couriers to drive    17   performance?
   18   it to the hospital so that it can be given to   18        A. No.
   19   the patient while it's still actively           19        Q. Did George Morrison?
   20   radioactive. And that was my respiratory and    20        A. Yes.
   21   imaging job.                                    21        Q. And how was the evaluation
   22             Then in '99, as director of           22   conducted? How frequently?
   23   pharma and respiratory and imaging, I also --   23        A. Annually.
   24   so I retained those three groups and then       24        Q. Is there a written record of
   25   worked on the planned separation of the         25   your annual review?
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    1       A. Yes. I would -- well, I would                 1       A. I don't believe so.
    2   assume so, but I don't have any knowledge if         2       Q. Were there any other
    3   it was -- you know, of where it is or whether        3   restrictions in the severance agreement?
    4   it was retained.                                     4       A. I don't recall the specifics of
    5       Q. Okay. So you don't know who                   5   the severance agreement.
    6   would maintain those performance evaluations?        6       Q. Do you still have it?
    7       A. No.                                           7       A. I do.
    8       Q. And when you were evaluated,                  8       Q. Did you disclose it?
    9   were you evaluated based on any particular           9       A. Yes.
   10   metrics?                                            10            MS. KEECH: And, Counsel, I
   11       A. Yes.                                         11       would ask that if that document hasn't
   12       Q. Do you recall what they were?                12       already been disclosed that you please
   13       A. Yes. Call answer rate, so the                13       do so.
   14   percentage of calls answered within 30              14            MR. BERG: Understood. We'll
   15   seconds; order accuracy, as an expression of        15       look into it.
   16   Sigma.                                              16   QUESTIONS BY MS. KEECH:
   17       Q. Any other factors?                           17       Q. So up until you left
   18       A. None that I can remember.                    18   Mallinckrodt, did you consider yourself a
   19       Q. Do you recall if your                        19   successful director of global customer
   20   performance was at all tied to sales?               20   service?
   21       A. Yes, I do recall. No, it was                 21       A. I never really thought about
   22   not.                                                22   it.
   23       Q. And you indicated that you left              23       Q. Did you ever think about your
   24   Mallinckrodt in March of 2017. Is that              24   performance as a Mallinckrodt employee?
   25   correct?                                            25       A. Yes.
                                                 Page 31                                              Page 33
    1       A. Yes.                                          1       Q. And what did you think about
    2       Q. And what were the circumstances               2   your performance?
    3   under which you left?                                3       A. I think I was a good employee.
    4       A. We had done a lot of                          4       Q. You complied with workplace
    5   restructuring, and so I left as part of that.        5   rules?
    6       Q. Was it voluntary?                             6       A. Yes.
    7       A. I don't know. I had asked -- I                7       Q. And you did your job the way
    8   had said I would be interested in leaving and        8   that Mallinckrodt expected you to do your
    9   making a career change. At the same time, I          9   job?
   10   don't know -- you know, you don't really get        10       A. Yes.
   11   to choose that, right, so I don't know how to       11       Q. Would you say that you were
   12   answer that.                                        12   well regarded by your peers at Mallinckrodt?
   13       Q. When you left Mallinckrodt, did              13       A. I'd say it was mixed, like any
   14   you receive a severance payment?                    14   other place.
   15       A. Yes.                                         15       Q. What about your supervisors?
   16       Q. And what was the amount of the               16   Do you have an impression of what their view
   17   severance?                                          17   of you was?
   18       A. It was -- I was there for 17                 18       A. Yes.
   19   years, and I received                         for   19       Q. And what was that?
   20   every year. So              of salary.              20       A. Based on my performance
   21       Q. Did you have a severance                     21   evaluations, my supervisors considered me
   22   agreement?                                          22   anywhere from a good employee to a
   23       A. Yes.                                         23   superlative employee.
   24       Q. And did it limit what you were               24       Q. And would you say that you're
   25   allowed to say about Mallinckrodt?                  25   detail-oriented?
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    1       A. No.                                       1   organizations.
    2       Q. So not detail-oriented, but               2       Q. How would you define "large
    3   order accuracy was one of your performance       3   group"? More or less than five?
    4   metrics?                                         4       A. More than five.
    5           MR. BERG: Object to form.                5       Q. And did you get to know the Big
    6       A. The order accuracy of my team             6   Three customers?
    7   was one of our performance metrics.              7       A. No. I mean, not well or...
    8   QUESTIONS BY MS. KEECH:                          8       Q. What did you know about their
    9       Q. Were you personally evaluated             9   companies?
   10   with regard to order accuracy?                  10       A. Going through each, one is
   11       A. I did not enter orders after --          11   efficiency. We are very interested in
   12   you know, after I became supervisor of          12   efficiency and doing things right, and we
   13   customer service.                               13   shared that mutual interest. I think that
   14       Q. Okay. So as global customer              14   was universal.
   15   service director, how -- strike that.           15            Other than that, I don't really
   16           In your capacity as global              16   recall anything specific about any of these
   17   customer service director, did you get to       17   companies or really the individuals in them.
   18   know your customers?                            18       Q. No specific recollections about
   19       A. Not very many.                           19   any of the Big Three companies?
   20       Q. Were there some that you were            20       A. No.
   21   more well acquainted with than others?          21       Q. Did you seek to retain
   22       A. Yes.                                     22   customers?
   23       Q. And do you recall which                  23       A. No.
   24   customers?                                      24       Q. So no effort was put into
   25       A. Yes. I'd refer to them as the            25   retaining customers as the director of
                                             Page 35                                               Page 37
    1   Big Three; McKesson, Cardinal, and ABC. Then     1   customer --
    2   also the nuclear medicine customers, the         2       A. Correct. We had no initiative
    3   pharmacists. That's such a unique business       3   based on customer retention.
    4   and a very small community; one learns them      4       Q. And which customers were you
    5   fairly... and then definitely                    5   responsible for?
    6   internationally, my international customers,     6       A. In which role?
    7   but it's more as affiliates, right, so the       7       Q. In your last role at
    8   international affiliates, I got to know them.    8   Mallinckrodt.
    9       Q. Can you describe your                     9       A. In my last role at
   10   relationship with each of the Big Three?        10   Mallinckrodt, I was responsible for our
   11       A. Professional.                            11   nuclear medicine pharmacies, our
   12       Q. Both professionally and                  12   international affiliates, our -- quite
   13   personally if --                                13   simply, anyone who placed an order with
   14       A. No, that was my description.             14   Mallinckrodt. That's probably a better
   15   It was a professional relationship.             15   answer.
   16       Q. Did you ever attend dinners              16       Q. Do you recall what your salary
   17   with any individuals from the Big Three?        17   was when you started at Mallinckrodt?
   18       A. As part of a group, probably             18       A. No, not specifically. It was
   19   over the course of several years, maybe five    19   under         a year, I remember that.
   20   to seven.                                       20       Q. Did you receive raises while
   21       Q. And do you recall who else was           21   you were there?
   22   present at those dinners?                       22       A. Yes.
   23       A. Not specifically, no. But it             23       Q. And can you walk me through
   24   usually involved -- it always involved a        24   your raises that you received and when you
   25   larger group of people from both                25   received them, to the extent that you
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    1   remember?                                        1   spin of Mallinckrodt from Covidien. A few
    2       A. I can't remember my raises. I             2   other directors in the supply chain had
    3   don't remember any of the circumstances          3   already left. The supply chain lead was
    4   around my raises.                                4   leaving and so they -- and so I was, you
    5       Q. Do you recall what your salary            5   know, asked to -- I was offered this.
    6   was when you left Mallinckrodt?                  6       Q. And prior to receiving this
    7       A. Yes.                                      7   retention bonus, did you express
    8       Q. And what was it?                          8   dissatisfaction to anyone at Mallinckrodt
    9       A. About              .                      9   regarding your employment there?
   10       Q. Did you also receive bonuses             10       A. I don't recall.
   11   while you were there?                           11       Q. In the second paragraph on this
   12       A. Yes.                                     12   document, it says: Because your knowledge
   13       Q. And do you recall the size of            13   and skills are critical to the company during
   14   the bonus when you left?                        14   this transition period, you are eligible for
   15       A. No. I'd need to know                     15   a payment of                .
   16   specifically what bonus you are talking         16            What knowledge and skills did
   17   about.                                          17   you have that you believe were critical to
   18       Q. Did you receive multiple                 18   Mallinckrodt?
   19   bonuses?                                        19            MR. BERG: Object to form.
   20       A. Yes.                                     20       A. I don't know. I mean, I didn't
   21       Q. Can you describe to me the               21   ask for this payment and I was a bit -- I was
   22   various bonuses you received?                   22   very pleased to get it.
   23       A. Yes. I received usually a                23   QUESTIONS BY MS. KEECH:
   24   yearly bonus. Also, there was one time, and     24       Q. Okay. Thank you.
   25   I'm unsure of the year, I received a            25            So going back to the customers,
                                              Page 39                                              Page 41
    1   retention bonus. And then -- and usually the     1   how much information was available to you
    2   bonuses were by year, but sometimes for          2   about Mallinckrodt's customers?
    3   restructuring purposes and everything, that      3       A. Some. And it would depend on
    4   bonus got paid out because we changed a          4   the role, so I guess in which role are you
    5   fiscal year or something, it got paid out,       5   referring to?
    6   like it wasn't a full year.                      6       Q. As the director of global
    7            And then when I left, I                 7   customer service.
    8   think -- I'd have to check, but I think I may    8       A. So I saw -- what would be
    9   have gotten a partial prorated kind of bonus     9   available to me would be pretty much to whom
   10   at my departure, or maybe really prior to my    10   we shipped and to whom we've sent invoices.
   11   departure but around the same time.             11       Q. Can you describe your level of
   12       Q. I'm handing you what's been              12   interaction with the Big Three customers?
   13   marked as Exhibit 2, bearing Bates stamp        13       A. Limited. Professional.
   14   MNK-T1_0007219867.                              14       Q. Did you have a role in
   15            (Mallinckrodt-Saffold Exhibit 2        15   generating opioid sales?
   16       was marked for identification.)             16       A. No.
   17   QUESTIONS BY MS. KEECH:                         17       Q. Did anyone under customer
   18       Q. Do you recognize that document?          18   service review peculiar or unusual orders?
   19       A. Yes.                                     19       A. Yes.
   20       Q. And is that the retention bonus          20       Q. And who did that?
   21   that you just referred to?                      21            MR. BERG: Object to form.
   22       A. It is.                                   22       A. Certainly the manager of -- it
   23       Q. What were the circumstances              23   would depend on the time period. But
   24   surrounding this retention payment?             24   generally, in my role as director of global
   25       A. We were trying to execute a              25   pharmaceuticals, the manager of dosage

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    1   customer service and -- did.                     1   that Mallinckrodt audited?
    2   QUESTIONS BY MS. KEECH:                          2       A. No.
    3       Q. And during what time period did           3       Q. So you just indicated you don't
    4   the manager of dosage review peculiar orders?    4   know the purpose of an audit. Do you know
    5       A. I'm not 100% sure I could tell            5   the mechanics of an audit, in general terms?
    6   you.                                             6       A. I know the mechanics of an
    7       Q. Prior to 2009?                            7   audit when I undergo an audit. I do not know
    8       A. I couldn't tell you anything              8   the mechanics of a customer audit.
    9   about that prior to 2009.                        9       Q. So you don't know what
   10       Q. Did customer service                     10   Mallinckrodt would look at?
   11   representatives ever monitor peculiar or        11       A. No.
   12   suspicious orders?                              12       Q. Who it spoke with?
   13       A. No.                                      13       A. Huh-uh.
   14       Q. Are you aware that Mallinckrodt          14       Q. Okay. You're not aware of
   15   had a duty to design and implement a            15   whether Mallinckrodt had a specific audit
   16   Suspicious Order Monitoring program?            16   procedure to follow?
   17           MR. BERG: Object to form.               17       A. No, I'm not aware of any audit
   18       A. Yes.                                     18   procedures, other than our own -- other than
   19   QUESTIONS BY MS. KEECH:                         19   what were Mallinckrodt's own internal audit
   20       Q. And were you aware of that duty          20   so -- but I'm not aware of any other audit.
   21   when you were employed by Mallinckrodt?         21       Q. When you describe
   22           MR. BERG: Object to form.               22   Mallinckrodt's own internal audit, what are
   23       A. Yes.                                     23   you referring to?
   24   QUESTIONS BY MS. KEECH:                         24       A. Our people from our internal
   25       Q. Who informed you of that duty?           25   audit company. Our audit group, not company,
                                              Page 43                                              Page 45
    1       A. Our global DEA compliance lead.           1   looking at my function, right, to make sure
    2       Q. And do you recall when you                2   we were complying with financial regulations.
    3   learned of this duty?                            3        Q. So you are aware of a group
    4       A. Not specifically, but during              4   within Mallinckrodt that was auditing your
    5   the onboarding process from moving from          5   capacity?
    6   respiratory into imaging, so July-ish of         6        A. Yes.
    7   2009.                                            7        Q. But fair to say you're not
    8       Q. And were you personally                   8   aware of whether Mallinckrodt audited any of
    9   involved in monitoring suspicious orders         9   its customers?
   10   during your employment at Mallinckrodt?         10        A. I was aware that Mallinckrodt
   11       A. No.                                      11   did audit customers, but I have no detailed
   12       Q. Were you involved in auditing            12   knowledge or actually any knowledge at all
   13   any of Mallinckrodt's customers?                13   what that really meant, means.
   14       A. No.                                      14        Q. Okay. And were you aware that
   15       Q. Do you know whether                      15   in 2010, Mallinckrodt identified various
   16   Mallinckrodt conducted audits of its            16   indirect customers who were purchasing from
   17   customers?                                      17   multiple Mallinckrodt distributors?
   18       A. Yes.                                     18        A. No.
   19       Q. And what do you understand the           19        Q. Did you ever make a
   20   purpose of an audit to be?                      20   determination that a customer had suspicious
   21       A. I don't know.                            21   orders?
   22       Q. Do you know how Mallinckrodt             22        A. No.
   23   determined who to audit?                        23        Q. Are you aware of whether
   24       A. No.                                      24   Mallinckrodt ever made a determination that
   25       Q. Do you recall which entities             25   any of its customers had suspicious orders?

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    1       A. No.                                       1   whether it was a manual or electronic order.
    2       Q. Are you aware that                        2            Second was to protect the
    3   manufacturers and distributors of narcotics      3   integrity of the supply chain. So, you know,
    4   must comply with the Controlled Substances       4   so there's a certain amount of
    5   Act?                                             5   confidentiality that we maintained so that
    6             MR. BERG: Object to form.              6   way bad guys couldn't find out where product
    7       A. Yes.                                      7   was going, right. And that, it was even for
    8   QUESTIONS BY MS. KEECH:                          8   my systems, so I then made sure that people
    9       Q. Are opioids narcotics?                    9   who hadn't passed a DEA background check
   10             MR. BERG: Object to form.             10   didn't have access to this information.
   11       A. Yes, I think so.                         11            And then the third was to
   12   QUESTIONS BY MS. KEECH:                         12   report any -- any discrepancy. So if it was,
   13       Q. And Mallinckrodt manufacturers           13   you know, a misdelivery, mis-shipment,
   14   opioids, correct?                               14   somebody tampered with a package, right, I'd
   15       A. Yes.                                     15   make sure that my team was reporting that to
   16       Q. And are you familiar with the            16   our DEA team and recording that. So that was
   17   requirements of the Controlled Substances Act   17   very important.
   18   as it relates to a manufacturer of controlled   18            And then really, anything --
   19   substances?                                     19   you know, and then to collaborate, you know,
   20       A. No. Only as the -- no.                   20   with other members of Mallinckrodt kind of at
   21   Just -- I'm not, really.                        21   the direction of the DEA compliance team to
   22       Q. So earlier, when you indicated           22   make sure we're -- any other area where we
   23   that members of DEA compliance talk about the   23   can demonstrate compliance.
   24   importance of compliance, did they ever         24       Q. Are you familiar with the term
   25   discuss the Controlled Substances Act?          25   "closed system" for opioid distribution?
                                             Page 47                                               Page 49
    1        A. In general terms, yes. Like,             1       A. No.
    2   hey, you have to comply, and it's very           2       Q. This means that only people or
    3   important to do so. And here's what we think     3   entities that are registrants under the
    4   you need to do to comply, and take that          4   Controlled Substances Act can be involved in
    5   seriously. And that's kind of the context        5   the distribution of controlled substances.
    6   and the thrust of the message.                   6             MR. BERG: Object to form.
    7        Q. Do you feel that your training           7   QUESTIONS BY MS. KEECH:
    8   was adequate with regard to what your duties     8       Q. Does that sound familiar?
    9   and responsibilities were?                       9             MR. BERG: Object to form.
   10        A. Yes.                                    10       A. The term and your statement
   11        Q. But you don't recall what any           11   don't sound familiar, but the concept, yes,
   12   of those duties and responsibilities are?       12   that's -- that was very important.
   13             MR. BERG: Object to form.             13   QUESTIONS BY MS. KEECH:
   14        A. I understand my duties and              14       Q. And that concept, would you
   15   responsibilities and how they relate to         15   agree that the purpose of that is to minimize
   16   compliance.                                     16   theft and diversion of controlled substances?
   17   QUESTIONS BY MS. KEECH:                         17       A. Yes.
   18        Q. Can you describe your duties            18       Q. And would you agree that a
   19   and responsibilities as they relate to          19   registrant's failure to meet its obligations
   20   compliance?                                     20   under the Controlled Substances Act can
   21        A. Yes. Our first responsibility           21   result in controlled substances being
   22   was to make sure that the order placed was a    22   diverted from legitimate channels?
   23   valid order, so we checked against -- well,     23       A. I don't know. I'm not really a
   24   first of all, we maintained systems and         24   controlled -- you know, I'm not an expert on
   25   processes that could validate the order,        25   the Controlled Substances Act or diversion,
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    1   so it's tough for me to speculate kind of        1   but I'm not, you know -- I'm not an expert on
    2   downstream. I just understood my obligation,     2   that.
    3   right, was to...                                 3   QUESTIONS BY MS. KEECH:
    4        Q. Would you agree that a                   4       Q. Do you know if they had a duty
    5   manufacturer that sells controlled substances    5   to report suspicious orders to the DEA?
    6   to distribute -- to distributors who then        6             MR. BERG: Object to form.
    7   recklessly distribute opioids is engaged in      7       A. Yes. I understood that they
    8   diversion?                                       8   did have a duty to report suspicious orders
    9             MR. BERG: Object to form.              9   to the DEA.
   10        A. I'm not really an expert on             10   QUESTIONS BY MS. KEECH:
   11   even what diversion is, right. So my view of    11       Q. And Mallinckrodt's distributor
   12   diversion is like you get it from point A to    12   customers are called direct customers,
   13   point B and make sure that it's where --        13   correct?
   14   it's going where it's supposed to and that      14       A. I don't -- I don't think that's
   15   it's approved and compliant.                    15   a statement you can make universally. We had
   16   QUESTIONS BY MS. KEECH:                         16   a lot of lines of business, and so people
   17        Q. So what do effective controls           17   used those terms really poorly.
   18   to prevent diversion mean to you?               18             So, no, people may have called
   19             MR. BERG: Object to form.             19   them that, but they may not have as well.
   20        A. Well, I certainly can't speak           20       Q. How did you refer to
   21   to all aspects of diversion. I'm not sure       21   Mallinckrodt's distributor customers?
   22   there's even a universal definition. So I'm     22       A. As distributors and
   23   not sure I can answer the question, really.     23   wholesalers.
   24   QUESTIONS BY MS. KEECH:                         24       Q. Okay. How about customers that
   25        Q. The Controlled Substances Act           25   those distributors and wholesalers then sold
                                             Page 51                                               Page 53
    1   requires a Suspicious Order Monitoring           1   product to?
    2   system, correct?                                 2             MR. BERG: Object to form.
    3            MR. BERG: Object to form.               3        A. Can you repeat that?
    4       A. I don't know.                             4   QUESTIONS BY MS. KEECH:
    5   QUESTIONS BY MS. KEECH:                          5        Q. Sure.
    6       Q. What does the term "Suspicious            6             Did you have a term for the
    7   Order Monitoring system" mean to you?            7   customers of Mallinckrodt's distributor
    8            MR. BERG: Object to form.               8   customers?
    9       A. So in the context of my role,             9        A. Yes. Like distributors and
   10   my understanding is it's required by the DEA    10   wholesalers. Oh, for their customers?
   11   to -- that Mallinckrodt as an entity is         11        Q. Correct.
   12   required to have a Suspicious Order             12        A. Okay, I'm sorry. Not one that
   13   Monitoring program and that my team             13   would apply to them universally, right. So
   14   interacted with our DEA compliance team to      14   if a distributor sold it to a pharmacy, we
   15   kind of ensure compliance with that.            15   would say -- you know, I would call them a
   16   QUESTIONS BY MS. KEECH:                         16   pharmacy. Or if they sold them to a clinic,
   17       Q. And Mallinckrodt had a                   17   a clinic or to a PBM, I'd say a PBM.
   18   Suspicious Order Monitoring program, correct?   18             So I'm not sure there was a --
   19       A. Yes.                                     19   I'm not familiar with like a nomenclature for
   20       Q. Did Mallinckrodt have a duty to          20   that group of people you're referring to.
   21   identify suspicious orders of Mallinckrodt      21        Q. Did you ever hear either the
   22   products?                                       22   term "indirect" or "downstream" customer for
   23            MR. BERG: Object to form.              23   those entities?
   24       A. I think that was a requirement           24        A. I don't recall that.
   25   of the Suspicious Order Monitoring program,     25        Q. We've been going about an hour.
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    1   Would now be a good time for a break?            1       Q. And did you ever come to
    2            MR. BERG: Sure.                         2   realize at some point in time that
    3            MS. KEECH: Okay. Maybe five             3   Mallinckrodt's Suspicious Order Monitoring
    4       minutes. Okay.                               4   system that Mallinckrodt was using to
    5            THE VIDEOGRAPHER: Stand by.             5   identify diversion by its distributor clients
    6       Off the record at 10:08.                     6   was not adequate?
    7            (Recess taken, 10:08?a.m. to            7       A. No.
    8       10:22?a.m.)                                  8            MR. BERG: Object to form.
    9            THE VIDEOGRAPHER: All right,            9       A. I'm sorry, I'm not sure you
   10       stand by. The time is 10:22. Back on        10   heard me. No.
   11       the record.                                 11   QUESTIONS BY MS. KEECH:
   12   QUESTIONS BY MS. KEECH:                         12       Q. Thank you.
   13       Q. Would you agree that there is            13            Do you agree that as a director
   14   an opioid crisis or prescription drug abuse     14   of customer service, it was important for you
   15   epidemic facing the country?                    15   to keep up to date on the news about opioid
   16            MR. BERG: Object to form.              16   abuse and diversion?
   17       A. Yes.                                     17       A. No.
   18   QUESTIONS BY MS. KEECH:                         18       Q. Did you think it was important
   19       Q. Have you ever received a                 19   for you to know whether any of Mallinckrodt's
   20   communication from Mallinckrodt regarding the   20   customers were sanctioned for their business
   21   existence of an opioid epidemic?                21   practices related to distribution of
   22       A. I don't recall.                          22   Mallinckrodt's products?
   23       Q. In what year did you realize             23       A. For me to know?
   24   there was an opioid epidemic?                   24       Q. Yes.
   25       A. I can't name a specific year.            25       A. No.
                                              Page 55                                               Page 57
    1   I think it was -- I'd maybe call it like more    1       Q. And are you familiar with the
    2   of like a gradual understanding.                 2   term "migration" as it applies to opioid
    3        Q. And when did you develop this            3   products?
    4   understanding?                                   4       A. No.
    5            MR. BERG: Object to form.               5       Q. Have you ever heard the phrase
    6        A. I'm not sure I know exactly              6   "Oxy Express" or "Blue Highway"?
    7   when.                                            7       A. I've heard the phrase "Oxy
    8   QUESTIONS BY MS. KEECH:                          8   Express."
    9        Q. Was it while you were still              9       Q. And what do you believe that
   10   employed by Mallinckrodt or after leaving?      10   term or phrase to signify?
   11        A. While I was employed.                   11       A. Working off of recall, I think
   12        Q. Did you ever discuss it with            12   it means from like -- I think like up from
   13   anyone at Mallinckrodt?                         13   Florida, up -- kind of up into the northeast
   14        A. No.                                     14   corridor, there's like a highway or
   15        Q. And are you aware of whether            15   something.
   16   Mallinckrodt products have contributed to       16       Q. And were you aware while you
   17   this problem?                                   17   were at Mallinckrodt that a significant
   18        A. No.                                     18   number or volume of opioids, particularly
   19        Q. Mallinckrodt sold oxy                   19   oxycodone, was first being sent to Florida
   20   15 milligrams and oxy 30 milligrams, correct?   20   where they would then migrate to other
   21        A. Yes.                                    21   states?
   22        Q. And Mallinckrodt's distributor          22           MR. BERG: Object to form.
   23   customers purchased millions of these           23       A. No.
   24   products from Mallinckrodt, correct?            24   QUESTIONS BY MS. KEECH:
   25        A. Yes.                                    25       Q. Were you aware that large
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    1   volumes of Mallinckrodt product were going to    1       Q. Do you agree that the illegal
    2   Florida?                                         2   distribution of controlled substances
    3       A. No.                                       3   currently has a substantial and detrimental
    4       Q. Ever hear anyone discuss                  4   effect on the health and general welfare of
    5   Florida as it relates to an opioid epidemic      5   the American people?
    6   or problem distributors?                         6            MR. BERG: Object to form.
    7       A. I've never heard, really, as it           7       A. I'm sorry, can you repeat that
    8   relates to opioid epidemic. Yes, as it           8   question?
    9   relates to problem distributors.                 9   QUESTIONS BY MS. KEECH:
   10       Q. And what was the context of              10       Q. Do you agree that the illegal
   11   those communications?                           11   distribution of controlled substances
   12       A. I can -- you know, to the best           12   currently has a substantial and detrimental
   13   that I can recall, it was that there are some   13   effect on the health and general welfare of
   14   distributors who are -- who have been           14   the American people?
   15   suspended for not following best practice or    15            MR. BERG: Object to form.
   16   being out of compliance, and some of their      16       A. I'm not sure I know enough
   17   locations were in Florida or maybe they were    17   about the drivers of the prescription drug
   18   shipping to Florida, so...                      18   abuse problems in this country to have
   19            (Mallinckrodt-Saffold Exhibit 3        19   formulated an opinion on that.
   20       was marked for identification.)             20   QUESTIONS BY MS. KEECH:
   21   QUESTIONS BY MS. KEECH:                         21       Q. Okay. And turning to the first
   22       Q. I'm handing you what's been              22   page of this document, it indicates that
   23   marked as Exhibit 3, bearing Bates numbers      23   south Florida has become the largest supplier
   24   MNK-T1_000290150. And this is an e-mail sent    24   of illegal prescription drugs in this
   25   from Victor Borelli on Wednesday, July 29th,    25   country.
                                              Page 59                                              Page 61
    1   2009. You are on the "to" line.                  1            Were you aware of that?
    2            Do you recall receiving this            2            MR. BERG: Object to form.
    3   e-mail?                                          3       A. No. Like at the time I -- at
    4        A. I don't.                                 4   what time?
    5        Q. Do you have any reason to doubt          5   QUESTIONS BY MS. KEECH:
    6   its authenticity?                                6       Q. In 2009.
    7        A. Oh, no.                                  7       A. So, no, prior to receipt of
    8        Q. Turning to the second page, can          8   this; and then, yes, after receipt.
    9   you read aloud the third paragraph down          9       Q. So beginning in 2009, after
   10   beginning with the phrase "Statistics show"?    10   receiving this e-mail, you were aware that
   11        A. "Statistics show an alarming            11   south Florida had become the largest supplier
   12   problem facing America. Prescription drug       12   of illegal prescriptions in the country?
   13   abuse, which has held steady over the past      13       A. Yes.
   14   five years according to the Partnership for a   14       Q. Okay. And were you also aware,
   15   Drug-Free America, with nearly one in five      15   as Victor Borelli wrote, that doctor shopping
   16   teens abusing prescription medications to get   16   occurs in the state of Florida?
   17   high."                                          17       A. No firsthand knowledge.
   18        Q. And can you read --                     18       Q. Do you have any reason to doubt
   19        A. Oh. "Prescription drug abuse            19   Victor Borelli's statement there that doctor
   20   is a significant problem in this country."      20   shopping was happening in Florida?
   21        Q. Thank you.                              21            MR. BERG: Object to form.
   22            Do you agree with that                 22       A. No.
   23   statement, that prescription drug abuse is a    23   QUESTIONS BY MS. KEECH:
   24   significant problem in this country?            24       Q. Okay. Are you familiar with
   25        A. Yes.                                    25   the term "pill mill"?
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    1       A. Yes.                                      1   mean?
    2       Q. And what do you understand that           2       A. You know, I guess in my
    3   to mean?                                         3   experience, it -- really, it's what's flagged
    4       A. Well, I think I've seen it used           4   by our compliance and monitoring team as an
    5   in a variety of contexts. Generally it --        5   order that we should report and investigate.
    6   where I've heard the term "pill mill," it has    6       Q. Do you know what
    7   referred to a place that does either one of      7   characteristics Mallinckrodt was looking for
    8   two things; writes a lot of prescriptions for    8   in order to flag such orders?
    9   pain medication, or fills a lot of               9       A. Not specifically, but
   10   prescriptions for pain medications.             10   characteristics of the anomalous.
   11       Q. Thank you.                               11       Q. Okay. Did Mallinckrodt
   12            (Mallinckrodt-Saffold Exhibit 4        12   order -- excuse me. Did Mallinckrodt flag
   13       was marked for identification.)             13   orders of unusual size?
   14   QUESTIONS BY MS. KEECH:                         14       A. I don't recall.
   15       Q. I'm now handing you what's been          15       Q. Did Mallinckrodt flag orders
   16   marked as Exhibit 4, a document bearing Bates   16   deviating substantially from a normal
   17   stamp MNK-T1_0007179935.                        17   pattern?
   18            (Document review by witness.)          18       A. You know, I'm not familiar with
   19   QUESTIONS BY MS. KEECH:                         19   how orders were flagged, and I also think the
   20       Q. This is an e-mail sent from              20   program may have changed even during my
   21   Karen Harper to you on October 31st, 2009,      21   tenure there. So I'm not sure I can answer
   22   regarding fentanyl fanny packs.                 22   that with any kind of confidence.
   23            Do you recall receiving this           23       Q. Okay. So fair to say you don't
   24   e-mail?                                         24   know whether orders of unusual frequency were
   25       A. I don't recall the specifics of          25   flagged either?
                                              Page 63                                              Page 65
    1   it.                                              1       A. Yes, that's fair.
    2       Q. The last sentence or                      2       Q. Okay. Were you ever trained to
    3   second-to-last sentence of Ms. Harper's          3   detect suspicious orders for prescription
    4   e-mail says: Fentanyl pops accidentally          4   medications?
    5   obtained by children would lead to certain       5       A. No.
    6   overdose and death.                              6       Q. Are you familiar with the term
    7            MR. BERG: Object to form.               7   "peculiar order"?
    8   QUESTIONS BY MS. KEECH:                          8       A. Yes.
    9       Q. Are you aware that people have            9       Q. And can you define that,
   10   died from overdoses of opioids?                 10   please?
   11       A. Yes.                                     11       A. Sure. Peculiar orders were
   12       Q. Okay. And do you agree with              12   orders that attributes were outside of what
   13   Karen's statement that if Mallinckrodt          13   maybe we would expect to be receiving from
   14   products got into the wrong hands, it could     14   the certain -- from a certain customer at a
   15   result in death?                                15   certain time, and they required investigation
   16            MR. BERG: Object to form.              16   and more information to determine whether or
   17       A. Yes, definitely some                     17   not we would, you know, accept the order or
   18   Mallinckrodt products.                          18   flag it further.
   19   QUESTIONS BY MS. KEECH:                         19       Q. So what types of scenarios
   20       Q. Thank you. You can set that              20   would result in a flag or, in other words,
   21   aside.                                          21   they're outside of what Mallinckrodt would
   22            Are you familiar with the term         22   expect?
   23   "suspicious order"?                             23       A. Well, again, I'm not an expert,
   24       A. Yes.                                     24   right, so I just knew that these orders were
   25       Q. And what do you believe that to          25   flagged.

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    1       Q. Okay.                                     1   in his role for quite a while, and I felt
    2       A. And so I'd say anything maybe             2   like it was time for him to have a challenge.
    3   other than -- a condition other than what we     3            And at the same time, I think,
    4   would expect to see, but I'm not sure what       4   you know, I kind of like people
    5   the details were.                                5   cross-functional and doing that stuff.
    6       Q. So can you describe what any              6       Q. So was it your perception that
    7   red flags would be?                              7   managing dosage was more difficult than
    8       A. No, I'm not an expert.                    8   managing API or bulk?
    9       Q. Were you involved in helping              9       A. No.
   10   Mallinckrodt identify any suspicious orders?    10       Q. Just a different experience?
   11       A. No.                                      11       A. Exactly.
   12       Q. Were you on the Suspicious               12       Q. Okay. Are you familiar with
   13   Order Monitoring team?                          13   the term "do not ship list"?
   14       A. No.                                      14       A. Yes.
   15       Q. And you said earlier                     15       Q. And what is that?
   16   Mallinckrodt had an SOM team, correct?          16       A. I can't recall, like,
   17       A. Yes.                                     17   specifically like what it was, but I know we
   18       Q. Do you recall when it was                18   had a do not ship list which, at the agent
   19   formed?                                         19   level, they would check orders or, I guess,
   20       A. No.                                      20   customers against.
   21       Q. So is it your testimony that             21       Q. So what is your understanding
   22   you were not involved in the SOM team in any    22   of the purpose of the do not ship list?
   23   way?                                            23       A. Not to -- not to ship to those
   24       A. Oh, that's not my testimony.             24   customers.
   25       Q. Okay.                                    25       Q. And how did an entity end up on
                                              Page 67                                               Page 69
    1       A. I was not a member of the team.           1   the do not ship list?
    2       Q. Were you involved in the SOM              2           MR. BERG: Object to form.
    3   team in any way?                                 3       A. I'm not sure.
    4       A. Yes.                                      4   QUESTIONS BY MS. KEECH:
    5       Q. How so?                                   5       Q. Okay.
    6       A. I had some direct reports who             6           (Mallinckrodt-Saffold Exhibit 5
    7   were on the team.                                7       was marked for identification.)
    8       Q. And who were your direct                  8   QUESTIONS BY MS. KEECH:
    9   reports that were on the team?                   9       Q. I'm handing you what has been
   10       A. Jim Rausch, who is manager of            10   marked as Exhibit 5, bearing Bates number
   11   API and then later a manager of dosage, and     11   MNK-T1_000263249.
   12   Cathy Stewart, who was manager of dosage and    12           (Document review by witness.)
   13   then later API.                                 13   QUESTIONS BY MS. KEECH:
   14       Q. So did Jim Rausch and Cathy              14       Q. Do you recognize this e-mail?
   15   Stewart essentially switch positions from API   15       A. No.
   16   to dosage?                                      16       Q. It's an e-mail sent from Cathy
   17       A. Yes.                                     17   Stewart on November 17th, 2009, sent to Karen
   18       Q. And when did that switch occur?          18   Harper and Jim Rausch, and you were CC'd
   19       A. At the time I began my role or           19   along with Bill Ratliff.
   20   almost immediately following it, so in 2009.    20           Do you have any reason to doubt
   21       Q. Okay. What was the basis for             21   the authenticity of this e-mail?
   22   that switch?                                    22       A. Oh, no.
   23       A. We were kind of restructuring            23       Q. Okay. And this e-mail
   24   and thinking about where to move talent, and    24   indicates that Mallinckrodt was planning to
   25   I had seen that -- I had learned that Jim was   25   have the do not ship list administered by

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    1   CDIG. That's the customer data integrity         1   QUESTIONS BY MS. KEECH:
    2   group? Is that correct?                          2       Q. Were you aware that certain
    3       A. Yes.                                      3   physicians were under investigation at
    4       Q. And do you know the                       4   Mallinckrodt or by Mallinckrodt?
    5   circumstances as to why Mallinckrodt was         5            MR. BERG: Object to form.
    6   transitioning the do not ship list?              6       A. No.
    7       A. No. It's -- you know, I think             7   QUESTIONS BY MS. KEECH:
    8   Cathy, in this e-mail that I've read, so I       8       Q. Do you know what was involved
    9   can only assume it's stated by Cathy in this     9   in this reapproval process that Cathy refers
   10   e-mail, that those are the reasons why.         10   to?
   11       Q. And Cathy states on the second           11       A. No.
   12   page of the e-mail: I'd like to eliminate       12       Q. Is your understanding, after
   13   our manual Excel spreadsheet to keep track of   13   ready Cathy Stewart's e-mail here, that
   14   these customers. It's a process that lends      14   essentially, if a company was cut off for
   15   itself to errors and omissions.                 15   suspicious orders, provided they passed a
   16   Additionally, although good intentioned, I'm    16   subsequent credit check, that Mallinckrodt
   17   concerned that a customer listed on the do      17   could then resume providing product to them?
   18   not ship list will inadvertently receive        18            MR. BERG: Object to form.
   19   product from us.                                19       A. No, that's not it.
   20       A. Yes.                                     20   QUESTIONS BY MS. KEECH:
   21       Q. Would you agree with that?               21       Q. What is your understanding of
   22             MR. BERG: Object to form.             22   the process after a company was cut off for
   23       A. Certainly I would -- wouldn't            23   suspicious orders and then wanted to
   24   dispute it, but I don't really have firsthand   24   repurchase product from Mallinckrodt?
   25   knowledge of that, especially in 2009, I        25       A. I have limited understanding,
                                              Page 71                                              Page 73
    1   wouldn't have -- I was very new to the group.    1   but my understanding is that it was our
    2            But I would respect the opinion         2   compliance team, along with Bill Ratliff, who
    3   of Cathy on this.                                3   is compliance, but security too, and they
    4   QUESTIONS BY MS. KEECH:                          4   were the only ones who could make that
    5       Q. Okay. And were you aware that             5   decision.
    6   at the time Mallinckrodt was using a manual      6       Q. Okay.
    7   do not ship list?                                7            (Mallinckrodt-Saffold Exhibit 6
    8       A. Yes.                                      8       was marked for identification.)
    9       Q. Okay. And do you know how                 9   QUESTIONS BY MS. KEECH:
   10   often the manual spreadsheet was updated?       10       Q. I'm now handing you what has
   11       A. No.                                      11   been marked as Exhibit 6 bearing Mallinckrodt
   12       Q. Okay. Cathy goes on to say:              12   Bates number MNK-T1_0000302469.
   13   We can then proceed with credit doing a check   13            Do you recognize this document?
   14   on the website for physicians that are under    14       A. Yes.
   15   investigation and how to handle customers who   15       Q. And what is it?
   16   may have been denied shipments previously but   16       A. It's just -- it's an e-mail
   17   have taken steps to clean house and are now     17   from me to my direct report asking him to
   18   reapproved to do business with us again,        18   update his goals.
   19   perhaps even under the same company name.       19       Q. And can you read aloud the
   20            MR. BERG: I'm sorry, where are         20   stated goal?
   21       you reading that from?                      21       A. "Ensure compliance with
   22            MS. KEECH: First page.                 22   regulatory and internal governance
   23            MR. BERG: Okay. I see it now.          23   requirements by completing assigned SOX
   24       Thanks.                                     24   testing before the end of March 2010, by
   25            MS. KEECH: Yep.                        25   establishing and implementing the procedures

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    1   required to support Suspicious Order              1       A. It does say this is an
    2   Monitoring, and by completing SOPs on the         2   automated e-mail. Please do not reply to
    3   order management of controlled substances         3   this e-mail address. So I don't know if it
    4   before the end of Q2."                            4   just used that almost -- my name as almost
    5       Q. Thank you.                                 5   like an alias. So I don't know.
    6             And you indicated that this was         6       Q. This e-mail indicates that Jim
    7   a goal that you were trying to add. What          7   Rausch's individual goal was approved.
    8   were you trying to add this to?                   8       A. Yes.
    9             MR. BERG: Object to form.               9       Q. Is that consistent with your
   10       A. To -- we have a system, right,            10   recollection?
   11   where we put goals in there, and I was trying    11       A. Yes.
   12   to get it into Jim's goals in that system.       12       Q. Okay. And was Jim Rausch's
   13   QUESTIONS BY MS. KEECH:                          13   compensation tied to his goal?
   14       Q. Okay. And was this a goal that            14       A. Yes.
   15   you generated for him?                           15       Q. Do you know whether he
   16       A. It's a goal we agreed upon.               16   accomplished his goal?
   17       Q. Okay. And what is S-O-X or SOX            17            MR. BERG: Object to form.
   18   testing?                                         18       A. I can't recall.
   19       A. Sarbanes-Oxley.                           19   QUESTIONS BY MS. KEECH:
   20       Q. Okay. And can you describe                20       Q. Can you tell me more about how
   21   that?                                            21   his compensation was tied to his goal?
   22       A. Sure.                                     22       A. Yes. So each member of my team
   23             So Sarbanes-Oxley is financial         23   during this time period would have a handful
   24   controls by reg- -- by law. So one of our        24   of goals, and then based on their rating for
   25   requirements in our group was to look at --      25   each goal, that would roll up to an overall
                                               Page 75                                              Page 77
    1   was to test to make sure that we had the          1   rating.
    2   proper financial controls in place, and           2            And then the amount of merit
    3   that's to what that referred.                     3   increase I would give to -- not really I
    4             (Mallinckrodt-Saffold Exhibit 7         4   would give, but amount of merit increase
    5       was marked for identification.)               5   would be kind of based on their performance
    6   QUESTIONS BY MS. KEECH:                           6   rating in addition to other factors like
    7       Q. I'm now handing you what has               7   where they were in the market and how much
    8   been marked as Exhibit 7, bearing Bates           8   they're currently making.
    9   number MNK-T1_0000303789.                         9       Q. Okay. So were you familiar
   10             Do you recognize this?                 10   with the Suspicious Order Monitoring program?
   11       A. No.                                       11            MR. BERG: Object to form.
   12       Q. What is this document?                    12       A. I was -- I would say no. I was
   13             MR. BERG: Object to form.              13   familiar with, you know, our support of the
   14       A. Well, I don't know. It looks              14   Suspicious Order Monitoring program, but not
   15   like it was an automatic e-mail that             15   the program itself.
   16   resulted -- that was a result of maybe the       16   QUESTIONS BY MS. KEECH:
   17   goal getting updated, but that's a guess.        17       Q. Okay. But you oversaw Jim
   18   QUESTIONS BY MS. KEECH:                          18   Rausch, who was working on that?
   19       Q. Okay. It does say that you're             19       A. Yes. Jim Rausch was working on
   20   on -- that you were the sender of this           20   the dosage customer service piece of the
   21   document.                                        21   Suspicious Order Monitoring program, with our
   22             MR. BERG: Object to form.              22   compliance group.
   23   QUESTIONS BY MS. KEECH:                          23       Q. Thank you.
   24       Q. Is that correct, according to             24            (Mallinckrodt-Saffold Exhibit 8
   25   the document?                                    25       was marked for identification.)

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    1   QUESTIONS BY MS. KEECH:                          1   authenticity?
    2       Q. I'm handing you what has been             2       A. No.
    3   marked as Exhibit 8, bearing Bates number        3       Q. This is a Suspicious Order
    4   MNK-T1_000263201. This is an e-mail from         4   Monitoring team charter indicating that the
    5   Karen Harper to Cathy Stewart sent on            5   team started on March 28, 2008. Is that
    6   January 19th, 2001.                              6   correct?
    7           And in this correspondence,              7            MR. BERG: Object to form.
    8   Karen e-mails Cathy Stewart following up on      8       A. Yes.
    9   an e-mail indicating that they turn off the      9   QUESTIONS BY MS. KEECH:
   10   30-day cumulative increase trigger until        10       Q. Okay. And this charter
   11   George resolves and asking if George            11   indicates that you were on the SOM steering
   12   mentioned anything about having gotten          12   committee.
   13   feedback on how to fix the formula.             13       A. Yes.
   14           MR. BERG: Object to form.               14       Q. And that you attended meetings
   15   QUESTIONS BY MS. KEECH:                         15   once per quarter. Is that correct?
   16       Q. In this e-mail, do you know              16            MR. BERG: Object to form.
   17   whether they were referring to you?             17       A. Yes.
   18           MR. BERG: Object to form.               18   QUESTIONS BY MS. KEECH:
   19       A. No.                                      19       Q. Okay. So --
   20   QUESTIONS BY MS. KEECH:                         20       A. I'm sorry. It indicates that
   21       Q. Was there any other George that          21   there were steering committee meetings with a
   22   worked with you in Mallinckrodt?                22   frequency of once per quarter and that I was
   23       A. That worked with me? I mean,             23   a member of the steering committee. It
   24   yeah, there were other people named George at   24   doesn't really give any kind of indication
   25   Mallinckrodt.                                   25   whether I was in attendance.
                                              Page 79                                              Page 81
    1       Q. Any in customer service?                  1       Q. Okay. Did you attend meetings
    2       A. Not that I recall.                        2   for this Suspicious Order Monitoring team?
    3       Q. Okay. Are you familiar with               3       A. I believe so. I don't recall
    4   the term "30-day cumulative increase             4   like a specific meeting, but...
    5   trigger"?                                        5       Q. Did you receive communications
    6       A. No.                                       6   regarding the Suspicious Order Monitoring
    7       Q. Were you at all involved in the           7   team?
    8   formula involved in the Suspicious Order         8       A. Yes.
    9   Monitoring program?                              9       Q. Did you participate in any way?
   10           MR. BERG: Object to form.               10       A. No.
   11       A. No.                                      11       Q. So how would you describe your
   12   QUESTIONS BY MS. KEECH:                         12   role as a steering committee member?
   13       Q. Do you know who Mansfield is?            13       A. I really can't recall doing
   14       A. Mansfield is a town in                   14   much as a steering committee member, so I
   15   Massachusetts where Covidien had offices.       15   would say it was peripheral.
   16       Q. Okay. You can set that aside.            16       Q. Were you familiar with the
   17           (Mallinckrodt-Saffold Exhibit 9         17   process description of the Suspicious Order
   18       was marked for identification.)             18   Monitoring team?
   19   QUESTIONS BY MS. KEECH:                         19            MR. BERG: Object to form.
   20       Q. I'm handing you what has been            20       A. Yes.
   21   marked as Exhibit 9, bearing Bates number       21   QUESTIONS BY MS. KEECH:
   22   MNK-T1_000496062.                               22       Q. Can you read the process
   23           Do you recognize this document?         23   description on this document?
   24       A. No.                                      24       A. "Maintain regulatory compliance
   25       Q. Any reason to doubt its                  25   with DEA mandated Suspicious Order Monitoring

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    1   (SOM) as stated in 21 C.F.R. 1301.74(b).        1        Q. And Karen Harper was the team
    2   Upgrade Mallinckrodt's existing SOM program     2   leader? Is that correct?
    3   to meet/exceed DEA requirements and to adapt    3        A. Yes.
    4   program based upon changing trends in           4        Q. What was your working
    5   diversion and abuse of controlled               5   relationship with Karen Harper, if any?
    6   substances."                                    6        A. So we were colleagues.
    7       Q. Thank you.                               7        Q. Okay.
    8           So as a steering committee              8        A. At times, we did report to the
    9   member, were you aware of the DEA               9   same boss, and really, my relationship with
   10   requirements for developing an SOM?            10   Karen was what Karen says we need to do, we
   11       A. No. And -- no.                          11   need to do, right. So we listen to Karen.
   12           (Mallinckrodt-Saffold                  12        Q. And Jim Rausch was your direct
   13       Exhibit 10 was marked for                  13   report, correct?
   14       identification.)                           14        A. Yes.
   15   QUESTIONS BY MS. KEECH:                        15        Q. Okay. Do you know who
   16       Q. I'm now handing you what has            16   generated this PowerPoint?
   17   been marked as Exhibit 10, bearing Bates       17        A. No.
   18   number MNK-T1_000496098.                       18        Q. Can you please turn your
   19       A. Thank you.                              19   attention to page 2 of the PowerPoint. This
   20       Q. And this document is the                20   is difficult to read. It's difficult to see
   21   Mallinckrodt Controlled Substance Suspicious   21   on the paper, but I can represent to you that
   22   Order Monitoring Program, Presentation for     22   it reads: Perry Moore, the executive
   23   Marketing Group dated March 21st, 2011.        23   producer of the Chronicles of Narnia movies,
   24           Are you familiar with this             24   was found dead in his New York apartment
   25   document?                                      25   Thursday, February 17th, 2011, after an
                                             Page 83                                              Page 85
    1       A. No.                                      1   apparent overdose, reports the New York Daily
    2       Q. Any reason to doubt its                  2   News.
    3   authenticity?                                   3            The 39-year-old producer was
    4       A. No.                                      4   found in the bathroom around 9:30 a.m. by
    5       Q. Can you please turn with me to           5   partner Hunter Hill. Moore's father, Bill,
    6   page 4 of the document.                         6   tells the Daily News, "We're in shock. He
    7       A. Sure.                                    7   was in a great, great mood when we spoke with
    8       Q. This lists you and Jim Rausch            8   him the night before. No one was expecting
    9   as the SOM representatives from the customer    9   this."
   10   service department, correct?                   10            Were you aware that people were
   11       A. I think it lists us as members          11   dying from prescription drug overdoses?
   12   of the procedure team.                         12            MR. BERG: Object to form.
   13       Q. And were you a member of the            13        A. Yes.
   14   procedure team?                                14   QUESTIONS BY MS. KEECH:
   15       A. Yes.                                    15        Q. Okay. And please turn with me
   16       Q. Okay. Did you have any other            16   to page 6 of this document. And this
   17   roles on the SOM team?                         17   addresses DEA policy on suspicious orders.
   18       A. Not that I can recall.                  18            Were you aware of these
   19       Q. Can you describe your role as a         19   requirements?
   20   member of the procedure team?                  20            MR. BERG: Object to form.
   21       A. I really don't recall what I            21        A. Yes.
   22   did as a member of the procedure team.         22   QUESTIONS BY MS. KEECH:
   23       Q. Do you know how team members            23        Q. So you were aware of
   24   were selected?                                 24   Mallinckrodt's obligations to design and
   25       A. No.                                     25   operate a Suspicious Order Monitoring system?

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    1            MR. BERG: Object to form.               1      Q.      Are you familiar with those?
    2        A. Yes.                                     2            MR. BERG: Object to form.
    3   QUESTIONS BY MS. KEECH:                          3        A. Am I familiar with the
    4        Q. Okay. Can you turn with me to            4   distributors?
    5   page 8. This contains an image of a 2007         5   QUESTIONS BY MS. KEECH:
    6   letter sent from the DEA.                        6        Q. Correct.
    7            Do you recognize this letter?           7        A. Yes.
    8            MR. BERG: Object to form.               8        Q. And were you aware of each of
    9        A. No.                                      9   these disciplinary actions against them?
   10   QUESTIONS BY MS. KEECH:                         10        A. Yes, in terms of I've seen kind
   11        Q. Never seen it before?                   11   of this slide in my training, but no in terms
   12        A. I wouldn't say I've never seen          12   of like what was -- you know, any details.
   13   it before. I certainly don't recognize it,      13        Q. So turning to page 15, this
   14   and I guess I'd point out that I'm just         14   references the DEA's St. Louis conversation
   15   looking at the date of this letter and it was   15   from July 20th, 2010. The third line down
   16   certainly prior to me even working in any       16   indicates Mallinckrodt is viewed as the
   17   controlled substances at Mallinckrodt.          17   kingpin within the drug cartel.
   18        Q. Okay. But when you began                18            What does that mean to you?
   19   working in customer service in 2009, did        19            MR. BERG: Object to form.
   20   anyone discuss this letter with you?            20        A. I don't know. I don't recall
   21        A. I think as part of the                  21   ever hearing or anything intimated like that
   22   training, you know, the requirements that the   22   before.
   23   letter seemed to indicate, yes.                 23   QUESTIONS BY MS. KEECH:
   24        Q. Okay.                                   24        Q. Is this the first time that
   25        A. So I wouldn't -- but I can't            25   you've heard Mallinckrodt referred to as the
                                              Page 87                                              Page 89
    1   really recall discussing this letter.            1   kingpin within the drug cartel?
    2       Q. Do you recall whether your                2        A. Yes.
    3   training discussed whether Mallinckrodt was      3        Q. Okay. Would you agree with
    4   required to inform the local DEA diversion       4   that characterization?
    5   office of suspicious orders when they were       5        A. No.
    6   discovered?                                      6        Q. If you'll turn with me to
    7       A. Yes.                                      7   page 17, this image appears to be a
    8       Q. And were you aware that the DEA           8   photograph taken from inside of a vehicle of
    9   could immediately suspend or revoke              9   individuals lined up outside.
   10   registration for violations of the Controlled   10            Are you familiar with this
   11   Substances Act?                                 11   photo?
   12       A. Yes.                                     12        A. I don't recall. I don't
   13       Q. Were you aware of distributors           13   think -- I'm not familiar with it, no.
   14   who got into trouble with the DEA?              14        Q. Do you know what this photo
   15            MR. BERG: Object to form.              15   represents --
   16       A. Yes.                                     16            MR. BERG: Object to form.
   17   QUESTIONS BY MS. KEECH:                         17        A. No.
   18       Q. Okay. So please turn with me             18   QUESTIONS BY MS. KEECH:
   19   to page 9. This indicates the DEA suspends      19        Q. -- if anything?
   20   the licenses of distributors for not            20            Do you know what, if anything,
   21   maintaining effective controls -- effective     21   is the significance of this photo?
   22   controls against diversion of controlled        22            MR. BERG: Object to form.
   23   substances, and then it lists three             23        A. No.
   24   distributors.                                   24   QUESTIONS BY MS. KEECH:
   25       A. Uh-huh.                                  25        Q. Do you know why it was included
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    1   in the PowerPoint?                               1       A. Yes.
    2            MR. BERG: Object to form.               2   QUESTIONS BY MS. KEECH:
    3       A. No.                                       3       Q. Okay. And after or sometime
    4   QUESTIONS BY MS. KEECH:                          4   during 2010, the -- did the SOM program
    5       Q. On the next page, 18, there is            5   change?
    6   another image. What does that appear to be       6       A. I don't remember.
    7   of?                                              7       Q. Do you remember whether it
    8       A. I don't know what this is. It             8   changed?
    9   looks like a window with -- I mean, I can        9       A. Yes. I mean, there were
   10   only describe the picture. It says, "Leave      10   changes.
   11   prescription here," and there's a window and    11       Q. Okay.
   12   there's signs and there's a sign that says,     12       A. You know, the timing of
   13   "No cell phone use in pharmacy," so I'm         13   changes, kind of a constant, continuous
   14   guessing it's either a window into or out of    14   improvement process, so I'm not sure -- you
   15   a pharmacy.                                     15   know, I couldn't really be assigned any time
   16       Q. And do you see the sign that             16   frame for a particular change nor, you know,
   17   reads, "We do not accept any insurance on       17   characterize any change.
   18   oxycodone products by Mallinckrodt or           18       Q. Okay. Are you aware of whether
   19   Actavis"? Lower left.                           19   there was ever a shift away from the customer
   20       A. I do, yes.                               20   service manager reviewing orders in the new
   21       Q. Any idea why this photo may              21   SOM program?
   22   have been included in the PowerPoint?           22       A. Yes.
   23            MR. BERG: Object to form.              23       Q. Okay. And do you know when
   24       A. No.                                      24   that occurred?
   25   QUESTIONS BY MS. KEECH:                         25       A. No.
                                              Page 91                                             Page 93
    1       Q. And page 23 of the PowerPoint             1        Q. Do you know why there was a
    2   shows an eBay bid for empty Mallinckrodt         2   shift from customer service reviewing orders?
    3   bottles. Are you aware of a legitimate           3        A. No.
    4   reason why someone would want to purchase        4        Q. Were you aware of whether there
    5   empty Mallinckrodt bottles?                      5   was ever any concern expressed by the DEA
    6       A. No.                                       6   regarding a potential conflict of interest in
    7       Q. Do you agree that this                    7   customer service regulating but having a
    8   advertisement is evidence of diversion or        8   conflicting interest?
    9   attempted diversion?                             9            MR. BERG: Object to form.
   10            MR. BERG: Object to form.              10        A. No.
   11       A. I'm not a diversion person,              11   QUESTIONS BY MS. KEECH:
   12   so...                                           12        Q. Do you personally believe there
   13   QUESTIONS BY MS. KEECH:                         13   is a conflict of interest in being involved
   14       Q. Okay. Let's turn back to                 14   in customer service and also having customer
   15   page 13 of this document. This indicates        15   service regulate suspicious orders?
   16   that it was the existing SOM program prior to   16            MR. BERG: Object to form.
   17   June 2010. Take a moment to review this         17        A. No, absolutely not. So to give
   18   slide.                                          18   service, there's no service without
   19            (Document review by witness.)          19   compliance. So it was in our interest to
   20       A. Okay.                                    20   comply.
   21   QUESTIONS BY MS. KEECH:                         21            MR. BERG: How you doing? Do
   22       Q. Okay. Is this consistent with            22        you want to take a quick break?
   23   your understanding of what the SOM program      23            THE WITNESS: Yeah, why don't
   24   process was prior to June of 2010?              24        we take a break.
   25            MR. BERG: Object to form.              25            MR. BERG: Is that okay?
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    1            MS. KEECH: Sure. Yeah, that's           1   the specifics surrounding this specific one,
    2       fine.                                        2   right.
    3            THE VIDEOGRAPHER: Off the               3       Q. Sure.
    4       record at 11:14.                             4            And how many direct reports did
    5            (Recess taken, 11:14 a.m. to            5   you have?
    6       11:27?a.m.)                                  6       A. At the time of -- are you --
    7            THE VIDEOGRAPHER: All right,            7       Q. In 2009.
    8       stand by. The time is 11:27. Back on         8       A. In 2009? Jim, Cathy... I'd say
    9       the record, beginning of File 2.             9   six, I believe.
   10   QUESTIONS BY MS. KEECH:                         10       Q. Okay. Do you remember who they
   11       Q. Are you aware of whether                 11   were?
   12   Mallinckrodt ever sold empty pill bottles?      12       A. Tanisha Hicks, manager of
   13       A. No.                                      13   respiratory and monitoring solutions; Jim
   14       Q. Do you recall anyone ever                14   Rausch, manager of -- I think he was dosage
   15   discussing why having empty pill bottles on     15   like by July 1, I think he was dosage; Cathy
   16   the market would be problematic?                16   Stewart, manager of API; Charity Aranda was a
   17            MR. BERG: Object to form.              17   customer service analyst; Doris Bonds, she
   18       A. No.                                      18   was my administrative assistant; and I can't
   19   QUESTIONS BY MS. KEECH:                         19   remember, I may have had others, but I can't
   20       Q. Ever recall any discussion               20   be sure.
   21   about empty pill bottles in general?            21       Q. Okay. And did you require each
   22       A. No.                                      22   of your direct reports, excluding your
   23       Q. Okay. As part of any of your             23   assistant, to provide you monthly reports?
   24   trainings at Mallinckrodt, do you recall ever   24       A. Yes.
   25   watching a presentation that included video     25       Q. Did you yourself author a
                                              Page 95                                              Page 97
    1   footage of individuals standing outside of a     1   monthly report?
    2   pill mill?                                       2       A. At this time, yes.
    3        A. No.                                      3       Q. Okay. And who did that report
    4        Q. Ever recall hearing about such           4   go to?
    5   a video?                                         5       A. To my supervisor, so that would
    6        A. No.                                      6   have been JoAnne Levy, the VP of logistics at
    7        Q. Do you remember anyone ever              7   this time.
    8   discussing such a video?                         8       Q. And what was the content of the
    9        A. No.                                      9   reports that you authored?
   10        Q. Okay.                                   10       A. In a pretty rigid format, so it
   11            (Mallinckrodt-Saffold                  11   would have been -- it starts out with HR, and
   12        Exhibit 11 was marked for                  12   then budget, kind of my head count, and then
   13        identification.)                           13   development, you know, for people and any
   14   QUESTIONS BY MS. KEECH:                         14   other personnel highlights and maybe
   15        Q. I'm handing you what has been           15   lowlights.
   16   marked as Exhibit 11, bearing Bates number      16            Then from there, I usually went
   17   MNK-T1_0000303583. This is a Pharmaceutical     17   into performance on IO, our individual
   18   Logistics Monthly Report dated July 1st,        18   objective performance. So, you know, hey, I
   19   2009, addressed to you from Jim Rausch.         19   know I'm supposed to be doing this, this and
   20            Do you recognize this document?        20   this, here's where we are. And then
   21        A. Yes. Like in terms of like              21   following that was usually like a project, so
   22   that this is something I required my direct     22   here's some projects I'm on and here's their
   23   reports to give me.                             23   status.
   24        Q. Okay.                                   24            And then following that, issues
   25        A. But, you know, I don't recall           25   or miscellaneous, and that's pretty much my

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                                              Page 98                                            Page 100
    1   format I've always used.                         1   daily suspicious order report, but I'm not
    2       Q. Do you know whether your                  2   sure about the specific concern he's talking
    3   monthly reports were ever submitted to the       3   about, right.
    4   DEA?                                             4       Q. And what was the daily
    5       A. No.                                       5   suspicious order report?
    6       Q. Did customer service, in                  6       A. So I think that's a bit of a
    7   general, submit monthly reports to anyone?       7   misnomer in his report. I think there was a
    8            MR. BERG: Object to form.               8   report that was a peculiar order report, and
    9       A. I'm sorry. Can you repeat that            9   then parameters were set and then the report
   10   question?                                       10   would get generated and Jim was one of the
   11   QUESTIONS BY MS. KEECH:                         11   recipients of this report. And then he
   12       Q. Sure.                                    12   worked -- and so that's kind of what it is,
   13            Did customer service, in               13   I guess.
   14   general, submit a monthly report                14       Q. Okay. And who was the peculiar
   15   summarizing --                                  15   order report sent to?
   16            MR. BERG: Object to form.              16       A. I'm not sure everyone who it
   17       A. To anyone?                               17   was sent to.
   18   QUESTIONS BY MS. KEECH:                         18       Q. Do you know --
   19       Q. To anyone.                               19       A. I know Cathy and Jim, I
   20       A. No. Not like an overall                  20   believe, both received it.
   21   customer service report, no.                    21       Q. Did you ever receive the
   22       Q. Okay. Do you know whether                22   peculiar order report?
   23   Mallinckrodt, in general, submitted monthly     23       A. I can't recall ever getting it.
   24   reports to the DEA?                             24       Q. So just to clarify, part of
   25       A. No.                                      25   your job was to supervise Jim Rausch, who
                                              Page 99                                            Page 101
    1       Q. And what was the content of the           1   received the peculiar order reports, correct?
    2   reports that your direct reports generated?      2        A. Correct.
    3       A. Well, it was a little variable.           3        Q. But you never personally
    4   Like if you look at this one, it's not a         4   received the reports?
    5   great one, so it's just some personal            5            MR. BERG: Object to form.
    6   highlights and then some business support        6        A. Correct. Or at least I don't
    7   highlights. And it's just like a lot of          7   recall receiving these reports.
    8   stuff, right.                                    8   QUESTIONS BY MS. KEECH:
    9             Others might be a little bit           9        Q. So how were you monitoring
   10   more on performance or metrics, so it just,     10   whether he was in compliance with his stated
   11   you know, kind of varied, and as you coached    11   goal with regard to the SOM --
   12   people to give you better reports, they would   12            MR. BERG: Object to form.
   13   give you better ones.                           13   QUESTIONS BY MS. KEECH:
   14       Q. Okay. So turning to this                 14        Q. -- program?
   15   exhibit under API Business Support Highlights   15        A. Can you repeat that? How was I
   16   in the first paragraph, Jim writes: There is    16   monitoring what?
   17   concern on how time-consuming the daily         17        Q. How were you monitoring whether
   18   suspicious order report might be for customer   18   Jim was meeting his goals with regard to the
   19   service to monitor on a daily basis.            19   SOM program if you also -- if you were not
   20             Are you familiar with what he         20   receiving the suspicious or peculiar order
   21   was referring to there?                         21   reports?
   22       A. No.                                      22            MR. BERG: Object to form.
   23       Q. So you're not aware of what a            23        A. Well, I think the primary way
   24   daily suspicious order report was?              24   would be from our compliance team would be
   25       A. So I am familiar with what -- a          25   telling me he's not doing what we need him to
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    1   do.                                              1            It indicates: We missed the
    2   QUESTIONS BY MS. KEECH:                          2   ship date on this order a couple of times.
    3        Q. So you were relying on                   3       A. Okay.
    4   compliance to tell you whether Jim was           4       Q. It says: We missed the 6/1
    5   satisfying his goals?                            5   ship date because label delay, containers
    6            MR. BERG: Object to form.               6   were dirtier and more damaged than normal,
    7        A. I was relying on compliance to           7   and there was water coming from the weep
    8   tell me whether or not Jim was satisfying his    8   holes on the bottom of the containers.
    9   goals regarding compliance, yes.                 9   Customer service was not notified of this
   10   QUESTIONS BY MS. KEECH:                         10   until 6/2, the day after it was supposed to
   11        Q. What were other -- Jim's other          11   have shipped. Marketing was very upset on
   12   stated goals outside of compliance?             12   this one.
   13        A. I don't know. I don't recall            13            Is this the type of information
   14   all his goals.                                  14   that was shared with customer service?
   15        Q. Did he have others other than           15            MR. BERG: Object to form.
   16   the one that we discussed earlier?              16       A. Well, I'm not sure I
   17        A. You know, I don't recall, but           17   understand, like what type of information --
   18   it would be safe to say yes.                    18   I mean, you're -- this is just an incident
   19        Q. Do you know whether this daily          19   that happened.
   20   suspicious order report was switched away       20   QUESTIONS BY MS. KEECH:
   21   from customer service?                          21       Q. Right. So generally speaking,
   22            MR. BERG: Object to form.              22   would this type of incident be reported to
   23        A. I don't know if the report              23   customer service?
   24   itself was ever switched away from customer     24       A. Yes.
   25   service, no, I don't know.                      25       Q. Okay. And would customer
                                             Page 103                                             Page 105
    1   QUESTIONS BY MS. KEECH:                          1   service then communicate this type of
    2       Q. So Jim brought up this concern            2   incident to any other department within
    3   of how time-consuming the daily suspicious       3   Mallinckrodt?
    4   order report might be for customer service to    4       A. Yes, or -- but typically when
    5   monitor on a daily basis.                        5   we're finding this out, usually others are
    6           As his supervisor, what, if              6   aware of it too, sometimes even before us.
    7   anything, did you do after receiving this        7   Yes, so...
    8   information?                                     8       Q. Okay. And what other groups
    9       A. I can't recall doing anything.            9   within Mallinckrodt would customer service
   10   I mean, this is -- it's kind of like an FYI.    10   share this type of information with?
   11   Hey, we're gonna run it, test it and see.       11       A. Well, certainly the shipping
   12       Q. And he was expressing that it            12   and manufacturing folks, if they weren't
   13   was time-consuming?                             13   aware, the leadership there; planning; sales,
   14       A. No, I don't think he was. I              14   you know, the sales rep, I'd think you'd want
   15   think he was expressing that he was concerned   15   to let him know; and then marketing,
   16   it was and he was going to address those        16   probably.
   17   concerns by testing it.                         17       Q. Okay. Was customer service
   18       Q. Okay.                                    18   also notified if there was tampering or
   19       A. And so that's it.                        19   suspected tampering issues, for example, if
   20       Q. Do you know what, if anything,           20   product was missing from a container?
   21   the outcome of his testing was?                 21       A. We could be, yes.
   22       A. No.                                      22       Q. Okay. And were you ever
   23       Q. Please turn with me to the               23   notified of such tampering issues?
   24   second page, second paragraph, beginning with   24       A. Yes.
   25   "Ohm Labs."                                     25       Q. How quickly were these
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    1   incidents reported within Mallinckrodt?          1   earlier today. What is a 222 form?
    2       A. Really quickly.                           2       A. So not being a compliance
    3       Q. Were there ever delays in                 3   expert, and I don't know if I can give you a
    4   reporting?                                       4   great definition of it, but in practice, a
    5       A. Not that I recall.                        5   form -- 222 form would accompany an order,
    6       Q. Do you recall ever reporting              6   and it demonstrated that one was allowed to
    7   such tampering issues to the DEA?                7   purchase the compound or the molecule as well
    8       A. No. I typically didn't report             8   as the quantity.
    9   anything. But my team, like my -- you know,      9       Q. Are you aware whether a 222
   10   the first person who hears about this would     10   form was an official form from the DEA?
   11   be a customer service agent, and he or she      11       A. Yes, it is an official form.
   12   would then report to a compliance person,       12       Q. And was it required for every
   13   really fast, was kind of the goal.              13   distribution, purchase or transfer of a
   14       Q. Were you CC'd on those                   14   Schedule II controlled substance?
   15   communications or copied?                       15            MR. BERG: Object to form.
   16       A. I don't recall. It's likely I            16       A. No. I'm not a compliance
   17   was, but the main vehicle for doing that, I     17   expert, but in addition to a 222 form, the
   18   wasn't -- they used like a share file to put    18   DEA has Controlled Substance Ordering System,
   19   the information in.                             19   sometimes referred to as CSOS, and then those
   20       Q. Were there any checks to ensure          20   wouldn't have 222 forms because they're
   21   that customer service agents were in fact       21   electronic and a 222 form is paper.
   22   reporting these issues to Mallinckrodt          22   QUESTIONS BY MS. KEECH:
   23   compliance?                                     23       Q. Okay. Based on your
   24       A. I don't know. I would think              24   understanding of a 222 form, is a portion of
   25   compliance would be checking that.              25   the form filled out by the purchaser and
                                             Page 107                                            Page 109
    1       Q. Okay. Did customer service                1   another portion filled out by the supplier?
    2   agents also identify peculiar orders that        2       A. Yes.
    3   then they communicated to compliance?            3       Q. Does it include the drug code,
    4       A. I don't believe so.                       4   supplier's DEA registration number and the
    5       Q. So who at Mallinckrodt, if                5   number of packages shipped and the date of
    6   anyone, was monitoring orders to determine       6   shipment?
    7   whether they were peculiar or suspicious?        7           MR. BERG: Object to form.
    8       A. Well, so my understanding of              8       A. I don't think I could tell you
    9   the Suspicious Order Monitoring program is       9   exactly what's on the form.
   10   that the compliance team owns the program and   10   QUESTIONS BY MS. KEECH:
   11   then they set the parameters, which were        11       Q. Okay.
   12   largely system-driven.                          12           (Mallinckrodt-Saffold
   13       Q. What do you mean by that?                13       Exhibit 12 was marked for
   14       A. So they set the parameters of            14       identification.)
   15   like what a definition of a suspicious order    15   QUESTIONS BY MS. KEECH:
   16   would be and then the system could run edits    16       Q. I'm handing you what has been
   17   and checks against that and then an order       17   marked as Exhibit 12. This is bearing Bates
   18   could be flagged as peculiar -- and I don't     18   number MNK-T1_0000302318.
   19   know if that's the only type of flag -- and     19           Do you recognize this document?
   20   then would be able to be investigated.          20       A. Yes.
   21            So that monitoring part is             21       Q. And what is it?
   22   really, you know, all orders being reviewed     22       A. This is a monthly report
   23   and then, you know, filtered out through this   23   written by me.
   24   report.                                         24       Q. To your supervisor, JoAnne
   25       Q. You mentioned a 222 form                 25   Levy?
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    1       A. Yes.                                      1        Q. And who was responsible for
    2       Q. And is this the type of report            2   that?
    3   that we discussed earlier that you generated     3        A. Well, I'm sorry, who was
    4   on a monthly basis?                              4   responsible for making sure the forms were
    5       A. Yes.                                      5   filled out? So the customer service agents
    6       Q. Okay. If you'll turn with me              6   had to fill them out and then the compliance
    7   to the last page of the report, under the        7   team was the ones who really made sure they
    8   heading Specialty Pharmaceutical Products,       8   were perfect.
    9   you wrote that the time to clear 222 forms       9        Q. Are you aware of any errors
   10   was improved from several days to 1 day.        10   ever being on DEA 222 forms at Mallinckrodt?
   11            Can you describe the process           11        A. Yes.
   12   for me involved in clearing a 222 form?         12        Q. And do you know whether all of
   13       A. Not with any confidence.                 13   those were reported to the DEA?
   14       Q. So who was responsible for               14            MR. BERG: Object to form.
   15   clearing 222 forms?                             15        A. I'm not sure. I'm -- you know,
   16       A. Customer service agents.                 16   any error I was ever made aware of,
   17       Q. So as their supervisor, you did          17   absolutely, yes.
   18   not know what customer service agents did to    18   QUESTIONS BY MS. KEECH:
   19   clear 222 forms?                                19        Q. Okay.
   20            MR. BERG: Object to form.              20            (Mallinckrodt-Saffold
   21       A. Not at the level to be able to           21        Exhibit 13 was marked for
   22   describe the process.                           22        identification.)
   23   QUESTIONS BY MS. KEECH:                         23   QUESTIONS BY MS. KEECH:
   24       Q. Okay. Can you describe the               24        Q. I'm handing you what's been
   25   purpose?                                        25   marked as Exhibit 13, bearing Bates stamp
                                             Page 111                                            Page 113
    1       A. Yes. The purpose of clearing a            1   MNK-T1_000280653.
    2   222 form was to report the sale and track the    2           Do you recognize this document?
    3   sale.                                            3       A. Yes.
    4       Q. So any idea of what occurred              4       Q. And what is it?
    5   when someone was clearing a 222 form?            5       A. It's a monthly report.
    6       A. Not like specifically. So they            6       Q. Similar to the report we just
    7   would, you know, work the form after an order    7   discussed?
    8   shipped and make sure that things -- you         8       A. Yes.
    9   know, the fields were indicated, right, and      9       Q. Okay. And this time it was
   10   they would take the forms and make sure those   10   sent to Mike Santowski. Is that correct?
   11   went to our DEA compliance team for record      11       A. Yes.
   12   retention. And I think -- I don't know what     12       Q. Who was Mike Santowski?
   13   our compliance team did with them afterwards.   13       A. He was my supervisor on that
   14       Q. So this indicates the process            14   date.
   15   previously took several days, and then          15       Q. Okay. And this was dated
   16   indicates that it was shifted to one day.       16   November 2nd, 2010, reporting on October
   17       A. Yes.                                     17   monthly sales from 2010? Is that correct?
   18       Q. Was there an emphasis placed on          18       A. No, it wasn't reporting on
   19   timing or completing these forms?               19   October monthly sales.
   20       A. I'm not sure. I don't really             20       Q. Or, excuse me. October monthly
   21   recall.                                         21   report.
   22       Q. Did anyone at Mallinckrodt               22       A. Yes.
   23   emphasize ensuring that the forms are           23       Q. Okay. And under the heading
   24   properly filled out?                            24   Specialty Generics and Specialty Brands, you
   25       A. Yes.                                     25   indicate that the peculiar order monitoring
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    1   report and process will be moved from            1       A. I can't recall any instance.
    2   customer service to compliance this week.        2       Q. Do you know or can you describe
    3            MR. BERG: Object to form.               3   how Mallinckrodt would determine whether an
    4   QUESTIONS BY MS. KEECH:                          4   order flagged as peculiar should be shipped?
    5       Q. Do you recall that?                       5            MR. BERG: Object to form.
    6       A. No. Like -- no. Like any of               6       A. I'm not really familiar with
    7   the circumstances around it, no.                 7   the details at all on how that would occur.
    8       Q. Do you recall that that                   8   QUESTIONS BY MS. KEECH:
    9   occurred?                                        9       Q. Okay. Did you ever have any
   10       A. Yes.                                     10   communications with customers that raised any
   11       Q. Okay. Any reason to doubt that           11   red flags to you about potential abuse or
   12   you didn't write that?                          12   diversion?
   13       A. No, I'm pretty sure I did.               13       A. No.
   14       Q. Do you recall why customer               14       Q. And prior to 2011, did you ever
   15   service was shifting responsibility to          15   recommend that an order be cancelled because
   16   compliance for the peculiar order monitoring    16   you believed it was peculiar or suspicious?
   17   report?                                         17       A. I don't think so, no.
   18       A. No. And I guess maybe the                18       Q. How about after 2011?
   19   characterization that customer service was      19       A. I don't think so either.
   20   shifting responsibility to compliance might     20       Q. Okay. So in Exhibit 14, this
   21   not be accurate. I would say more               21   indicates that in March of 2010, you met with
   22   compliance, you know, gets to say how we        22   Cathy Stewart, Jim Rausch and Karen Harper to
   23   comply, and compliance was saying, eh, we're    23   fine-tune the SOM algorithm.
   24   going to take this over. That's a more fair     24       A. Uh-huh.
   25   characterization.                               25       Q. Do you recall that meeting?
                                             Page 115                                             Page 117
    1       Q. Okay. Do you know why                     1       A. No.
    2   compliance made the decision to take over the    2       Q. Do you recall working on the
    3   peculiar order monitoring?                       3   SOM algorithm?
    4       A. No.                                       4       A. No.
    5       Q. Do you have any information               5       Q. Do you know what the SOM
    6   about the background behind that decision?       6   algorithm was?
    7       A. I can't recall any.                       7       A. No. I mean, so, yes, it was an
    8       Q. Do you recall whose idea it               8   algorithm used to look at orders to help
    9   was?                                             9   comply with Suspicious Order Monitoring.
   10       A. I really can't recall any                10       Q. But no recollection of working
   11   information.                                    11   on that?
   12       Q. Okay.                                    12       A. No.
   13           (Mallinckrodt-Saffold                   13       Q. Did you participate at all in
   14       Exhibit 14 was marked for                   14   generating the reports that were sent to the
   15       identification.)                            15   DEA?
   16   QUESTIONS BY MS. KEECH:                         16       A. No.
   17       Q. I'm now handing you what's been          17       Q. Did you ever see any reports
   18   marked as Exhibit 14, bearing Bates number      18   that were sent to the DEA?
   19   MNK-T1_000269705.                               19       A. None that I can recall. I'm
   20           And you were on the SOM                 20   pretty sure no.
   21   steering committee, correct?                    21       Q. Okay.
   22       A. Yes.                                     22            (Mallinckrodt-Saffold
   23       Q. Did compliance ever consult              23       Exhibit 15 was marked for
   24   with you about orders that had been flagged     24       identification.)
   25   as potentially suspicious or peculiar?          25                 --oOo--
   Golkow Litigation Services                                               Page 30 (114 - 117)
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    1   QUESTIONS BY MS. KEECH:                          1   QUESTIONS BY MS. KEECH:
    2       Q. I'm handing you what has been             2        Q. Okay. Do you know who within
    3   marked as Exhibit 15, bearing Bates number       3   compliance had that role?
    4   MNK-T1_0000262762. This is an e-mail sent        4        A. No.
    5   from Jim Rausch to Karen Harper, you were        5        Q. Okay. Do you see, in the first
    6   CC'd, on Wednesday, June 9th, 2010, subject      6   paragraph here, where Jim also writes: Since
    7   line: Suspicious Order Monitoring program.       7   I don't hold the orders up during my due
    8            Do you recall receiving this            8   diligence, it's possible that the order could
    9   e-mail?                                          9   ship?
   10       A. No.                                      10        A. Yes.
   11       Q. Any reason to doubt its                  11        Q. Were you familiar with this
   12   authenticity?                                   12   practice?
   13       A. No.                                      13        A. Yes.
   14       Q. Okay. And in this e-mail, Jim            14        Q. Okay. And did you find it
   15   Rausch indicates he's not had any orders in     15   problematic at all of shipping prior to Jim
   16   the classification of peculiar that have not    16   doing his due diligence?
   17   been cleared and explainable thus far.          17        A. I really am not compliance,
   18            Are you familiar with the term         18   right, so if Karen or anyone in compliance
   19   "peculiar order"?                               19   had said it's problematic, then it would be,
   20            MR. BERG: Object to form.              20   if they're aware of it, and then I don't find
   21       A. Yes, somewhat.                           21   it problematic at all.
   22   QUESTIONS BY MS. KEECH:                         22        Q. So you just deferred to Karen
   23       Q. Okay. And how would you define           23   in compliance?
   24   "peculiar order"?                               24        A. Yes.
   25            MR. BERG: Object to form.              25        Q. Did you ever see orders that
                                            Page 119                                             Page 121
    1        A. So I'm not sure I can define             1   you believed that were peculiar that were
    2   it. I'm familiar in that orders that were        2   ultimately shipped?
    3   flagged -- were flagged as peculiar based on     3       A. I never -- no, I can't really
    4   criteria set by our Suspicious Order             4   recall seeing any peculiar orders.
    5   Monitoring people in compliance.                 5       Q. Were you reviewing the peculiar
    6   QUESTIONS BY MS. KEECH:                          6   order reports?
    7        Q. Okay. Do you know what that              7            MR. BERG: Object to form.
    8   criteria was?                                    8       A. I did not review peculiar order
    9            MR. BERG: Object to form.               9   reports.
   10        A. No. And I don't know if it              10            (Mallinckrodt-Saffold
   11   ever -- you know, I think it may have changed   11       Exhibit 16 was marked for
   12   over a period of time as well, so...            12       identification.)
   13   QUESTIONS BY MS. KEECH:                         13   QUESTIONS BY MS. KEECH:
   14        Q. Are you familiar with how the           14       Q. Okay. I'm handing you what has
   15   term "peculiar order" differed from a           15   been marked as Exhibit 16, bearing Bates
   16   suspicious order?                               16   MNK-T1_0000268194.
   17            MR. BERG: Object to form.              17            (Document review by witness.)
   18        A. No.                                     18   QUESTIONS BY MS. KEECH:
   19   QUESTIONS BY MS. KEECH:                         19       Q. Are you familiar with this
   20        Q. So who had the authority within         20   document?
   21   Mallinckrodt to determine whether a peculiar    21       A. No.
   22   order, or order that was identified as either   22       Q. Okay. This is dated July 30th,
   23   peculiar or suspicious, was okay to ship?       23   2010, from Tiffany Kilper Rowley, subject:
   24            MR. BERG: Object to form.              24   DEA Suspicious Order Monitoring program, and
   25        A. Compliance.                             25   your name is listed as one of the required

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    1   attendees.                                       1           MR. BERG: Object to form.
    2            Do you recall attending this            2       A. I'm not sure Jim's job was to
    3   meeting?                                         3   ensure orders were not shipped prior to due
    4       A. No.                                       4   diligence being performed.
    5       Q. Okay. If you'll turn your                 5   QUESTIONS BY MS. KEECH:
    6   attention to the handwritten note at the         6       Q. How would you describe Jim's
    7   bottom of this e-mail, it reads: 99% orders      7   job?
    8   legit so do not hold orders.                     8       A. Jim was supervising the
    9            Were you aware that orders were         9   customer service team, so he had, you know,
   10   not being held?                                 10   to manage his employees and then also, you
   11            MR. BERG: Object to form.              11   know, perform any other activities as
   12   QUESTIONS BY MS. KEECH:                         12   required, right.
   13       Q. Before a due diligence was               13           (Mallinckrodt-Saffold
   14   completed?                                      14       Exhibit 17 was marked for
   15            MR. BERG: Object to form.              15       identification.)
   16       A. So I think that's an                     16   QUESTIONS BY MS. KEECH:
   17   overstatement. Orders could go on hold,         17       Q. I'm handing you what has been
   18   so -- for a number of reasons. So -- so I'm     18   marked as Exhibit 17, bearing Bates
   19   not sure.                                       19   MNK-T1_0000262763. This is an e-mail dated
   20   QUESTIONS BY MS. KEECH:                         20   June 9th, 2010, from Jim Rausch to Karen
   21       Q. So Mallinckrodt had the                  21   Harper with a CC to you regarding Suspicious
   22   capacity to put orders on hold. Is that         22   Order Monitoring program.
   23   correct?                                        23           Do you recognize this document?
   24       A. Yes.                                     24       A. No.
   25       Q. Okay. But as Jim indicated in            25       Q. Any reason to doubt its
                                             Page 123                                            Page 125
    1   his prior e-mail, he did not personally hold     1   authenticity?
    2   orders up during his due diligence.              2       A. No.
    3            MR. BERG: Object to form.               3       Q. Okay. And here, Jim writes to
    4       A. Yes.                                      4   Karen: As we discussed, I do not hold any
    5   QUESTIONS BY MS. KEECH:                          5   orders while I do my research due to the time
    6       Q. Okay. So if the stated goal of            6   constraints.
    7   the SOM team is to meet or exceed DEA            7           Are you aware of whether
    8   expectations, do you believe that this           8   Mallinckrodt ever asked a company to return
    9   practice is consistent with the DEA              9   an order that had been shipped?
   10   requirements in the stated goals of the SOM     10       A. Yes, I am aware we've asked
   11   charter to not complete due diligence before    11   customers to return orders that have been
   12   shipping an order?                              12   shipped.
   13            MR. BERG: Object to form.              13       Q. Okay. And when you left
   14       A. I'm not a compliance expert,             14   Mallinckrodt, was it still Mallinckrodt's
   15   right, so I'm not sure exactly what the         15   practice to ship, then investigate or
   16   requirements from the DEA were and wouldn't     16   complete the investigation of orders?
   17   have a good informed opinion on how well it     17           MR. BERG: Object to form.
   18   met or exceeded.                                18       A. I don't know.
   19   QUESTIONS BY MS. KEECH:                         19           MS. KEECH: Okay. It's my
   20       Q. Well, as a supervisor of an              20       understanding that the lunch is here.
   21   employee whose job was to ensure that orders    21       Do folks want to take a break now?
   22   were not shipped that were peculiar, does it    22           MR. BERG: Sure.
   23   strike you as problematic that orders are       23           MS. KEECH: Or should we keep
   24   being shipped prior to the due diligence        24       going?
   25   being completed?                                25           MR. BERG: Up to you. I don't
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    1       know how you're feeling.                     1   the SOM team?
    2            THE WITNESS: You want to maybe          2           MR. BERG: Object to form.
    3       go like 10 or 15 more minutes?               3       A. I said I can't really recall,
    4            MR. BERG: 12:30?                        4   you know, like a specific decision.
    5            MS. KEECH: Sure, that's fine.           5   QUESTIONS BY MS. KEECH:
    6       Okay, we'll go till 12:30.                   6       Q. But generally speaking, did you
    7            (Mallinckrodt-Saffold                   7   have access to the agendas and information of
    8       Exhibit 18 was marked for                    8   the SOM team and projects that they were
    9       identification.)                             9   working on?
   10   QUESTIONS BY MS. KEECH:                         10       A. Yes.
   11       Q. Okay. I'm handing you what has           11       Q. Okay.
   12   been marked Exhibit 18, bearing Bates number    12           (Mallinckrodt-Saffold
   13   MNK-T1_0280678.                                 13       Exhibit 19 was marked for
   14            Do you recognize this document?        14       identification.)
   15       A. No.                                      15   QUESTIONS BY MS. KEECH:
   16       Q. Okay. What is it?                        16       Q. I'm handing you what's been
   17       A. It looks like either an e-mail           17   marked as Exhibit 19, bearing Bates
   18   or a decline, you know, from a calendar         18   MNK-T1_0000301254.
   19   request from me to Karen on the 3rd of          19       A. Thank you.
   20   November 2010, letting her know I won't be      20       Q. Do you recognize this document?
   21   able to make the meeting next week but I'm      21       A. I think we saw something very
   22   comfortable with our progress and the           22   similar or this document earlier today.
   23   direction so far.                               23       Q. Yes. We saw a very similar
   24       Q. Okay. And what progress were             24   document earlier today. If you'll turn with
   25   you referring to?                               25   me to the last page of this document where
                                            Page 127                                             Page 129
    1       A. I don't recall.                           1   Cathy Stewart e-mails Karen Harper with a CC
    2       Q. Do you recall what progress in            2   to you on November 16th, 2009, she writes,
    3   general the SOM team made from its inception     3   referencing the manual process, that it's a
    4   to November of 2010?                             4   process that lends itself to errors and
    5       A. No.                                       5   omissions.
    6       Q. You noted that you were                   6            Are you aware of any shipments
    7   "comfortable with our progress and direction     7   that were sent to entities on the manual do
    8   so far."                                         8   not ship list before it was transitioned to
    9            Was there ever a time that you          9   SDIG -- or CDIG, excuse me?
   10   were uncomfortable with the direction or        10            MR. BERG: Object to form.
   11   progress of the SOM team?                       11       A. I'm not aware of any.
   12       A. No.                                      12   QUESTIONS BY MS. KEECH:
   13       Q. Were you ever uncomfortable              13       Q. Okay. So when she said it's a
   14   with decisions made regarding whether to        14   process that lends itself to errors and
   15   report an order or a circumstance to the DEA?   15   omissions, were you aware of any of those
   16       A. No.                                      16   errors or omissions that had occurred?
   17       Q. Did you ever disagree with               17       A. No.
   18   decisions that were made with respect to        18       Q. Okay. You can set that aside.
   19   Suspicious Order Monitoring?                    19            (Mallinckrodt-Saffold
   20       A. Not that I can recall, and I             20       Exhibit 20 was marked for
   21   don't think I was privy to a lot of decisions   21       identification.)
   22   being made.                                     22   QUESTIONS BY MS. KEECH:
   23       Q. So you were invited to the               23       Q. I'm handing you what's been
   24   meetings and invited to participate on the      24   marked as Exhibit 20, bearing Bates
   25   algorithm but weren't privy to decisions of     25   MNK-T1_0000278389.

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    1            Are you familiar with this              1   QUESTIONS BY MS. KEECH:
    2   document?                                        2       Q. Okay. Well, were you aware
    3       A. No.                                       3   that this question was removed from the
    4       Q. Any reason to doubt its                   4   questionnaires?
    5   authenticity?                                    5       A. I can't recall.
    6       A. No.                                       6       Q. Do you know why Mallinckrodt
    7       Q. Okay. So at the bottom of this            7   would have removed that question?
    8   e-mail thread, Karen Harper sends an e-mail      8       A. I don't know. Aside from
    9   to Cathy Stewart and Jim Rausch with a copy      9   compliance, right, I don't know much about
   10   to you on November 6th, 2009, regarding the     10   the questionnaire.
   11   Suspicious Order Monitoring program, work       11       Q. Okay.
   12   instruction update, customer checklist          12            (Mallinckrodt-Saffold
   13   revisions and frequently asked question edit    13       Exhibit 21 was marked for
   14   changes.                                        14       identification.)
   15            Jim then responds saying: We           15   QUESTIONS BY MS. KEECH:
   16   removed the question "Does your company         16       Q. I'm handing you what's been
   17   verify that your customers have a Suspicious    17   marked as Exhibit 21, bearing Bates number
   18   Order Monitoring program as prescribed by       18   MNK-T1_0004154291. This is an e-mail sent
   19   21 C.F.R. 1301.74" from the manufacturer's      19   from Cathy Stewart on November 6, 2009, to
   20   questionnaire. Should it be removed from the    20   you, Karen Harper and Jim Rausch.
   21   distributor and wholesaler questionnaires       21            Karen then writes that she's
   22   also?                                           22   updated the bulk checklist to remove the
   23            Are you familiar with the              23   question relative to whether or not our
   24   questionnaires that they're referencing?        24   customer is verifying their customer has an
   25       A. I'm familiar that we had a               25   SOM program.
                                            Page 131                                            Page 133
    1   questionnaire.                                   1           MR. BERG: You know, Counsel, I
    2        Q. And what was the purpose of the          2      know you spent a lot of time with
    3   questionnaire, do you know?                      3      these documents, but when you
    4        A. Compliance, right.                       4      introduce them, can you just point us
    5        Q. So Mallinckrodt would send               5      to where you're looking?
    6   questionnaires to its distributors and           6           MS. KEECH: Sure.
    7   wholesalers, correct?                            7           MR. BERG: Because we haven't
    8        A. Yes.                                     8      had a chance to review them.
    9        Q. Okay. Did the questionnaires             9           MS. KEECH: Sure.
   10   assist in learning more about Mallinckrodt's    10           MR. BERG: Thanks.
   11   customers and whether they were aware of DEA    11           MS. KEECH: I'm also displaying
   12   requirements?                                   12      them here on the Elmo. I don't know
   13        A. I'm not really the author of            13      if you can see it.
   14   the questionnaire nor the driver of that        14           MR. BERG: I can't see it.
   15   initiative, so I'm not comfortable commenting   15      Okay, I guess I can see some of it.
   16   on the questionnaire's purpose.                 16           But just take your time, just
   17        Q. Okay. Do you recall receiving           17      familiarize yourself with anything you
   18   the e-mail reflecting updates to the SOM        18      need to.
   19   procedures?                                     19           THE WITNESS: Okay, absolutely.
   20            MR. BERG: Object to form.              20   QUESTIONS BY MS. KEECH:
   21        A. No, I don't recall this. And            21      Q. So you were notified of this
   22   then, you know, I would point out that aside    22   decision to remove the question from the
   23   from Karen's initial e-mail, I wasn't copied    23   questionnaire. Is that correct?
   24   on the subsequent e-mails so it's kind of       24           MR. BERG: Object to form.
   25   tough for me to even, you know, comment.        25      A. Yes.
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    1   QUESTIONS BY MS. KEECH:                         1   you may have had with counsel, did anyone
    2        Q. Was this then or is it now              2   ever discuss with you whether Mallinckrodt
    3   concerning to you that this question was        3   had an obligation to know its customer's
    4   removed?                                        4   customer?
    5        A. No. I don't know enough about           5       A. I don't recall any instances of
    6   this to really be able to register a concern    6   that, like a discussion on that, outside of
    7   about a question being removed. What makes      7   conversations with counsel.
    8   me have confidence is that we're very --        8       Q. Okay. I'll rephrase the
    9   we're working with our compliance person, so    9   question a little differently. So again,
   10   I'm -- I wouldn't be concerned at all. "Bulk   10   outside of any conversation with counsel, did
   11   checklist" would refer to API, so...           11   you ever read any materials while you were at
   12        Q. Did you believe that                   12   Mallinckrodt or hear of this concept in any
   13   Mallinckrodt had an obligation to know its     13   form?
   14   customers' customers?                          14       A. I don't recall.
   15             MR. BERG: Object to form.            15       Q. Okay. Thank you.
   16        A. No, that's not really my area.         16            (Mallinckrodt-Saffold
   17   QUESTIONS BY MS. KEECH:                        17       Exhibit 22 was marked for
   18        Q. Did anyone ever discuss whether        18       identification.)
   19   Mallinckrodt had an obligation to know its     19   QUESTIONS BY MS. KEECH:
   20   customer's customer with you?                  20       Q. I'm handing you what has been
   21        A. I think you may be asking me           21   marked Exhibit 22, bearing Bates number
   22   about privileged information. Can I have       22   MNK-T1_0000455782.
   23   a -- so --                                     23            Do you recognize this document?
   24             MR. BERG: Well, before you           24       A. Yes. It's similar to a
   25        answer, like if you're concerned about    25   document you showed me earlier.
                                            Page 135                                            Page 137
    1      it, let's just step outside in the           1        Q. Okay. And what is it?
    2      hall and talk about it.                      2        A. It's a meeting request.
    3            THE WITNESS: Yes, let's.               3        Q. Is it from Karen Harper, dated
    4            MR. BERG: Is that okay?                4   July 22nd, 2010?
    5            MS. KEECH: Sure. Do you want           5        A. Yes.
    6      to --                                        6        Q. And are you on the recipient
    7            MR. GOTTO: You want to take a          7   list?
    8      lunch break now?                             8        A. Yes.
    9            MR. BERG: Okay. Sure.                  9        Q. Okay. And does it state a
   10            MS. KEECH: Yeah.                      10   meeting purpose?
   11            THE VIDEOGRAPHER: All right.          11        A. It does.
   12      Off the record at 12:18.                    12        Q. And can you please read that
   13            (Recess taken, 12:18?p.m. to          13   meeting purpose?
   14      1:07?p.m.)                                  14        A. "Recent DEA enforcement action
   15            THE VIDEOGRAPHER: All right,          15   taken within industry (including two
   16      stand by. The time is 1:07, back on         16   Mallinckrodt customers) merits a review of
   17      the record.                                 17   our existing Controlled Substance Suspicious
   18   QUESTIONS BY MS. KEECH:                        18   Order Monitoring Program."
   19      Q. Thank you.                               19        Q. So this indicates that two of
   20            So before we broke earlier, I         20   Mallinckrodt's customers got into trouble
   21   asked you a question and you were going to     21   with the DEA. Is that correct?
   22   consult with your attorney, so I will          22             MR. BERG: Object to form.
   23   rephrase the question and you can answer it    23        A. It certainly -- I don't know.
   24   again.                                         24   Enforcement action, right, so I don't know if
   25            So apart from any conversations       25   that's in trouble or...
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    1   QUESTIONS BY MS. KEECH:                          1   aside from the monthly reports that they
    2       Q. Sure.                                     2   generated, what the nature of your
    3           Does this represent that the             3   supervision was? In other words, how often
    4   DEA took enforcement action against two of       4   did you meet with them, did you have
    5   Mallinckrodt's customers?                        5   one-on-ones, how frequently did you
    6       A. It does.                                  6   communicate?
    7       Q. Okay. And would you agree that            7            MR. BERG: Object to form.
    8   because two of Mallinckrodt's customers had      8       A. Sure. It's -- I believe, you
    9   enforcement action taken against them that it    9   know, that we met, you know, I usually
   10   was indicative that Mallinckrodt's Suspicious   10   schedule weekly one-on-ones with my direct
   11   Order Monitoring program needed to be           11   reports, so I think that would be consist- --
   12   reviewed?                                       12   you know, I think that's what I had done.
   13           MR. BERG: Objection to form.            13            I don't specifically remember
   14       A. So I don't really have an                14   scheduling one-on-ones with them, but it's
   15   opinion on that. I would defer to our           15   just that's what I do, and so -- and then
   16   compliance team.                                16   also -- so that's, you know, aside from the
   17   QUESTIONS BY MS. KEECH:                         17   monthly reports, that's, you know, how I got
   18       Q. Okay. And earlier we discussed           18   updates from them.
   19   how Mallinckrodt chose to remove the question   19   QUESTIONS BY MS. KEECH:
   20   of whether its customers were verifying its     20       Q. And were the weekly meetings in
   21   customers had SOM programs in the               21   person?
   22   questionnaire that it submitted.                22       A. Yes.
   23           MR. BERG: Objection, form.              23       Q. Do you recall about how long
   24       A. So at the risk of being                  24   they lasted?
   25   argumentative, I think that referred to a       25       A. I don't specifically recall any
                                             Page 139                                             Page 141
    1   bulk checklist and not necessarily a             1   of the details of these meetings, so it would
    2   questionnaire that would be, you know, used      2   be tough to say.
    3   for other types of customers.                    3       Q. Okay. Do you remember if it
    4   QUESTIONS BY MS. KEECH:                          4   was a standing meeting or was it just more of
    5        Q. But you agree that that                  5   an infrequent pop in, check in, see if you
    6   question was removed from the bulk checklist?    6   have any updates kind of a thing?
    7            MR. BERG: Object to form.               7       A. I really don't recall the
    8        A. It appears so. I'm not                   8   meetings, so it's kind of tough to say. I
    9   disputing that.                                  9   tend to schedule standing meetings with my
   10   QUESTIONS BY MS. KEECH:                         10   direct reports.
   11        Q. Okay. And do you think that             11       Q. Do you ever recall discussing
   12   knowing the answer to that question would       12   with Jim Rausch the volume of peculiar orders
   13   have been helpful in assessing whether          13   that he was receiving?
   14   Mallinckrodt should continue shipping product   14       A. No.
   15   to its customers?                               15       Q. Do you ever remember him saying
   16        A. I don't know.                           16   that he was expending a large portion of his
   17            MR. BERG: Object to form.              17   day reviewing peculiar orders?
   18   QUESTIONS BY MS. KEECH:                         18       A. No.
   19        Q. Okay. So I want to go back and          19       Q. Okay. And it's your
   20   talk with you about your supervision of your    20   understanding that there were changes to the
   21   direct reports. You indicated earlier that      21   Suspicious Order Monitoring program over
   22   you supervised both Jim Rausch and Cathy        22   time. Is that correct?
   23   Stewart. Is that correct?                       23       A. Yes.
   24        A. Yes.                                    24       Q. Okay. And do you recall if any
   25        Q. Okay. Can you describe for me,          25   of those changes were based on the algorithm

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    1   used to flag whether an order was peculiar?      1        Q. What is 852 data?
    2       A. I don't know a lot of the                 2        A. So as I remember, EDI 852 data
    3   details on the changes, so I'm not sure I can    3   is the information from like a wholesaler or
    4   answer that question.                            4   a distributor. 852 refers to an EDI
    5       Q. Okay. Did you know whether one            5   transaction. This transaction shows their
    6   of the factors evaluated was the historical      6   inventory and kind of their net -- and it can
    7   ordering patterns of a customer?                 7   show everything. It's always an inventory
    8       A. Yes. But just kind of at that             8   transaction.
    9   level, yes, historical order patterns are        9        Q. Okay.
   10   something that is evaluated.                    10        A. And then depending on what
   11       Q. And do you recall or know                11   other fields the distributor would send, it
   12   whether the historical averages, as part of     12   may show other things as well.
   13   the Suspicious Order Monitoring formula, ever   13        Q. Okay. And what's the
   14   changed?                                        14   significance of 852 data, if any?
   15            MR. BERG: Object to form.              15        A. So what that can show is if a
   16       A. I don't recall it necessarily            16   distributor, such as McKesson in this case,
   17   even being averages, so I don't really recall   17   says, hey, you're doing a bad job because
   18   what changes would have been made to it.        18   your orders aren't shipping out on time and
   19   QUESTIONS BY MS. KEECH:                         19   sometimes you don't have product. We say,
   20       Q. Okay. Is the term "historical            20   well, give us your 852 information, and we
   21   average threshold" familiar to you?             21   can say, look, you're not having -- you know,
   22       A. I don't recall hearing it.               22   you have inventory on hand, so, yeah, we're
   23       Q. Okay. I'm handing you what has           23   not filling your orders, but look, you're
   24   been marked as Exhibit 23.                      24   still able to service your customers.
   25            (Mallinckrodt-Saffold                  25        Q. Is 852 data something that you
                                            Page 143                                             Page 145
    1       Exhibit 23 was marked for                    1   regularly reviewed?
    2       identification.)                             2       A. No.
    3   QUESTIONS BY MS. KEECH:                          3       Q. Do you recall why you wanted to
    4       Q. Bearing Bates number                      4   review it in this instance?
    5   MNK-T1_0005708609.                               5       A. No. I think the speculation is
    6            Do you recognize this document?         6   kind of in the answer I gave of probably
    7       A. No.                                       7   wanting to say we're maybe not as bad as
    8       Q. It's an e-mail from Debbie                8   you're saying we are, but I don't know for
    9   Digby dated May 30th, 2012, addressed to you,    9   sure.
   10   subject: Distributor EDI 852 - fill rate        10       Q. Okay. And are you familiar
   11   information for McKesson.                       11   with 867 data?
   12       A. Yes.                                     12       A. No. Like I cannot tell you
   13       Q. Do you have any reason to doubt          13   what it is.
   14   the authenticity of this e-mail?                14       Q. Okay. Do you know whether
   15       A. No.                                      15   Mallinckrodt reviewed 867 data?
   16       Q. And do you recall who Debbie             16       A. I don't know what 867 data is.
   17   Diggy -- Digby, excuse me, is or what her       17       Q. Okay. How about 844 data?
   18   role at Mallinckrodt was?                       18       A. I don't know. I don't remember
   19       A. No. No, sorry.                           19   what that is either.
   20       Q. Okay. And it indicates here              20       Q. Do you recall any other data
   21   that you made a request for data.               21   sources that you reviewed in your job?
   22       A. Yes.                                     22            MR. BERG: Object to form.
   23       Q. Okay. And it appears that                23       A. Are you talking about EDI data?
   24   Debbie provided EDI 852 data.                   24   QUESTIONS BY MS. KEECH:
   25       A. Yes.                                     25       Q. Yeah.
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    1       A. Well, an 850, which is a                  1   October 27, 2011. Do you have any reason to
    2   purchase order. I didn't really review the       2   doubt its authenticity or that it was sent to
    3   data, but I remember, you know, because we'd     3   you?
    4   process orders, so that was a good one to        4        A. No.
    5   get. And then that's -- and then 856, which      5        Q. Okay. And are you familiar
    6   is kind of an -- I think it's an order           6   with the concept of future-dating?
    7   acknowledgment, those were sometimes             7        A. Yes.
    8   distributors would want to make sure we were     8        Q. What is future-dating?
    9   sending them 856s. I think that's what an        9        A. So future-dating is changing
   10   856 is, but I'm not...                          10   the requested date on an order to a date in
   11       Q. Okay. Thank you.                         11   the future. So, you know, an order has
   12             Are you familiar with the term        12   several fields, date fields. So this is a
   13   "chargebacks"?                                  13   field where if you say, hey, I don't think
   14       A. Yes.                                     14   I'm going to be able to get you some product,
   15       Q. And what do you understand               15   and so I can cancel the order or, you know,
   16   chargebacks to be?                              16   if you want to wait a while for it, you know,
   17       A. It's pretty limited. So I                17   I can move this out 30, 45, 50 days, and then
   18   understand a chargeback refers to a             18   you could change the future date, so you
   19   transaction generated from the distributor to   19   still knew, hey, we are expected to fill this
   20   us or to, you know, the seller.                 20   order on this date now.
   21       Q. And is it your understanding             21        Q. So when an order was
   22   that the chargeback is the difference between   22   future-dated, when was the product actually
   23   the list price and the contract price that      23   shipped?
   24   reconciles the two prices to make the           24        A. It would depend on -- you know,
   25   distributor whole?                              25   typically it would be on the date that we
                                             Page 147                                             Page 149
    1       A. Yes.                                      1   changed the future date to, if that makes
    2       Q. Okay. And in your capacity as             2   sense.
    3   director of customer service, did you review     3       Q. If you received product before
    4   chargeback data?                                 4   the date in which the order was future-dated,
    5       A. No.                                       5   would it ship before that future date?
    6       Q. Did you have access to it?                6       A. I don't believe so.
    7       A. No.                                       7       Q. Okay. And this e-mail
    8       Q. Did you understand how the                8   discusses a significant increase in oxycodone
    9   company utilized it?                             9   15- and 30-milligram backorders. It appears
   10       A. No.                                      10   that manufacturing requested that the orders
   11       Q. Okay.                                    11   be future-dated so that customers who already
   12            (Mallinckrodt-Saffold                  12   received their allotted monthly quality --
   13       Exhibit 24 was marked for                   13   quantity.
   14       identification.)                            14           You indicated on the first page
   15   QUESTIONS BY MS. KEECH:                         15   of the document, middle of the page, in the
   16       Q. I'm handing you what's been              16   e-mail from George Saffold to Lisa Cardetti,
   17   marked as Exhibit 24, bearing Bates number      17   October 27, 2011, that you would change the
   18   MNK-T1_0000299450.                              18   notes on the order to state "Future dated Due
   19            (Document review by witness.)          19   Excess Demand per Marketing. Customer has
   20   QUESTIONS BY MS. KEECH:                         20   already received their monthly allocation for
   21       Q. Okay. Do you recognize this              21   October 2011."
   22   exhibit?                                        22           When you wrote this note, where
   23       A. Not really.                              23   was it actually recorded?
   24       Q. It's an e-mail from Lisa                 24           MR. BERG: Object to form.
   25   Cardetti to you and Jim Rausch dated            25       A. So I didn't write this note on

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    1   anything.                                        1       A. Yes.
    2   QUESTIONS BY MS. KEECH:                          2       Q. And it lists AmerisourceBergen?
    3       Q. Okay.                                     3       A. Yes.
    4       A. My team members who go in and             4       Q. And also lists Cardinal Health?
    5   would change the dates, they would write that    5       A. Yes.
    6   note on the order header detail page in the      6       Q. Okay. Do you recall the
    7   system of the order management system.           7   presentation we discussed earlier,
    8       Q. So fair to say it was an                  8   Exhibit 10?
    9   internal record?                                 9       A. Do you mind if I look?
   10       A. Yes.                                     10       Q. Sure. Yeah.
   11       Q. Was this ever actually written           11       A. Yes.
   12   on a 222 form?                                  12       Q. And this e-mail thread that's
   13       A. Not to my knowledge.                     13   in front of you is dated October 2011,
   14       Q. So you provided the rationale            14   correct?
   15   to your team members for what to write in       15       A. Yes, it is.
   16   this instance. Is that correct?                 16       Q. Okay. And Exhibit 10 is dated
   17            MR. BERG: Object to form.              17   March of 2011.
   18       A. It provided the verbiage that            18       A. Yes.
   19   they were required to put on the order if       19       Q. And in Exhibit 10, page 9 of
   20   they were changing an order per this, you       20   Exhibit 10 lists distributors who the DEA had
   21   know, kind of initiative.                       21   taken enforcement action against, correct?
   22   QUESTIONS BY MS. KEECH:                         22       A. Yes.
   23       Q. Okay. And the reason stated              23       Q. And it discusses license
   24   was increased demand.                           24   suspension of AmerisourceBergen and Cardinal,
   25       A. No.                                      25   correct?
                                            Page 151                                             Page 153
    1       Q. Or excess demand. Is that                 1       A. Yes.
    2   correct?                                         2       Q. Okay. So at the time that
    3       A. Excess demand, yes.                       3   Mallinckrodt future-dated the orders for
    4       Q. Excess demand.                            4   these entities, Mallinckrodt was aware of
    5            Are you aware of whether anyone         5   their prior DEA enforcement actions.
    6   looked into the reason for the demand?           6            MR. BERG: Object to form.
    7       A. No.                                       7       A. Apparently, yes.
    8       Q. So do you know whether anyone             8   QUESTIONS BY MS. KEECH:
    9   ever looked into whether the demand exceeded     9       Q. Was that then or is that now
   10   the supply because the orders were              10   concerning to you?
   11   suspicious?                                     11            MR. BERG: Object to form.
   12       A. I wouldn't be aware of that.             12       A. No.
   13       Q. Okay. And on the third page of           13            (Mallinckrodt-Saffold
   14   this document, it indicates Lisa Cardetti       14       Exhibit 25 was marked for
   15   sent an e-mail on October 26, 2011, to Robert   15       identification.)
   16   Laznak.                                         16   QUESTIONS BY MS. KEECH:
   17            Do you know who Robert Laznak          17       Q. I'm handing you what's been
   18   was?                                            18   marked as Exhibit 25, bearing Bates number
   19       A. I'm -- oh. No.                           19   MNK-T1_0005711355. This is an e-mail from
   20       Q. In this e-mail to Robert or              20   Carla Johnson dated October 26, 2011, to you
   21   Bob, Lisa indicates that the following          21   with a CC to Michael Santowski regarding
   22   customers would have orders that would be       22   oxycodone orders.
   23   future-dated to November 1st for their          23            Do you recognize this document?
   24   monthly allocation.                             24       A. No.
   25            Do you see that?                       25       Q. Any reason to doubt its

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    1   authenticity?                                    1   you recall which management policy or
    2       A. No.                                       2   policies you were referring to?
    3       Q. Okay. So about in the middle              3       A. I do.
    4   of the document, you sent an e-mail to Carla     4       Q. Okay.
    5   Johnson, and who is Carla Johnson?               5       A. So all of us in supply chain,
    6       A. At the time, she was director             6   you know, we're -- a big metric for us is
    7   of planning.                                     7   service level, how many orders we can fill,
    8       Q. And in this, you -- actually,             8   and that's not -- it's usually based on
    9   can you read what you wrote to Carla?            9   demand. So if we're changing the requested
   10       A. "Hi, Carla. I just want to               10   delivery date, it -- but if they had really
   11   make sure you are aware of this because I'm     11   wanted it earlier, it might kind of look like
   12   not sure the direction on dating from Lisa is   12   we were changing the numbers to get like a
   13   consistent with our order management            13   better fill rate. So I wanted to make sure
   14   policies. Did they run" -- do you want me to    14   that everyone was comfortable with doing that
   15   read that?                                      15   and we were making sure that we -- you know,
   16       Q. Yep.                                     16   that everyone was aware of it.
   17       A. "Did they run any of this by             17       Q. So other than sending this
   18   you, because it seems like the changes you      18   e-mail to Carla Johnson, do you recall
   19   made to the backorder report should address     19   whether you raised this issue with anyone
   20   manufacturing's concerns about the orders       20   else?
   21   showing up on backorder."                       21       A. Yes.
   22       Q. And who is Michael Santowski?            22       Q. And did you?
   23       A. The VP of supply chain.                  23       A. Yes. I raised this issue to
   24       Q. And Carla stated: Oxycodone              24   Mike Santowski, and again, for the reason of,
   25   30s are the exception to the new backorder      25   like, hey, umm, I'm changing an order or my
                                             Page 155                                             Page 157
    1   report logic because we are not storing that     1   people are changing a requested date. You
    2   inventory in a shippable branch plant.           2   know, do you think this is okay in this
    3       A. Yes.                                      3   situation?
    4       Q. Do you know why oxy 30s would             4       Q. And what response, if any, did
    5   be an exception?                                 5   you get?
    6            MR. BERG: Object to form.               6       A. A good response. He said --
    7       A. No, other than that they are              7   you know, he said yes, and then he confirmed
    8   not storing the inventory -- I mean, other       8   that, you know, for us to change the order,
    9   than what's stated there, no.                    9   there had to be a conversation with a
   10   QUESTIONS BY MS. KEECH:                         10   customer led by, you know, the commercial
   11       Q. Okay. And then can you read              11   organization saying, you know, hey, are you
   12   what Carla wrote next, beginning with "This     12   okay with us changing the date, here's why
   13   is"?                                            13   we're changing the date. So it wasn't just
   14       A. "This is going to be an ongoing          14   like we were wholesale looking at orders that
   15   issue; so I think it makes sense to take a      15   were backordered, that there was actually
   16   different approach. So I would say I'm in       16   some discipline applied to this.
   17   alignment."                                     17       Q. So when that conversation
   18       Q. So fair to say Carla approved            18   occurred with the customer, was that in
   19   the proposed future-dating practice?            19   writing, over the phone?
   20            MR. BERG: Object to form.              20       A. I'm not sure.
   21       A. I think that's fair.                     21       Q. Okay. Do you know who had that
   22   QUESTIONS BY MS. KEECH:                         22   conversation?
   23       Q. So when you said you weren't             23       A. I don't recall.
   24   sure that the direction on dating from Lisa     24       Q. Okay. Did you raise it with
   25   was consistent with management policies, do     25   anyone else other than Mike Santowski and
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    1   Carla Johnson?                                   1   you're not sure whether a customer's ordering
    2        A. No.                                      2   history was significant when evaluating its
    3        Q. Okay. Were you satisfied with            3   orders?
    4   the answer that Mike Santowski gave you?         4           MR. BERG: Object to form.
    5        A. Yes. In terms of raising it to           5       A. So I believe it was, you know,
    6   other people -- let me rephrase that. I          6   but I don't know specifically what elements
    7   don't remember whether I did or not, but I do    7   of order history were, you know, used.
    8   remember being satisfied with the answer.        8   QUESTIONS BY MS. KEECH:
    9        Q. Okay. So what was the benefit            9       Q. Okay. So it's fair to say that
   10   to Mallinckrodt of future-dating an order?      10   future-dating allowed Mallinckrodt to sell
   11             MR. BERG: Object to form.             11   opioids to a wholesale distributor customer
   12        A. I'm not 100% sure.                      12   without triggering some kind of suspicious
   13   QUESTIONS BY MS. KEECH:                         13   order review?
   14        Q. Do you have an idea as to how           14           MR. BERG: Object to form.
   15   it benefited Mallinckrodt in any way?           15       A. I would say that is not fair to
   16        A. So, yeah. I think it made               16   say.
   17   it -- it made our order management system,      17   QUESTIONS BY MS. KEECH:
   18   which gives requirements to manufacturing and   18       Q. So do you know whether, when
   19   helps us plan our activities, match more of     19   orders were future-dated, an evaluation
   20   what we were actually doing.                    20   occurred of that distributor for whether its
   21             And then also, it made our --         21   orders were suspicious --
   22   once all the dates matched, then you can do     22           MR. BERG: Object --
   23   things like make sure you're planning the       23   QUESTIONS BY MS. KEECH:
   24   right transportation, so it just made           24       Q. -- prior to the future-dating?
   25   everything more accurate.                       25           MR. BERG: Object to form.
                                            Page 159                                              Page 161
    1       Q. Okay. And to your knowledge,              1        A. My understanding of the
    2   was the Suspicious Order Monitoring algorithm    2   Suspicious Order Management program and how
    3   based in part on order history of customers?     3   it interacted with the order management
    4            MR. BERG: Object to form.               4   system was that every order was reviewed.
    5       A. With very limited knowledge of            5   QUESTIONS BY MS. KEECH:
    6   the actual algorithm, I understand that was      6        Q. Okay. If an order was
    7   one of its features.                             7   future-dated, the sales to that particular
    8   QUESTIONS BY MS. KEECH:                          8   wholesale distributor would not exceed the
    9       Q. Okay. So fair to say the order            9   threshold for review set by the Suspicious
   10   history in any given month was a relevant       10   Order Monitoring algorithm for the time
   11   factor in analysis of whether a customer had    11   period in which the sale in fact occurred.
   12   suspicious orders?                              12   Is that correct?
   13            MR. BERG: Object to form.              13             MR. BERG: Objection. Object
   14       A. Can you repeat that? I don't             14        to form.
   15   know if I understood the question.              15        A. I'm not sure. There were
   16   QUESTIONS BY MS. KEECH:                         16   several dates on an order, one of them being
   17       Q. Sure.                                    17   order date, which is immutable, or at least I
   18            Did a customer's order history         18   don't think you could move it, and we never
   19   in any given month, was that relevant in the    19   did. And the other was requested date, which
   20   analysis of whether a customer had a            20   referred to requested delivery date.
   21   suspicious order?                               21             So I'm not sure how the -- what
   22       A. Again, without knowing the --            22   date Suspicious Order Monitoring looked at,
   23   you know, the algorithm rules, it would be      23   but we made sure we maintained the integrity
   24   hard to say.                                    24   of the order by not altering that order date
   25       Q. So just generally speaking,              25   and only the requested delivery date because

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    1   we had a conversation with the customer          1       Q. Do you see anything wrong with
    2   saying, hey, I can't get it to you this date,    2   that practice?
    3   can you have it later. They said yes, then       3            MR. BERG: Object to form.
    4   we said, okay, we're changing your date to       4       A. No.
    5   here.                                            5            (Mallinckrodt-Saffold
    6            So I'm not sure how that                6       Exhibit 27 was marked for
    7   interacts with Suspicious Order Monitoring.      7       identification.)
    8   QUESTIONS BY MS. KEECH:                          8   QUESTIONS BY MS. KEECH:
    9       Q. Okay. Do you know whether 222             9       Q. Okay. I'm handing you what's
   10   forms have an expiration date on them?          10   been marked Exhibit 27, bearing Bates number
   11       A. I do know they do.                       11   MNK-T1_000299509.
   12       Q. Okay.                                    12            Do you remember this document?
   13            (Mallinckrodt-Saffold                  13       A. No.
   14       Exhibit 26 was marked for                   14       Q. Okay. Any reason to doubt its
   15       identification.)                            15   authenticity?
   16   QUESTIONS BY MS. KEECH:                         16       A. No.
   17       Q. I'm handing you what has been            17       Q. Okay. And this is an e-mail
   18   marked Exhibit 26, bearing Bates number         18   sent from Lisa Cardetti to Ginger Collier
   19   MNK-T1_0002742739.                              19   with a CC to both you and Jim Rausch sent
   20       A. Thank you.                               20   October 4th, 2011. The subject line: Pharma
   21       Q. This is an e-mail sent from Jim          21   Backorder Report - Summary.
   22   Rausch on October 27, 2011, and you were        22            And Lisa writes: In working
   23   included on the CC field, subject line:         23   with customer service, we've eliminated the
   24   Oxycodone orders.                               24   backorders on oxycodone IR by future-dating
   25            Do you recognize this document?        25   orders. I wanted to make you aware that this
                                             Page 163                                             Page 165
    1      A.     I need a moment.                       1   initiative/process will continue through
    2            (Document review by witness.)           2   January.
    3       A. It looks very similar to the              3            So based on your recollection
    4   prior -- an e-mail you showed me prior, maybe    4   and review of these documents, is it fair to
    5   with just some more comments on it, so yes.      5   say that the future-dating process began in
    6   QUESTIONS BY MS. KEECH:                          6   October of 2011?
    7       Q. Okay. And on the first page of            7        A. Yes.
    8   this document, Sharron Banks sent an e-mail      8        Q. Are you aware of whether
    9   on October 27th, 2011, to Jim Rausch and a       9   Mallinckrodt future-dated any orders prior to
   10   number of others with a CC to you and stated:   10   2011?
   11   Jim, there's a possibility that the 222 forms   11        A. No.
   12   may expire by the desired requested date.       12        Q. Okay. And this indicates that
   13            And then can you read Jim's            13   it continued through January 2012?
   14   response at the top of the document?            14        A. Yes.
   15       A. Sure.                                    15        Q. And are you aware of whether
   16            "We'll see how many orders we          16   Mallinckrodt continued to future-date any
   17   have that won't allow us to future date it to   17   orders after January of 2012?
   18   new date because of the 222 form expiration     18        A. I don't recall.
   19   date. If that happens we will need -- would     19        Q. Okay. Is future-dating
   20   need to ask the customer to send us a new       20   authorized by the DEA?
   21   form with the reason that we won't have any     21            MR. BERG: Object to form.
   22   more oxycodone for them until the future date   22        A. I don't know.
   23   and reenter the order with the new 222 form.    23   QUESTIONS BY MS. KEECH:
   24   We'll discuss it more if and when it comes      24        Q. Do you know who Pat Wall is?
   25   up."                                            25        A. Yes.
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    1       Q. Who is Pat Wall?                           1   of the product, so --
    2       A. Pat Wall is a customer service             2       Q. So let me clarify it. Would it
    3   agent. She worked as -- in respiratory            3   be a violation of DEA regulations to ship a
    4   customer service and then respiratory             4   Schedule II narcotic without a 222 form?
    5   customer service as a supervisor and then         5            MR. BERG: Object to form.
    6   went over to dosage customer service as kind      6       A. I believe so, yes.
    7   of an agent.                                      7   QUESTIONS BY MS. KEECH:
    8            (Mallinckrodt-Saffold                    8       Q. Thank you.
    9       Exhibit 28 was marked for                     9       A. Oh, and keep in mind also,
   10       identification.)                             10   CSOS, right, so all Schedule II orders do not
   11   QUESTIONS BY MS. KEECH:                          11   require a 222 form; only those that are
   12       Q. Okay. I'm handing you a                   12   manual, right. If a distributor or
   13   document labeled Exhibit 28, bearing Bates       13   wholesaler orders electronically using the
   14   number MNK-T1_0004595958.                        14   Controlled Substance Ordering System, that
   15            (Document review by witness.)           15   kind of 222 compliance activity is handled
   16   QUESTIONS BY MS. KEECH:                          16   electronically. Then an order would not have
   17       Q. Do you recognize this document?           17   that.
   18       A. Yes.                                      18       Q. Thanks for clarifying.
   19       Q. What is it?                               19       A. Sorry.
   20       A. It is an FAQ for the purpose of           20       Q. That's okay.
   21   loading it into a knowledge management system    21            THE WITNESS: Is this a good
   22   I was trying to launch.                          22       time to break, maybe, and see if the
   23       Q. So did you have a role in                 23       coffee is here?
   24   generating this document?                        24            MS. KEECH: Yes, we can do
   25       A. No.                                       25       that. That's a good idea.
                                              Page 167                                             Page 169
    1         Q.   Okay. But you're familiar with         1            THE VIDEOGRAPHER: Off the
    2   it?                                               2       record at 1:52.
    3        A. Yes.                                      3            (Recess taken, 1:52?p.m. to
    4        Q. Okay. And can you read the                4       2:00?p.m.)
    5   fifth sentence on the first page, beginning       5            THE VIDEOGRAPHER: All right,
    6   with "Can 222 forms be post or future dated"?     6       stand by. The time is 2:00 o'clock
    7        A. "Can 222 forms be post or                 7       p.m. Back on the record, beginning of
    8   future dated? No, 222 forms are dated on the      8       File 3.
    9   actual date they are completed."                  9            (Mallinckrodt-Saffold
   10        Q. And what about the                       10       Exhibit 29 was marked for
   11   second-to-last question on page 1, beginning     11       identification.)
   12   "What if I make a mistake while completing       12   QUESTIONS BY MS. KEECH:
   13   the 222 form?"                                   13       Q. Okay. I'm handing you what's
   14        A. "What if I make a mistake while          14   been marked as Exhibit 29, bearing Bates
   15   completing the 222 form? Can I correct it?       15   number MNK-T1_0000368976.
   16   No, there can be no corrections or markovers     16            Do you recognize this document?
   17   on a 222 form. You will need to complete and     17       A. No.
   18   send in another 222 form that is completed       18       Q. Any reason to doubt its
   19   correctly."                                      19   authenticity?
   20        Q. So fair to say it's important            20       A. No.
   21   that the 222 forms are filled out correctly?     21       Q. And this is a 2010 e-mail chain
   22        A. Yes.                                     22   started by Cheryl Nelson regarding the state
   23        Q. And is it okay to ship a                 23   of Florida and oxycodone prices.
   24   product without a 222 form?                      24            Can you read aloud at the
   25        A. If -- depending on the schedule          25   bottom of the first page?
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    1        A. "We have received numerous               1   situation.
    2   calls this week from persons living in           2       Q. Okay. When you said "We are
    3   Florida who are trying to have their oxy         3   sticking with our messaging," do you recall
    4   30-milligram prescriptions filled. They are      4   who determined the content of this message?
    5   complaining that the pharmacies are              5       A. I really don't remember this,
    6   price-gouging by charging 5 and 6 dollars per    6   this instance.
    7   pill versus 1.50 the last time they had their    7       Q. Okay. Ginger writes at the top
    8   prescriptions filled, if the pharmacy has the    8   of the e-mail, "I am assuming these are cash
    9   product at all. When a person will give me       9   customers."
   10   their name and phone number, I take it, but     10            What's the significance, if
   11   some just won't give that information."         11   anything, of customers paying in cash?
   12        Q. And you were CC'd on that               12            MR. BERG: Object to form.
   13   e-mail?                                         13       A. I don't know.
   14        A. Yes.                                    14   QUESTIONS BY MS. KEECH:
   15        Q. Okay.                                   15       Q. Have you ever heard anyone
   16        A. Yes.                                    16   indicate that paying in cash for opioids is a
   17        Q. Okay. So fair to say that you           17   possible indicator of diversion?
   18   were notified about customer service            18       A. No.
   19   complaints indicating that pharmacies in        19       Q. Do you know whether
   20   Florida were increasing their oxy prices and    20   Mallinckrodt determines whether the customers
   21   price-gouging by 5 to 6 dollars a pill?         21   were independent or retail pharmacies?
   22        A. Yes.                                    22            MR. BERG: Object to form.
   23        Q. Okay. And you responded to              23       A. I'm sorry, what was the
   24   this e-mail to Mike Gunning and Ginger          24   question?
   25   Collier. And who is Mike Gunning?               25   QUESTIONS BY MS. KEECH:
                                             Page 171                                             Page 173
    1       A. I don't know his title. He's              1       Q. Do you know whether
    2   kind of like the head guy in the controlled      2   Mallinckrodt determined whether the customers
    3   substance -- or in the dosage group.             3   were independent or retail pharmacies?
    4       Q. Okay. And can you please read             4           MR. BERG: Object to form.
    5   what you wrote to Mike and Ginger?               5       A. I don't know.
    6       A. "Just a note to let you know              6   QUESTIONS BY MS. KEECH:
    7   that not only is the frequency of calls          7       Q. Okay.
    8   regarding oxy availability in Florida picking    8           (Mallinckrodt-Saffold
    9   up but also the nature of the complaints are     9       Exhibit 30 was marked for
   10   changing from simple availability to            10       identification.)
   11   price-gouging and availability. We are          11   QUESTIONS BY MS. KEECH:
   12   sticking with our message that we have not      12       Q. I'm handing you what's been
   13   interrupted our supply to wholesalers and       13   marked as Exhibit 30, bearing Bates number
   14   that these issues are the result of scrutiny    14   MNK-T1_0000299364.
   15   by the DEA in the state of Florida."            15       A. Thank you.
   16       Q. And how did you become aware of          16           (Document review by witness.)
   17   the frequency of the call increases?            17   QUESTIONS BY MS. KEECH:
   18       A. I really don't remember.                 18       Q. Do you recognize this document?
   19       Q. Do you know when you would have          19       A. No.
   20   become aware of that?                           20       Q. Any reason to doubt its
   21       A. I really don't remember.                 21   authenticity?
   22       Q. Okay. Was it at all concerning           22       A. No.
   23   to you when you learned of this situation in    23       Q. Okay. This appears to be a
   24   Florida?                                        24   document sent from Cheryl Nelson to you and
   25       A. I don't really remember the              25   Jim Rausch with a CC to Brenda Rehkop in

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    1   September of 2011.                               1       A. No.
    2       A. Yes.                                      2       Q. Any reason to doubt its
    3       Q. And Jim e-mailed you, if you              3   authenticity?
    4   turn to page 2, checking to see if orders        4       A. No.
    5   should still be cancelled. Is that correct?      5       Q. Okay. So in this document, you
    6       A. Yes.                                      6   sent an e-mail to Michael Santowski regarding
    7       Q. Cheryl then says -- whoops --             7   these orders that were accidentally shipped.
    8   "I have cancelled this line and did not          8   The first page, third paragraph, can you read
    9   reenter it as it is my understanding that we     9   the sentence beginning with the word
   10   are not shipping 15- or 30-milligram oxy to     10   "Apparently"?
   11   Florida."                                       11       A. "Apparently the product was
   12            Do you know why there was a            12   pulled back from the orders and set to the
   13   decision or concern not to ship oxy 15 or 30s   13   side. It appears, however, the next shift
   14   to Florida?                                     14   came in and assumed they were left off these
   15       A. I don't remember.                        15   orders unintentionally and then shipped them
   16       Q. Are you aware of whether oxy             16   out."
   17   15s and 30s were pills that were commonly       17       Q. And then you provided a
   18   abused?                                         18   timeline for each of the orders?
   19       A. Yes. I am aware, and I believe           19       A. Yes.
   20   they were.                                      20       Q. And this shows that 84 bottles
   21       Q. Are you aware of what                    21   went to ABC in Orlando, Florida?
   22   precipitated the discussion or decision not     22       A. Yes.
   23   to ship oxy 15s and 30s to Florida?             23       Q. It also shows that 48 bottles
   24       A. No.                                      24   of 30-milligram oxy went to Prescription
   25       Q. And do you know what decision            25   Supply in Northwood, Ohio?
                                             Page 175                                            Page 177
    1   Mallinckrodt ultimately made with regard to      1       A. Yes.
    2   shipping oxy 15s and 30s to Florida?             2       Q. And it also shows that an
    3       A. I really don't remember this,             3   undisclosed amount was shipped to ABC in
    4   so no.                                           4   Sacramento, California?
    5       Q. Okay. So you don't remember               5       A. Yes.
    6   writing, "While it's my expectation that we      6       Q. So accidentally shipping orders
    7   may not be shipping the 15s and 30s to           7   is not an ideal scenario from a customer
    8   Florida, I'm not sure how well that decision     8   service aspect, correct?
    9   has been finalized and communicated"?            9       A. Correct.
   10           MR. BERG: Object to form.               10       Q. It's actually pretty bad,
   11       A. Yeah. I don't remember this.             11   right?
   12           (Mallinckrodt-Saffold                   12            MR. BERG: Object to form.
   13       Exhibit 31 was marked for                   13       A. Yeah. Yes.
   14       identification.)                            14   QUESTIONS BY MS. KEECH:
   15   QUESTIONS BY MS. KEECH:                         15       Q. And you e-mailed Michael
   16       Q. I'm handing you Exhibit 31,              16   Santowski alerting him to this situation,
   17   bearing Bates number MNK-T1_0003064400.         17   correct?
   18           (Document review by witness.)           18       A. Yes.
   19   QUESTIONS BY MS. KEECH:                         19       Q. And who is Michael Santowski?
   20       Q. So I've handed you an internal           20       A. He's my direct supervisor.
   21   e-mail chain regarding a series of orders for   21       Q. Okay. How frequently do you
   22   oxycodone which were accidentally shipped.      22   recall communicating with him?
   23           Do you recall this incident?            23       A. Pretty frequently. He was my
   24       A. No.                                      24   direct supervisor.
   25       Q. Do you recognize this document?          25       Q. Okay. Would you agree that
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    1   shipping orders that were not supposed to be     1   conversation with those individuals regarding
    2   shipped is an example of diversion?              2   customer registrant DEA license suspensions?
    3            MR. BERG: Object to form.               3       A. I don't recall, like, specific
    4       A. I don't know if it is.                    4   conversations about this.
    5   QUESTIONS BY MS. KEECH:                          5       Q. Do you recall talking with
    6       Q. Is it an example of lack of               6   anyone about Mallinckrodt [sic] about the
    7   internal controls?                               7   license suspensions of either Harvard or
    8            MR. BERG: Object to form.               8   Sunrise?
    9       A. No, it's not.                             9       A. I don't recall talking with
   10   QUESTIONS BY MS. KEECH:                         10   anybody about it. I recall that Harvard was
   11       Q. Is this example an example of            11   suspended.
   12   lack of communication?                          12       Q. Okay. Maybe I'll expand that
   13       A. No.                                      13   question. Do you recall any communications
   14       Q. Do you know whether this event           14   regarding the DEA license suspensions of
   15   was reported to the DEA?                        15   Harvard?
   16       A. I do not know.                           16       A. Not specifically, no.
   17       Q. Do you know what, if anything,           17       Q. Even if you don't recall the
   18   happened after you sent this e-mail?            18   content of the communications, do you recall
   19       A. I don't remember.                        19   whether there were any communications or any
   20       Q. Okay.                                    20   reference at all to either the Harvard or
   21            (Mallinckrodt-Saffold                  21   Sunrise?
   22       Exhibit 32 was marked for                   22       A. Yes.
   23       identification.)                            23       Q. Okay. And what do you recall?
   24   QUESTIONS BY MS. KEECH:                         24       A. I recall that we were notified
   25       Q. I'm handing you what's been              25   that Harvard was suspended.
                                            Page 179                                              Page 181
    1   marked as Exhibit 32, bearing Bates stamp        1       Q. Do you recall who notified you?
    2   MNK-T1_0000279164.                               2       A. No. I -- no. I think it was
    3            (Document review by witness.)           3   Karen, but I'm not 100% sure.
    4   QUESTIONS BY MS. KEECH:                          4       Q. Do you recall how you learned
    5       Q. Okay? Do you recall receiving             5   about it?
    6   this e-mail?                                     6       A. No.
    7       A. No.                                       7       Q. Do you remember the content of
    8       Q. Any reason to doubt its                   8   discussions after learning about DEA license
    9   authenticity?                                    9   suspensions of Mallinckrodt customers?
   10       A. Well, I didn't ever receive              10       A. No.
   11   this e-mail.                                    11       Q. Do you recall the action plan
   12       Q. Correct. You were referenced             12   that Mallinckrodt took after learning of DEA
   13   in this e-mail. Do you recall, thank you --     13   license suspensions?
   14   this indicates this e-mail's sent from Karen    14            MR. BERG: Object to form.
   15   Harper to JoAnne Levy dated June 17th, 2010,    15       A. I recall that we took some
   16   subject line: Conference Call with Customer     16   actions and I recall some of the actions, but
   17   Service and Compliance - Harvard and Sunshine   17   I don't think I could tell you the whole
   18   DEA Registration Suspensions.                   18   action plan.
   19            And Karen writes: JoAnne,              19   QUESTIONS BY MS. KEECH:
   20   yesterday I set up a call for this morning      20       Q. Okay. And in this e-mail,
   21   with me, George Saffold, Jim Rausch and         21   Karen also writes, "I'm pretty confident we
   22   Eileen to discuss customer registrant DEA       22   can pull in the reins and keep the situation
   23   license suspensions and Mallinckrodt            23   under control," and this was dated June
   24   Suspicious Order Monitoring.                    24   of 2010.
   25            Do you recall ever having a            25       A. Yes.
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    1       Q. Are you aware of whether any of           1   also indicates that Masters received the
    2   Mallinckrodt's customers had any enforcement     2   fentanyl patch and morphine sulfate, which is
    3   action after June of 2010?                       3   a Schedule II controlled substance, correct?
    4           MR. BERG: Object to form.                4        A. So methylphenidate is a
    5       A. I don't recall.                           5   nonnarcotic C-II. Is that your question?
    6   QUESTIONS BY MS. KEECH:                          6        Q. Okay. But the fentanyl
    7       Q. Okay.                                     7   patch --
    8           (Sotto voce discussion.)                 8        A. Is a C-II, I believe.
    9           (Mallinckrodt-Saffold                    9        Q. Okay. Thank you.
   10       Exhibit 33 was marked for                   10            Does reviewing this e-mail
   11       identification.)                            11   thread refresh your recollection of what
   12   QUESTIONS BY MS. KEECH:                         12   happened?
   13       Q. Okay. I'm handing you what's             13        A. Yes.
   14   been marked as Exhibit 33 --                    14        Q. And can you describe what
   15       A. Thank you.                               15   happened?
   16       Q. -- bearing Bates                         16        A. So I can't speak to, you know,
   17   MNK-T1_0000495396.                              17   every aspect of it. But in general terms, we
   18           (Document review by witness.)           18   had some product ordered and we had, you
   19   QUESTIONS BY MS. KEECH:                         19   know, product restricted, and some of the
   20       Q. Okay. Are you familiar with              20   product that should have been restricted, it
   21   this document?                                  21   was ordered. We detected that, and we were
   22       A. No.                                      22   able to get the product back and off the
   23       Q. Any reason to doubt its                  23   market, and then, you know, made sure that we
   24   authenticity?                                   24   were communicating that, hey, this happened,
   25       A. No.                                      25   let's make sure we don't do this again.
                                             Page 183                                             Page 185
    1        Q. Okay. And this is an e-mail              1        Q. Okay. And at the top of this
    2   thread. The top of the e-mail thread, the        2   e-mail thread, you write an e-mail to Karen
    3   e-mail is from you to Brenda Rehkop, Jim         3   Harper where you say: This reveals a clear
    4   Rausch and Karen Harper dated July 13th,         4   gap in our process. I think we should review
    5   2011, regarding Masters recent shipments -       5   it cradle to grave to see where we can
    6   G. Saffold recommendation for systems review.    6   improve it first to make sure that the time
    7        A. Yes.                                     7   from customer notification to restricting
    8        Q. And towards the bottom of the            8   shipments is more immediate, and second, to
    9   e-mail thread on page 2, Karen Harper sends      9   ensure e --
   10   an e-mail to Jane Williams indicating that      10        A. We, probably, right.
   11   George Saffold advised this morning that        11        Q. -- cannot ship out any product
   12   Masters has gotten two shipments since          12   once we have placed these restrictions on the
   13   Mallinckrodt imposed shipping restrictions on   13   customer.
   14   this account within the scope of Suspicious     14        A. Yes.
   15   Order Monitoring.                               15        Q. So you acknowledge that there
   16             Do you recall this occurring?         16   was a gap in the process at that time.
   17        A. A little. Like kind of                  17        A. Yes.
   18   vaguely, yes.                                   18        Q. Okay. And what, if anything,
   19        Q. Right. Reading this                     19   do you recall that was done after you sent
   20   document --                                     20   this e-mail?
   21        A. Yes.                                    21        A. I don't recall specifically
   22        Q. -- refreshes your recollection          22   what was done. I do remember there was --
   23   a little bit?                                   23   you know, that cradle to grave did occur. I
   24        A. Yes.                                    24   don't think I was in that actual meeting
   25        Q. Okay. And this e-mail thread            25   where they kind of mapped it out and felt
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    1   like they closed the gaps.                       1       Q. Do you recall ever having that
    2       Q. Okay. And in this document                2   conversation with Karen?
    3   also appears that in July of 2011,               3       A. No, I don't recall it.
    4   Mallinckrodt was placing restrictions on five    4       Q. And in 2011, you were in a
    5   accounts, in the bottom of this first page on    5   customer service capacity. Is that correct?
    6   to the second page.                              6       A. Yes.
    7       A. Yes.                                      7       Q. Was anyone, to your knowledge,
    8       Q. And what were those five                  8   in customer service receiving any kind of
    9   accounts?                                        9   compensation that was tied to sales numbers?
   10       A. I'm reading them from here:              10       A. I don't recall.
   11   KeySource, Masters, Harvard, Cedardale, and     11       Q. Is it possible?
   12   Sunrise.                                        12       A. You know, I don't recall.
   13       Q. Okay. And were you aware of              13       Q. Okay. What about your personal
   14   whether any of those entities had any DEA       14   compensation scheme?
   15   enforcement action against them?                15       A. I don't recall what my scheme
   16       A. No, I was not aware.                     16   was that year.
   17            Let me rephrase that. I don't          17       Q. Okay. But fair to say in 2011,
   18   recall being aware of any, right. I just...     18   you were working with Karen Harper in some
   19            (Sotto voce discussion.)               19   capacity to assist with compliance?
   20            (Mallinckrodt-Saffold                  20       A. Yes.
   21       Exhibit 34 was marked for                   21       Q. Okay. And do you see any
   22       identification.)                            22   conflict with assisting Karen with compliance
   23   QUESTIONS BY MS. KEECH:                         23   and determining -- strike that.
   24       Q. I'm handing you what's been              24            Do you see any conflict with
   25   marked as Exhibit 34, bearing                   25   assisting with compliance while working in a
                                            Page 187                                              Page 189
    1   MNK-T1_0004604436.                               1   customer service capacity?
    2       A. Okay.                                     2       A. No. It's kind of the opposite.
    3       Q. Do you recognize this document?           3   Part of service is servicing the customer in
    4       A. No.                                       4   a compliant manner.
    5       Q. Okay. Any reason to doubt its             5       Q. Do you know whether the issue
    6   authenticity?                                    6   was ever raised internally at Mallinckrodt
    7       A. No.                                       7   about whether there was a conflict in
    8       Q. Okay. So this is an e-mail                8   customer service being involved in Suspicious
    9   from Karen Harper dated July 13th, 2011, to      9   Order Monitoring?
   10   Steven Becker with a CC to a number of          10       A. I wouldn't know.
   11   people, including you.                          11       Q. Do you know whether the DEA
   12            And Karen sends a list of              12   ever raised this as an issue?
   13   Mallinckrodt's SKUs noting products Masters     13       A. I wouldn't know.
   14   will not be receiving in the future given       14       Q. Okay.
   15   current SOM program restrictions. Karen then    15            (Sotto voce discussion.)
   16   writes -- this is on the first page,            16            (Mallinckrodt-Saffold
   17   paragraph 3 -- can you read what she says       17       Exhibit 35 was marked for
   18   beginning with the paragraph with your name?    18       identification.)
   19       A. "George Saffold and I are                19   QUESTIONS BY MS. KEECH:
   20   meeting Friday to identify improvements in      20       Q. I'm handing you what's been
   21   our internal communications system from the     21   marked as Exhibit 35, bearing Bates number
   22   time customer notification occurs to placing    22   MNK-T1_0004155087.
   23   restrictions on the customer account and then   23            (Document review by witness.)
   24   to ensure that systems support the customer     24   QUESTIONS BY MS. KEECH:
   25   account restrictions."                          25       Q. All right. After reviewing

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    1   that e-mail, does this refresh your              1   as described is probably, you know, the only
    2   recollection of anything?                        2   instance.
    3        A. No.                                      3       Q. Okay.
    4        Q. No? Okay. Don't recognize                4           (Mallinckrodt-Saffold
    5   this e-mail?                                     5       Exhibit 36 was marked for
    6        A. No, I don't.                             6       identification.)
    7        Q. Do you have any reason to doubt          7   QUESTIONS BY MS. KEECH:
    8   its authenticity?                                8       Q. I'm handing you what's been
    9        A. No, I don't.                             9   marked as Exhibit 36.
   10        Q. So this e-mail thread discusses         10       A. Thank you.
   11   a discrepancy in ordering. At the top of the    11       Q. Bearing the Bates
   12   e-mail you sent an e-mail dated January 23rd,   12   MNK-T1_0007823812. And this is an e-mail
   13   2012, to Jim Rausch regarding a forward of an   13   from Karen Harper to JoAnne Levy with a CC to
   14   ABC order entry issue, customer requests        14   you dated September 15th, 2009. Subject
   15   corrective actions.                             15   line: Shipment of oxycodone to DSM prior to
   16            So this e-mail concerns a large        16   222 form receipt.
   17   error in product shipment to                    17           (Document review by witness.)
   18   AmerisourceBergen. AmerisourceBergen's          18       A. Yes, I see it.
   19   purchase order was for 42 and the quantity      19   QUESTIONS BY MS. KEECH:
   20   ordered was 732, and I'm referring to page 3    20       Q. Okay. Have you ever seen this
   21   of this document about halfway down in the      21   document before, that you recall?
   22   e-mail from Jeff Angeloni to Brenda Lindsey     22       A. Not that I recall.
   23   and others.                                     23       Q. Any reason to doubt its
   24        A. I'm sorry, I'm not finding...           24   authenticity?
   25   oh, thanks. Okay. Thank you.                    25       A. No.
                                             Page 191                                             Page 193
    1       Q. Okay. And at the top of the               1       Q. Okay. And you've had an
    2   e-mail thread you write to Jim, "Can you         2   opportunity to review this e-mail. It's an
    3   respond to all on copy outlining the             3   e-mail regarding shipment of oxycodone
    4   corrective actions in place."                    4   without first having a 222 form receipt. Is
    5       A. Yes.                                      5   that correct?
    6       Q. Do you know what, if any,                 6       A. Yes.
    7   corrective actions happened?                     7       Q. And Karen writes at the top of
    8       A. I really don't recall this                8   the e-mail, paragraph two -- can you read
    9   situation.                                       9   that sentence?
   10       Q. Okay. If you don't recall this           10       A. "The upside is that DEA Quota
   11   particular instance, do you recall whether      11   Section indicated DSM now has quota to keep
   12   there was a procedure in general for when       12   the material. However, this does not absolve
   13   more of a product shipped than what was         13   us of the fact that we shipped without a DEA
   14   ordered?                                        14   222 form."
   15       A. A procedure? No, I don't                 15       Q. And is it permissible to ship
   16   think -- you know, I think that was highly      16   this type of product without a 222 form?
   17   anomalous, so I don't know if we'd have like    17       A. No.
   18   a procedure.                                    18       Q. Do you know when this incident
   19       Q. So fair to say that this didn't          19   was reported to the DEA?
   20   happen very frequently?                         20       A. I don't have knowledge of it,
   21       A. Yes.                                     21   but just even reading this e-mail, it really
   22       Q. Okay. And how would you define           22   appears it was.
   23   not very frequently?                            23       Q. And fair to say that was an
   24       A. As in -- as in probably this             24   error on Mallinckrodt's part to ship without
   25   being -- as in thinking that this situation     25   a 222 form in this instance?

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    1       A. I don't know the specific                 1          MS. KEECH: Okay. I think
    2   circumstances, but I think so, yes.              2     that's all I have for now. I'm going
    3       Q. Okay. You testified earlier               3     to turn it over to Tennessee, but I
    4   that Jim Rausch reviewed peculiar order          4     may have some questions later on this
    5   reports. Is that correct?                        5     afternoon.
    6       A. Yes.                                      6          THE WITNESS: Okay.
    7       Q. Okay. Are you aware of whether            7          MS. KEECH: Do you want to take
    8   customer service managers reviewed every         8     a break before we transition?
    9   peculiar or unusual order that was identified    9          MR. GASTEL: Yeah, can we just
   10   by Mallinckrodt?                                10     take five minutes?
   11       A. Yes. My understanding is that            11          MS. KEECH: Sure, okay. Thank
   12   was -- for a period of time, that was           12     you.
   13   required.                                       13          THE VIDEOGRAPHER: Off the
   14       Q. Okay. And was that required by           14     record, 2:46.
   15   managers or also customer service               15          (Recess taken, 2:46?p.m. to
   16   representatives?                                16     2:53?p.m.)
   17           MR. BERG: Object to form.               17          THE VIDEOGRAPHER: All right,
   18       A. I think it was required by               18     stand by. The time is 2:53. Back on
   19   compliance for customer service to review       19     the record.
   20   these orders.                                   20               EXAMINATION
   21   QUESTIONS BY MS. KEECH:                         21   QUESTIONS BY MR. GASTEL:
   22       Q. And who within customer service          22     Q. Good afternoon, Mr. Saffold.
   23   had the responsibility to review them?          23          MR. GASTEL: Before I get
   24       A. So Jim had the responsibility            24     started, I lodge a standard objection.
   25   to review them.                                 25     Mr. O'Connor has been letting me just
                                             Page 195                                            Page 197
    1        Q. Okay.                                    1       say the standard objection. Is that
    2        A. He -- which would not preclude           2       okay if I lodge my standard objection?
    3   him from asking agents, hey, you know, look      3            MR. BERG: It is okay.
    4   at this -- again, who are more familiar with     4   QUESTIONS BY MR. GASTEL:
    5   the customers in some instances. You know,       5       Q. Subject to that objection, I
    6   tell me -- talk to me about this order, what     6   represent plaintiffs who are in a Tennessee
    7   are your thoughts, who do I contact, you         7   lawsuit involving slightly different claims
    8   know, with questions and those things.           8   than the lawsuit that Ms. Keech was asking
    9        Q. So it was the managers'                  9   you questions about earlier. Before I get
   10   ultimate responsibility, but it wasn't          10   started about sort of Tennessee-specific
   11   uncommon for them to defer to representatives   11   stuff, I want to ask just a couple of
   12   if they had questions?                          12   preliminary questions.
   13        A. Certainly it was the managers'          13            What is your full residential
   14   ultimate responsibility. I'm not sure if        14   address, Mr. Saffold?
   15   they deferred or they just asked questions.     15       A. 7013 Reatta Court, and that's
   16        Q. Okay.                                   16   R-E-A-T-T-A, Court, North Richland Hills,
   17             (Sotto voce discussion.)              17   Texas 76182.
   18   QUESTIONS BY MS. KEECH:                         18       Q. And how long have you lived
   19        Q. In the reports that Jim Rausch          19   there?
   20   reviewed --                                     20       A. Since May of '17.
   21        A. Yes.                                    21       Q. And who lives there with you?
   22        Q. -- internally for peculiar              22       A. My wife, Sarah, and my two
   23   orders, do you know whether those were          23   sons, Spencer and Max.
   24   submitted to the DEA?                           24       Q. And do you have any plans to
   25        A. I don't know.                           25   move in the foreseeable future?
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    1       A. No.                                      1      Q.     Got it.
    2       Q. Prior to that, were you living           2            And you're not currently
    3   in or near St. Louis, Missouri?                 3   employed by Mallinckrodt, correct?
    4       A. Yes.                                     4       A. Correct.
    5       Q. And that's where you were                5       Q. You're currently employed
    6   living when you were working with Covidien      6   where?
    7   and Mallinckrodt?                               7       A. At VF Corporation, Dickies, in
    8       A. Yes.                                     8   Fort Worth, Texas.
    9       Q. Earlier today you had mentioned          9       Q. So you had to take time off of
   10   that in preparation for today's deposition,    10   work yesterday and today for this deposition,
   11   you had met two times with counsel.            11   correct?
   12            Do you recall that testimony?         12       A. Yes.
   13       A. Yes.                                    13       Q. Is Mallinckrodt paying for your
   14       Q. How long were those meetings?           14   time today?
   15       A. A few hours.                            15       A. No.
   16       Q. When was the first meeting?             16       Q. Did you take vacation time from
   17       A. In December, I think. Yeah.             17   your current employer?
   18       Q. December of --                          18       A. Yes.
   19       A. Oh, wait. Was it -- you know            19       Q. Do you know anything specific
   20   what, actually, it was either in December or   20   about the Tennessee litigation?
   21   January. I can't remember which. I'm sorry.    21       A. No.
   22       Q. That's all right.                       22       Q. Have you ever reviewed the
   23            And was that an in-person             23   complaints -- any of the complaints filed in
   24   interview or was that a conference call?       24   the Tennessee litigation?
   25       A. It was in person.                       25       A. No.
                                            Page 199                                             Page 201
    1       Q. Was it here in Texas?                    1       Q. In your work for Mallinckrodt
    2       A. Yes.                                     2   or Covidien, did you ever travel to the state
    3       Q. And what counsel was present?            3   of Tennessee for your work?
    4       A. Counsel from Ropes & Gray.               4       A. I don't recall. Oh, I do
    5       Q. Is it the same counsel here              5   recall one instance. I went to Memphis to
    6   today?                                          6   meet with a 3PL, which is a third-party
    7       A. No. There's some same and some           7   logistics provider, who handled some medicine
    8   different.                                      8   for us, a brand that we had just purchased,
    9       Q. And then when was the second             9   and just to meet with them in Memphis or kind
   10   meeting?                                       10   of outside Memphis. So -- I think that's the
   11       A. Yesterday.                              11   only specific time I remember. There could
   12       Q. And approximately how long was          12   have been others.
   13   that meeting?                                  13       Q. Was that third-party vendor
   14       A. A few hours.                            14   FedEx?
   15       Q. When you say "a few hours," do          15       A. No. It was a division of
   16   you mean one to two hours, three to four       16   Cardinal, but very far down because it was
   17   hours?                                         17   like in the 3PL and they're newly acquired by
   18       A. Four-ish. Four.                         18   Cardinal and the drug was intrathecal
   19       Q. And I assume that that meeting          19   therapeutic medicine.
   20   was here in Texas?                             20       Q. What do you mean by 3PL?
   21       A. Yes.                                    21       A. A third-party logistics
   22       Q. And that was a meeting with             22   provider, so that means they -- like they
   23   counsel who are present today?                 23   pick, pack and ship on your behalf and they
   24       A. Again, no. Some counsel.                24   keep the stuff in the warehouse for you so
   25   Cassandra was there, present. Nick wasn't.     25   you don't have to own your own warehouse.

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                                             Page 202                                            Page 204
    1       Q. Okay. Do you have any                     1   that you had heard of the term "Oxy Express."
    2   understanding of opioid prescription rates in    2             Do you recall that?
    3   the state of Tennessee?                          3        A. I do.
    4       A. No.                                       4        Q. Do you know if that is a
    5       Q. Do you recall ever reviewing              5   reference to Interstate 75, which is an
    6   any news articles about the opioid epidemic      6   interstate that runs through the state of
    7   in Tennessee?                                    7   Florida up north?
    8       A. No.                                       8        A. That's my understanding, that
    9       Q. Do you have an understanding              9   it's an interstate that runs from Florida to
   10   that the opioid epidemic is more acute in       10   kind of the northeast corridor. I'm not sure
   11   some parts of the country than other parts of   11   if I would know the interstate number.
   12   the country?                                    12        Q. Sure.
   13       A. Yes.                                     13             Do you have an understanding
   14       Q. What parts of the country is it          14   that that interstate runs through eastern
   15   your understanding where the opioid epidemic    15   Tennessee?
   16   is particularly acute?                          16        A. No, I don't know that.
   17       A. I have a limited understanding.          17        Q. So I think, if I'm
   18   I hear a lot about West Virginia, and then in   18   understanding your testimony correctly, you
   19   general, maybe not a part of the country, but   19   understand that the Oxy Express started in
   20   the description of rural areas, it seems more   20   Florida?
   21   acute.                                          21        A. Yes.
   22       Q. When you reference West                  22        Q. And it ran up a corridor along
   23   Virginia, do you recall any references to the   23   an interstate through the northwest?
   24   opioid epidemic being particularly acute in     24        A. Through the northeast.
   25   Appalachian areas?                              25        Q. Northeast.
                                             Page 203                                            Page 205
    1       A. Yes.                                      1       A. Yes.
    2       Q. Are you aware that eastern                2       Q. But you don't know the specific
    3   Tennessee is kind of the southern portion of     3   states that it touched or the areas that it
    4   the Appalachia region?                           4   went through?
    5       A. Not really. I probably should             5       A. No.
    6   be.                                              6       Q. In your role as director of
    7       Q. It's all right. If people ask             7   global customer service, did you interact
    8   me about geography in Texas, I'd have to         8   with law enforcement officials?
    9   plead ignorance too, so it's okay.               9       A. No.
   10            Have you ever reviewed any             10       Q. Do you ever recall talking to a
   11   materials published by the Tennessee            11   police officer from Morristown, Tennessee?
   12   Department of Health?                           12       A. No, I don't.
   13       A. Not that I can recall.                   13       Q. Do you ever recall any
   14       Q. In your time with Mallinckrodt,          14   discussions at Mallinckrodt regarding an
   15   did you ever have occasion to review            15   inquiry made from a police officer in
   16   IMS Health data regarding opioid prescription   16   Morristown, Tennessee?
   17   rates?                                          17       A. No, I don't.
   18       A. No. I can't recall ever                  18            (Discussion off the
   19   looking at any data, no.                        19       stenographic record.)
   20       Q. Do you recall during your time           20            (Mallinckrodt-Saffold
   21   with Mallinckrodt ever discussing any           21       Exhibit 37 was marked for
   22   specific pill mill operations in the state of   22       identification.)
   23   Tennessee?                                      23   QUESTIONS BY MR. GASTEL:
   24       A. No.                                      24       Q. I'm going to hand you a
   25       Q. You testified earlier today              25   document that we'll mark as Exhibit 37.
   Golkow Litigation Services                                               Page 52 (202 - 205)
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                                             Page 206                                             Page 208
    1       A. Thank you.                                1   because I had an admin and I know there were
    2       Q. Do you see that this is an                2   times where Michael didn't have an admin, so
    3   e-mail dated April 21st, 2011, from Mike         3   he, you know, asked me to have my admin do
    4   Santowski to you?                                4   stuff because she -- you know, I reported to
    5       A. Yes.                                      5   him so he kind of shared her with me.
    6       Q. Do you recall receiving this              6        Q. And is Doris your admin?
    7   e-mail?                                          7        A. She was, yes.
    8            MR. MILLER: Is there a Bates            8        Q. She was at that time.
    9       number on this document?                     9             Let's flip to the PowerPoint
   10            MR. GASTEL: Sure. It's                 10   presentation that's attached to this e-mail.
   11       MNK-T1_0007114309.                          11        A. Sure.
   12   QUESTIONS BY MR. GASTEL:                        12        Q. Do you see how on the first
   13       Q. And he's forwarding you an               13   page, the cover page, it is entitled
   14   e-mail that he had sent, Mr. Santowski had      14   Mallinckrodt Controlled Substance Suspicious
   15   sent, to Blanche Eder?                          15   Order Monitoring Program?
   16            Do you see that?                       16        A. I do.
   17       A. Yes.                                     17        Q. And it has a note here that
   18       Q. Who is Blanche Eder?                     18   it's for the presentation for executive
   19       A. I believe Blanche was an                 19   committee of April 25th, 2011, right?
   20   administrative assistant, but I'm not sure to   20        A. Yes.
   21   whom.                                           21        Q. Would the executive committee
   22       Q. And it says: Blanche, for                22   be the higher-up executives at Covidien
   23   Monday's EC meeting. I will have George make    23   Mallinckrodt?
   24   copies for Monday.                              24        A. Yes.
   25            Did I read that correctly?             25        Q. Would that be C-level --
                                             Page 207                                             Page 209
    1       A. Yes.                                      1   C suite level people?
    2       Q. Is "EC meeting" a reference to            2       A. I don't know the -- and I don't
    3   an executive committee meeting?                  3   recall the specific members of the executive
    4       A. Yes.                                      4   committee.
    5       Q. And who would typically attend            5       Q. But it would be people higher
    6   an executive committee meeting?                  6   than you in the organizational chart?
    7       A. I don't know.                             7       A. Yes.
    8       Q. Would you ever attend executive           8       Q. Would it be higher than
    9   committee meetings?                              9   people -- than Mr. Santowski?
   10       A. Only as an invited guest and             10       A. I really don't know if he was
   11   usually to maybe do a presentation and then     11   executive committee or not.
   12   usually leave.                                  12       Q. Sure.
   13       Q. Do you recall attending the one          13            Will you flip to page 4 of this
   14   that's referenced in this e-mail, April         14   PowerPoint presentation?
   15   of 2011? You can feel free to look through      15       A. Sure.
   16   the document.                                   16       Q. And do you see that it's
   17            (Document review by witness.)          17   entitled Florida Distribution of Oxycodone?
   18       A. No. I don't recall attending             18       A. Yes.
   19   this meeting.                                   19       Q. And it says: 98 of the top 100
   20   QUESTIONS BY MR. GASTEL:                        20   doctors dispensing oxycodone nationally are
   21       Q. Do you know why Mr. Santowski            21   in Florida. By far, more oxycodone is
   22   might have asked you to make copies of this     22   dispensed in the state of Florida than in the
   23   or have you have Doris make copies of this      23   remaining states combined.
   24   presentation?                                   24            Did I read that correctly?
   25       A. I don't know for sure, but               25       A. Yes.
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                                             Page 210                                             Page 212
    1       Q. And, again, there's a reference           1       Q. A reference to Cardinal paying
    2   here that the data comes from the Florida        2   a $34 million fine for actions -- in having
    3   governor's press office of March 28, 2011.       3   their license suspended at three distribution
    4            Did I read that correctly?              4   centers?
    5       A. Yes.                                      5            Do you see that?
    6       Q. And earlier today you went                6       A. Yes.
    7   through an e-mail with Ms. Keech showing that    7       Q. And there's also a reference to
    8   Mallinckrodt eventually suspended orders to      8   McKesson paying more than $13 million to
    9   five of its distributor customers.               9   settle claims that it failed to report
   10            Do you remember that e-mail?           10   suspicious sales of prescription medications.
   11       A. Yes.                                     11            Do you see that?
   12       Q. And those five were KeySource,           12       A. Yes.
   13   Masters, Harvard, Cedardale and Sunrise,        13       Q. And those, I think you
   14   right?                                          14   referenced earlier today, are the Big Three?
   15       A. Yes.                                     15       A. Yes.
   16       Q. And that was related to                  16       Q. And they remained the Big Three
   17   diversion activity going on in the state of     17   from 2008 to the time that you left your role
   18   Florida, correct?                               18   at Mallinckrodt, right?
   19       A. I don't know the --                      19            MR. BERG: Objection to form.
   20            MR. BERG: Object to form.              20       A. Yes.
   21            THE WITNESS: Sorry.                    21   QUESTIONS BY MR. GASTEL:
   22       A. I don't know the specifics               22       Q. In other words, they were the
   23   around these accounts and why they're           23   three largest customers of Mallinckrodt for
   24   suspended.                                      24   controlled substances, right?
   25                  --oOo--                          25       A. Yeah, they're the three largest
                                             Page 211                                             Page 213
    1   QUESTIONS BY MR. GASTEL:                         1   customers of Mallinckrodt Pharmaceuticals.
    2       Q. But it sounded like you had               2       Q. Will you flip to the next page?
    3   some role in implementing their -- the           3   There's a reference to Masters
    4   suspension of sales of controlled substances     4   Pharmaceutical.
    5   to those five organizations in 2011?             5           Do you see that?
    6            MR. BERG: Object to form.               6       A. I do.
    7       A. I don't think I really had a              7       Q. And it says Masters is a
    8   role in implementing the suspension of any       8   Mallinckrodt distributor customer?
    9   accounts.                                        9       A. Yes.
   10   QUESTIONS BY MR. GASTEL:                        10       Q. And it says: Masters sold more
   11       Q. Will you flip to page 6?                 11   than 4 million doses of hydrocodone,
   12       A. Yes.                                     12   phentermine and alprazolam to internet
   13       Q. You see that this slide is               13   pharmacies between 2005 to 2008 without
   14   entitled DEA Distributor Initiative, 2008?      14   reporting the sales to the DEA.
   15       A. Yes.                                     15           Did I read that correctly?
   16       Q. And it says: DEA suspends                16       A. Yes.
   17   licenses of distributors for not maintaining    17       Q. It says: Although Masters
   18   effective controls against diversion of         18   reported suspicious orders during the
   19   controlled substances.                          19   2005-2008 period in question, the DEA
   20            Did I read that correctly?             20   believed that some orders placed by 10
   21       A. Yes.                                     21   pharmacies should have been reported as
   22       Q. And there's a reference to an            22   suspicious.
   23   AmerisourceBergen facility in Orlando,          23           Did I read that correctly?
   24   Florida, correct?                               24       A. Yes.
   25       A. Yes.                                     25       Q. It says they were fined
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                                             Page 214                                             Page 216
    1   $500,000, right?                                 1       Q. Are you aware that Mallinckrodt
    2       A. Yes.                                      2   eventually entered into its own memorandum of
    3       Q. And this e-mail presentation              3   understanding with the DEA?
    4   was apparently given to Mallinckrodt's           4       A. No.
    5   executive team just a few months before the      5       Q. You weren't aware of
    6   suspension went into effect for KeySource,       6   Mallinckrodt entering into such an agreement
    7   Masters, Harvard, Cedardale and Sunrise,         7   with the DEA?
    8   right?                                           8       A. No, I'm not.
    9            MR. BERG: Object to form.               9       Q. Would it surprise you to learn
   10       A. I'd have to kind of                      10   that that were true?
   11   cross-reference the dates. I don't really       11       A. I mean, not, you know, I'm
   12   recall -- I don't recall this presentation or   12   going to be startled or alarmed, but yes.
   13   the circumstances around the suspension of      13       Q. And I know you testified
   14   the five distributors you just named.           14   earlier that you were on the Suspicious Order
   15   QUESTIONS BY MR. GASTEL:                        15   Monitoring steering committee, right?
   16       Q. Sure. But the date on this               16       A. Yes.
   17   presentation is April of 2011, right?           17       Q. And you would occasionally
   18       A. Yes.                                     18   attend meetings, right?
   19       Q. And the date of the e-mail that          19       A. Yes.
   20   you were looking at with Ms. Keech earlier      20       Q. I'm going to hand you a
   21   was July of 2011, right?                        21   document that we're going to mark as
   22       A. Yes.                                     22   Exhibit 38.
   23       Q. So if the dates of these                 23            (Mallinckrodt-Saffold
   24   documents are correct, then it appears that     24       Exhibit 38 was marked for
   25   this was given just a few months prior to       25       identification.)
                                             Page 215                                             Page 217
    1   Mallinckrodt suspending sales of controlled      1   QUESTIONS BY MR. GASTEL:
    2   substances to those five distributors, right?    2        Q. And this is an e-mail from
    3       A. Yes.                                      3   Jennifer Buist to John Gillies dated
    4       Q. So as early as 2011,                      4   December 12, 2012, 12/12/12. And attached to
    5   Mallinckrodt knew that its distributors were     5   it is some steering committee notes for that
    6   getting in trouble with the DEA for their        6   date.
    7   failure to maintain effective controls           7            MR. MILLER: Is there a Bates
    8   against diversion.                               8        number on the document?
    9            Would you agree with that               9            MR. GASTEL: Sure. It's
   10   statement?                                      10        MNK-T1_0006967774.
   11            MR. BERG: Object to form.              11   QUESTIONS BY MR. GASTEL:
   12       A. As early as 2011, Mallinckrodt           12        Q. Do you see that, sir?
   13   knew that -- yes.                               13        A. Yes.
   14   QUESTIONS BY MR. GASTEL:                        14        Q. Do you recall attending a
   15       Q. Do you know how many                     15   meeting of the steering committee on
   16   Mallinckrodt orders to these distributors       16   December 12, 2012?
   17   were reported to the DEA during this time       17        A. No, I don't.
   18   period as suspicious?                           18        Q. Do you ever recall the steering
   19       A. No.                                      19   committee -- if you flip to the last page of
   20       Q. Would you ask Karen Harper that          20   this document, sir, there is a chart under
   21   question if you needed to know the answer to    21   Jen Buist Statistics.
   22   it?                                             22            Do you see that?
   23       A. If I had needed to know the              23        A. Yes.
   24   answer to that question, I would have asked     24        Q. And then there's a chart and it
   25   Karen Harper, yes.                              25   says Order Lines Processed and Order Lines

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                                             Page 218                                             Page 220
    1   Failed.                                          1        Q. And then eventually, if those
    2            Do you see that?                        2   orders pass all of that, that's when they're
    3       A. Yes.                                      3   released for shipment?
    4       Q. And then for a period from                4        A. Yes. So after an order passes
    5   March 2012 to November 2012, it adds up the      5   all through those, then the order -- the
    6   order lines processed and the order lines        6   items on the order, then it looks at -- the
    7   failed.                                          7   system will look at availability of the
    8            Do you see that?                        8   product. And if the product is available in
    9       A. Yes.                                      9   the distribution center, then there's -- the
   10       Q. Your customer service                    10   order activity rules govern this. So then
   11   department was responsible for processing the   11   there's a -- a pick is generated. So then
   12   order lines, right?                             12   the person in the distribution center goes
   13       A. No. I mean, if we entered a              13   and picks the product and they -- there's a
   14   manual order, yes, but there were a series of   14   process called pick confirm, and then they
   15   edits and a lot of electronic orders that       15   put it in the packing area and there's a
   16   then ran edits and -- that we didn't really     16   practice called pack confirm. So it goes
   17   do or own.                                      17   through all these steps.
   18       Q. Sure. And we might be talking            18             And then after it's
   19   past one another.                               19   pack-confirmed, there's kind of a count to
   20       A. Okay.                                    20   make sure everything matched up, and then
   21       Q. Happens all the time. I might            21   following that, there's a ship confirm, which
   22   ask a bad question. I ask -- I do it all the    22   basically means we put this on the truck.
   23   time. But what I mean is that when an order     23   And then that generates an invoice.
   24   line gets shipped, it's shipped by the          24        Q. And then once it's on the
   25   customer service department, right?             25   truck, it's released?
                                             Page 219                                             Page 221
    1       A. No. An order is shipped -- I              1        A. Well, I don't know -- I mean,
    2   mean, not to -- an order is shipped by our       2   it's -- I don't know if there's like a
    3   shipping department, right, by our facility      3   release -- I mean, once it's on the truck
    4   in -- where the product is kept. Customer        4   it's already -- you know, it's gone through
    5   service does not ship orders.                    5   those processes I named.
    6       Q. Then who releases the order to            6        Q. Sure.
    7   be shipped?                                      7              But once it's on the truck,
    8       A. Well, if the order is                     8   it's sort of out of Mallinckrodt's hands and
    9   electronic, it flows through the system. If      9   going to wherever it's supposed to go, right?
   10   an order is manual, customer service enters     10        A. Sort of, but not really.
   11   the order and then if it passes the edits, it   11   Because we also -- we also make sure that --
   12   will just flow through. And if an order has     12   made sure that then it was delivered to the
   13   field edits, typically it's customer service    13   right spot, including the signature of the
   14   that can release, like, something that was      14   person and checking that up against a list of
   15   held. But there may be others as well.          15   who was authorized to receive that product
   16       Q. Sure.                                    16   and ensured that happened.
   17            And what do you mean by passing        17              And at that point I would say,
   18   edits?                                          18   after we know they signed it, it was signed
   19       A. So there's all kinds of edits            19   for by the right person, it was delivered,
   20   that run over an order in the order             20   then I think it's fair to say, then it's
   21   management system; unit of measure checks,      21   totally out of ours.
   22   address matches, 222 number, you know,          22        Q. But assuming that everything is
   23   restricted and unrestricted, a lot of edits     23   processed correctly, it's delivered
   24   like that. So we kind of refer to those as      24   correctly, Mallinckrodt doesn't have the
   25   order integrity checks.                         25   hands on its product after it's on the truck?
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                                             Page 222                                             Page 224
    1       A. Yes, I think that's fair to               1   if you get one electronic order it's going to
    2   say.                                             2   be a lot more product, typically.
    3       Q. And then during that process              3       Q. Sure.
    4   that you described, at some point it leaves      4            So if I'm understanding your
    5   customer service's hands, right, and             5   testimony correctly, the majority of product
    6   essentially gets -- if I'm understanding your    6   that gets shipped in the time period of 2012
    7   testimony correctly -- placed in the hands of    7   to the time you left Mallinckrodt would have
    8   the delivery production team, right?             8   been ordered electronically.
    9       A. Yes. Yeah.                                9       A. Yes.
   10       Q. And then -- but if I'm                   10       Q. Do you have an understanding of
   11   understanding your testimony correctly, all     11   approximately how many order lines hit the
   12   of the lines that come in for an order go       12   algorithm?
   13   through that customer service system, right?    13            MR. BERG: Object to form.
   14       A. No. I mean, so, you know,                14       A. No. Well, are you referring to
   15   customer service is only going to see orders    15   the Suspicious Order Monitoring algorithm?
   16   that we either enter or that have not passed    16   QUESTIONS BY MR. GASTEL:
   17   those edits and then are on an exception        17       Q. Yes.
   18   report. You know, exception report for any      18       A. No. I don't really have a lot
   19   reason.                                         19   of information about how that algorithm
   20            If an electronic order, which          20   functions.
   21   is what probably 90% of what was ordered was,   21       Q. Sure.
   22   if an electronic order went from EDI through    22            (Mallinckrodt-Saffold
   23   CSOS, everything was good, we had the           23       Exhibit 39 was marked for
   24   product, it went down to the DC, we would --    24       identification.)
   25   we wouldn't really see that order. It           25                 --oOo--
                                             Page 223                                             Page 225
    1   wouldn't be fair to say it was in customer       1   QUESTIONS BY MR. GASTEL:
    2   service.                                         2       Q. I'm going to hand you a
    3       Q. And then if it's not flagged by           3   document that has been marked as Exhibit 39.
    4   the SOM algorithm, the electronic order --       4   And this is an e-mail from Matt Bell dated
    5       A. Yes.                                      5   October 8th, 2013, sent to a variety of
    6       Q. -- it would go through the                6   people. You're CC'd on it. You'll see that
    7   process that you described of being packaged     7   you're the last name on the second-to-last --
    8   and shipped and put on the truck, correct?       8   third-to-last CC line.
    9       A. Yes.                                      9             Do you see that?
   10       Q. And I think that you testified           10       A. Yes.
   11   that the vast majority of the orders are        11             MR. MILLER: Sorry. Is there a
   12   electronic, correct?                            12       Bates number on the document?
   13       A. Yes.                                     13             MR. GASTEL: MNK-T1_0004291190.
   14       Q. Was that true from the time              14   QUESTIONS BY MR. GASTEL:
   15   period of 2013 through present?                 15       Q. And the subject is Oxycodone
   16       A. I certainly couldn't speak to            16   Orders.
   17   the present today.                              17             Do you see that?
   18       Q. Sure.                                    18       A. Yes.
   19       A. But I can speak through my               19       Q. And it's a long e-mail chain,
   20   tenure at Mallinckrodt. I don't know if --      20   but it starts, if you flip back to the
   21   the number of orders, but I could say the       21   Bates-numbered page ending in 1193, it starts
   22   quantity of product. Does that kind of --       22   with this e-mail from Jacob Longenecker on
   23   because you're going to get -- onesie-twosies   23   October 3rd, 2013.
   24   are more likely to be manual, so you might      24             Do you see that?
   25   get a lot of onesie-twosie orders, but then     25       A. Yes.

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                                             Page 226                                            Page 228
    1        Q. And it says: As we previously            1   you know, some of this and instead you're
    2   discussed, we should see large oxy orders        2   selling this and we want to know why, right?
    3   today from McKesson and ABC. These orders        3   Because your forecast doesn't match and our
    4   can be spaced out based on their historical      4   production people are making the wrong stuff,
    5   demand.                                          5   so why are we getting this order?
    6            Did I read that correctly?              6             So I don't know -- because we
    7        A. Yes.                                     7   didn't want it to show on -- be backordered
    8        Q. And then if you flip to the              8   if it's not really what we were intending to
    9   next page after the chart, this is a             9   sell. So -- and a lot of people on here
   10   continuation of that same e-mail.               10   would have been, like, stakeholders in this
   11            It says: Jennifer, these               11   process.
   12   orders will certainly set off a flag on your    12        Q. Sure.
   13   end. Please allow the orders to process.        13             And then going back to the
   14            Did I read that correctly?             14   e-mail that you're covered on, it says:
   15        A. Yes.                                    15   Hello Jake and All. Updates below to the
   16        Q. And if you go back to the               16   shipping plan for the ABC and McKesson oxy
   17   e-mail, the Jennifer referenced on the e-mail   17   orders.
   18   is Jennifer Buist.                              18             Do you see that?
   19            Do you see that?                       19        A. Yes.
   20        A. Yes.                                    20        Q. And it says: After meeting
   21        Q. So am I correctly interpreting          21   with the customer service management today,
   22   this document that when Jacob Longenecker       22   it was decided the best way to approach the
   23   tells Jennifer that the orders are going to     23   suggested shipment weeks in my chart below is
   24   set off a flag on your end, that he's           24   to add lines to each of the purchase orders
   25   signaling that these orders would hit the       25   we have received from ABC and McKesson. Then
                                             Page 227                                            Page 229
    1   algorithm?                                       1   divide the items on the purchase order lines
    2            MR. BERG: Object to form.               2   by an equal amount for however many weeks I
    3       A. I'm not sure of that. You                 3   suggested that we ship the total SKU demand.
    4   know, sub- -- I just can't be sure, because      4   Finally, enter appropriate case quantities
    5   we did -- you know, we're pretty good at         5   and request dates for each line corresponding
    6   forecast and supply stuff and, so, you know,     6   to the regular shipment date for ABC or
    7   especially with some of the people on copy,      7   McKesson.
    8   they're kind of planning kind of guys, and I     8            Did I read all that correctly?
    9   know that they ran stuff to say, like, your      9       A. Yes.
   10   forecast is bad or this is too much demand      10       Q. Can you explain what any of
   11   and we shouldn't have to fill it, just          11   that means?
   12   because of from like a fill rate and service    12       A. No. I don't really recall
   13   and production planning.                        13   this, and I'm not sure I understand what he's
   14            So I don't know if they're             14   doing here.
   15   really referring to the algorithm for           15       Q. And then -- but you don't --
   16   Suspicious Order Monitoring or not.             16   you see the reference to customer service
   17   QUESTIONS BY MR. GASTEL:                        17   management?
   18       Q. Do you know any other flag that          18       A. Yes.
   19   Jennifer Buist was responsible for other than   19       Q. Do you see any other customer
   20   a Suspicious Order Monitoring flag?             20   service folks on this e-mail other than you?
   21       A. Yeah, yeah. So they -- I can't           21       A. Yes.
   22   really recall like a name for it, but just of   22       Q. Who else is on there? Let me
   23   what we would call excessive demand, not        23   strike that. Let me back up.
   24   Suspicious Order Monitoring but just, hey,      24            Do you see any other people
   25   you know, you told me you were going to sell,   25   from customer service management on here

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    1   other than you?                                  1   Martinez and Ashley Kitchen.
    2       A. I do.                                     2            Do you see that?
    3       Q. And who are those people?                 3       A. Yes.
    4       A. Kris Quasebarth.                          4       Q. It says McKesson Order
    5       Q. I don't mean to be rude, sir,             5   Restrictions is the subject line.
    6   but are you done?                                6            Do you see that?
    7       A. Oh, yeah. I'm sorry.                      7       A. Yes.
    8       Q. Okay. It's no problem. I just             8            MS. WIDAS: Can you give the
    9   didn't know if you were still looking for        9       Bates number of that, please.
   10   names.                                          10            MR. GASTEL: MNK-TNSTA --
   11            What was Kris Quasebarth's             11       sorry. MNK-TNSTA04824847.
   12   role?                                           12   QUESTIONS BY MR. GASTEL:
   13       A. He was manager of dosage and             13       Q. Do you recall receiving this
   14   API customer service.                           14   e-mail, sir?
   15       Q. Okay, I'm sorry. I thought               15       A. No.
   16   that only Mr. Rausch and Ms. Stewart were       16       Q. The e-mail starts with an
   17   managers of dosage.                             17   e-mail from Karen Harper on January 18th,
   18       A. So in 2013, neither Jim Rausch           18   2017, to a variety of people. You're not on
   19   nor Cathy Stewart reported to me anymore and    19   that e-mail. But it's inviting folks to join
   20   I don't think Jim was even part of the          20   a conference meeting related to this attached
   21   company anymore. So Kris was the                21   press release.
   22   replacement, and we consolidated API and        22            Do you see that?
   23   dosage kind of under one manager and that was   23       A. Yes.
   24   Kris.                                           24       Q. And then the press release
   25       Q. Got it. Was he still there               25   apparently comes from the DEA Public Affairs
                                             Page 231                                             Page 233
    1   when you left the company?                       1   Division.
    2        A. No.                                      2            Do you see that?
    3        Q. Who was in that role when you            3       A. Yes.
    4   left the company?                                4       Q. And it's titled McKesson agrees
    5        A. Amy Martinez.                            5   to pay record $150 million settlement for
    6        Q. Are you aware that in or around          6   failure to report suspicious orders of
    7   2007, McKesson had their license suspended by    7   pharmaceutical drugs.
    8   the DEA in certain of its operations because     8            Did I read that correctly?
    9   of McKesson's failure to maintain effective      9       A. Yes.
   10   controls against diversion?                     10       Q. And it's dated January 17th,
   11        A. No, I don't recall that. Also,          11   right?
   12   in 2007, I didn't really work with --           12       A. Yes.
   13        Q. Sorry. If I said 2007, I meant          13       Q. Which would have been, I
   14   2017.                                           14   believe, one day before the January 18th,
   15        A. Oh. Well, also in 2017, after           15   2017 e-mail that Karen starts this e-mail
   16   March of 2017, I didn't really do anything      16   chain with.
   17   with pharmaceuticals anymore. So, no, I was     17            Do you see that?
   18   not aware of that.                              18       A. Yes.
   19            (Mallinckrodt-Saffold                  19       Q. And the press release states:
   20        Exhibit 40 was marked for                  20   McKesson Corporation, one of the nation's
   21        identification.)                           21   largest distributors of pharmaceutical drugs,
   22   QUESTIONS BY MR. GASTEL:                        22   agreed to pay a record $150 million civil
   23        Q. I'll show you a document that's         23   penalty for alleged violations of the
   24   been marked as Exhibit 40. And this is an       24   Controlled Substances Act, the U.S. Drug
   25   e-mail from Emily Breneman to you, Amy          25   Enforcement Administration announced today.

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    1            Did I read that correctly?             1   its failure to comply with the Controlled
    2       A. Yes.                                     2   Substances Act, correct?
    3       Q. "The nationwide settlement               3        A. Yes.
    4   requires McKesson to suspend sales of           4        Q. And then going back to the
    5   controlled substances from its distribution     5   e-mail that you're copied on, it says: Let
    6   centers in Colorado, Ohio, Michigan and         6   me know if you need any help from me with the
    7   Florida for multiple years. The staged          7   item restrictions for Lakeland. Thanks,
    8   suspensions are among the most severe           8   Emily.
    9   sanctions ever agreed to by a DEA-registered    9             Do you see that?
   10   distributor. The settlement also imposes new   10        A. Yes.
   11   and enhanced compliance obligations on         11        Q. And then again, the e-mail
   12   McKesson's distribution system."               12   below that shows the Aurora, Colorado and
   13            Did I read that correctly?            13   Livonia, Michigan accounts having their
   14       A. Yes.                                    14   schedule drugs removed today.
   15       Q. Does this refresh your                  15             Do you see that?
   16   recollection at all about McKesson having      16        A. Yes.
   17   some of its controlled substances licenses     17        Q. And that would be January 20th,
   18   suspended by the DEA?                          18   2017, right?
   19       A. I really don't remember this.           19        A. Yes.
   20       Q. If you flip to the next page,           20        Q. And I assume that customer
   21   which I think is the last page, at the very    21   service would have to get involved in this in
   22   top it says: The government's                  22   order to essentially flip off the switch to
   23   investigation -- I'm sorry.                    23   allow orders of Mallinckrodt controlled
   24       A. Let me find it. Okay.                   24   substances to go to these locations that
   25       Q. Maybe it's not the last page.           25   McKesson no longer had a DEA license for,
                                           Page 235                                              Page 237
    1   I'm sorry. Are you with me?                     1   right?
    2        A. Yes.                                    2       A. Well, you know, I'm not so
    3        Q. It says: The government's               3   sure, to flip the switch. That's owned by
    4   investigation developed evidence that even      4   data integrity analysts and data integrity
    5   after designing a compliance program after      5   department, so I think maybe even -- so I
    6   the 2008 settlement, McKesson did not fully     6   don't think we would.
    7   implement or adhere to its own program. In      7            And then Emily reports --
    8   Colorado, for example, McKesson processed       8   reported to me in customer service, and I
    9   more than 1.6 million orders for controlled     9   think she's asking here, hey, do you need us
   10   substances from June 2008 through May 2013,    10   to, but I don't think we had to do much to
   11   but reported just 16 orders as suspicious,     11   remove a schedule. I don't think we owned
   12   all connected to one instance related to a     12   that, that switch.
   13   recently terminated customer.                  13       Q. And I'm sorry, in your opinion,
   14            Did I read that correctly?            14   who owned that switch?
   15        A. Yes.                                   15       A. Data integrity.
   16        Q. And that reference to the 2008         16       Q. And who did they report to?
   17   settlement, we saw in a previous PowerPoint,   17       A. I don't know who data integrity
   18   Mallinckrodt was aware of based on that        18   rolled up into. I think they were kind of
   19   executive committee presentation of April      19   part of the finance org, but -- and I can't
   20   2011.                                          20   recall the name of who kind of owned that
   21            Do you recall that?                   21   group.
   22        A. Yes.                                   22       Q. Do you know if any of
   23        Q. And then here's another                23   Mallinckrodt's shipments to these McKesson
   24   instance of McKesson being -- having an        24   facilities that had their license suspended
   25   enforcement action undertaken by the DEA for   25   by the DEA were flagged by Mallinckrodt's
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    1   algorithm as potentially -- or as peculiar       1   QUESTIONS BY MR. GASTEL:
    2   orders?                                          2       Q. Do you recall if there was ever
    3            MR. BERG: Objection. Object             3   an attempt to make adjustments to the
    4       to form.                                     4   algorithm to reflect that Mallinckrodt's
    5       A. I don't know.                             5   distribution customers were getting in
    6   QUESTIONS BY MR. GASTEL:                         6   trouble with the DEA?
    7       Q. Do you know if Mallinckrodt               7            MR. BERG: Object to form.
    8   reported any of these -- any of its previous     8       A. I don't really recall any.
    9   orders to these McKesson distribution            9            (Mallinckrodt-Saffold
   10   facilities that had their licenses suspended    10       Exhibit 41 was marked for
   11   by the DEA, did Mallinckrodt report that --     11       identification.)
   12   any of those orders to the DEA as suspicious?   12   QUESTIONS BY MR. GASTEL:
   13       A. I don't know.                            13       Q. I'm going to hand you a
   14       Q. And you would ask Karen Harper           14   document that we'll mark as Exhibit 41. And
   15   those questions if you needed to know that?     15   this is an October 28, 2013 e-mail from Amy
   16       A. Yes.                                     16   Martinez to you titled Materials.
   17       Q. Did it ever concern you that             17            Do you see that?
   18   Mallinckrodt's distribution customers were      18       A. Yes.
   19   getting into trouble with the DEA and --        19            MR. GASTEL: And the Bates
   20   well, strike that.                              20       number on it --
   21            Did it ever concern you that           21            MR. MILLER: Bates number on
   22   Mallinckrodt's distribution customers were      22       the document? Ah, thank you.
   23   getting in trouble with the DEA?                23            MR. GASTEL: -- is
   24            MR. BERG: Object to form.              24       MNK-T1_0007872732.
   25       A. Yes.                                     25                 --oOo--
                                            Page 239                                             Page 241
    1   QUESTIONS BY MR. GASTEL:                         1   QUESTIONS BY MR. GASTEL:
    2       Q. Did you ever bring that up in             2       Q. And the body of the e-mail
    3   any of the meetings that you had with the        3   says: Hi George. I meet -- and I think she
    4   Suspicious Order Monitoring steering             4   means met -- I met this morning with Ginger.
    5   committee?                                       5   I will be scheduling some time to sit with
    6       A. No.                                       6   her to learn a little more about the generics
    7       Q. Do you ever recall it being               7   part of our business. Attached are some
    8   discussed?                                       8   resources that she shared. Amy.
    9            MR. BERG: Object to form.               9            Did I read that correctly?
   10       A. Yes. We're, at Mallinckrodt,             10       A. Yes.
   11   certainly our compliance team, they really      11       Q. Do you recall this e-mail?
   12   discussed, you know, hey, here's -- you know,   12       A. No.
   13   as you see in slides, I think it's evident,     13       Q. Do you recall the Ginger that
   14   the team likes to -- you know, chose to         14   she's referencing?
   15   discuss these actions because we want to make   15       A. Yes.
   16   people -- I think the intention was to raise    16       Q. And do you know why Amy would
   17   awareness of the importance of compliance.      17   have been sending her training materials for
   18   QUESTIONS BY MR. GASTEL:                        18   the generic part of the business?
   19       Q. Was there ever a discussion              19       A. Oh, no, I'm sorry. I think
   20   retroactively to look back to see if the        20   Ginger sent Amy these materials.
   21   algorithm was correctly flagging any of the     21       Q. Got it. And then Amy was being
   22   orders that the DEA was later penalizing        22   trained on the generic part of the business?
   23   Mallinckrodt's distributors for?                23       A. Yes.
   24            MR. BERG: Object to form.              24       Q. I'm sorry, I did flip those
   25       A. I don't recall any.                      25   around.
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    1            And then Amy was forwarding             1            Do you see that?
    2   them on to you?                                  2       A. Yes.
    3       A. Yes.                                      3       Q. And the source of this material
    4       Q. To make you aware that she had            4   was apparently IMS Health pharmaceutical
    5   been trained on these materials?                 5   data.
    6       A. Yes.                                      6            Do you see that?
    7       Q. And then do you recall why you            7       A. Well, it looks like there are
    8   asked her to be trained on these materials?      8   several sources.
    9            MR. BERG: Object to form.               9       Q. Sure.
   10       A. So I didn't ask her to be                10       A. IMS Health, PhRMA, AC Nielsen,
   11   trained on these materials. I did ask her to    11   the FDA and then a few others as well.
   12   make sure she understood the generics           12       Q. Sure.
   13   business. She was coming from the API           13            And then on the next page,
   14   business and I wanted to make sure she had a    14   there's a chart?
   15   successful onboarding with responsibilities     15       A. Yes.
   16   for generics.                                   16       Q. And it says Key Competitors for
   17   QUESTIONS BY MR. GASTEL:                        17   Mallinckrodt Products.
   18       Q. And why is that?                         18            Do you see that?
   19       A. Because she was becoming the --          19       A. Yes.
   20   we're changing her role, so she was replacing   20       Q. And Actavis is listed having
   21   Kris as the manager of both generics and API.   21   apparently $2.3 billion in sales.
   22       Q. And do you see that the e-mail           22            Do you see that?
   23   attaches various PowerPoint presentations and   23       A. Yes.
   24   training materials?                             24       Q. And then Mallinckrodt is next
   25       A. Yes.                                     25   with $770 million in sales.
                                             Page 243                                             Page 245
    1       Q. And the first PowerPoint                  1            Do you see that?
    2   presentation is entitled Mallinckrodt            2      A. Yes.
    3   Pharmaceuticals Specialty Generics Overview,     3      Q. And the source of this material
    4   10/13. I think it's the first page after the     4   was IMS?
    5   e-mail.                                          5            MR. BERG: Object to form.
    6       A. Yes.                                      6   QUESTIONS BY MR. GASTEL:
    7       Q. Do you see that?                          7      Q. Do you see that?
    8       A. I do.                                     8      A. Yes.
    9       Q. Will you flip to --                       9      Q. And then if you will flip to --
   10   unfortunately, the pages aren't marked, but     10   maybe there are page numbers. Page 11?
   11   will you flip to the graph that has Proposed    11      A. Oh, got it.
   12   Generic Total Market Sales?                     12      Q. And it says Products Driving
   13       A. Yes. I think I'm there. Okay,            13   Net Sales.
   14   I'm there.                                      14            Do you see that?
   15       Q. It says Projected Generic Total          15      A. Yes.
   16   Market Sales in billions of dollars.            16      Q. And it says in millions.
   17           Do you see that?                        17            Do you see that?
   18       A. Yes.                                     18      A. Yes.
   19       Q. And then there's a chart here            19      Q. And it's a pie graph.
   20   that shows that in 2008, the generic market     20            Do you see the pie graph?
   21   was approximately $60 billion?                  21      A. Yes.
   22           Do you see that?                        22      Q. And in the upper right-hand
   23       A. In 2008, yes.                            23   corner, there is a section of the pie that
   24       Q. And then in 2016, it was                 24   says Methylphenidate.
   25   projected to grow to $100 billion.              25            Do you see that?
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    1        A. Yes.                                    1          (Deposition recessed at
    2        Q. And that is apparently the              2      3:50 p.m.)
    3   largest net sale here, correct?                 3               --oOo--
    4        A. Yes.                                    4
    5        Q. And are these Mallinckrodt              5
    6   generic products?                               6
    7            MR. BERG: Object to form.              7
    8        A. Yes. Well, I don't know.                8
    9   These are all products Mallinckrodt sold,       9
   10   yes.                                           10
   11   QUESTIONS BY MR. GASTEL:                       11
   12        Q. That's what I mean.                    12
   13        A. But I don't know if this is            13
   14   exclusive to Mallinckrodt, no.                 14
   15        Q. Sure.                                  15
   16            And then hydrocodone at               16
   17   120 million is the next largest chunk of the   17
   18   pie?                                           18
   19        A. Yes.                                   19
   20        Q. And oxycodone/oxycodone APAP is        20
   21   the next largest chunk?                        21
   22        A. Yes.                                   22
   23        Q. Right? And the fentanyl patch          23
   24   is the next largest chunk?                     24
   25        A. Yes.                                   25

                                           Page 247                                             Page 249
    1       Q. And then the morphine ER is the          1
                                                        2
                                                                         CERTIFICATE
    2   next largest chunk.                             3           I, SUSAN PERRY MILLER, Registered
    3            Do you see that?                           Diplomate Reporter, Certified Realtime
                                                        4   Reporter, Certified Court Reporter and Notary
    4       A. Yes.                                         Public, do hereby certify that prior to the
                                                        5   commencement of the examination, GEORGE
    5       Q. And those last four, those are               SAFFOLD was duly sworn by me to testify to
                                                        6   the truth, the whole truth and nothing but
    6   all opioids, right?                                 the truth;
                                                        7
    7       A. Yes.                                                 That pursuant to Rule 30 of the
    8       Q. Was it your understanding in             8   Federal Rules of Civil Procedure, signature
                                                            of the witness was not reserved by the
    9   your time at Mallinckrodt that Mallinckrodt     9   witness or other party before the conclusion
                                                            of the deposition;
   10   generic opioids were approximately half or     10
   11   more than half of the net sales for generic                 That the foregoing is a verbatim
                                                       11   transcript of the testimony as taken
   12   products at Mallinckrodt?                           stenographically by and before me at the
                                                       12   time, place and on the date hereinbefore set
   13       A. Yes.                                    13
                                                            forth, to the best of my ability.
   14            MR. GASTEL: Mr. Saffold, I'm                       I DO FURTHER CERTIFY that I am
   15       sure this will be music to your ears,
                                                       14   neither a relative nor employee nor attorney
                                                            nor counsel of any of the parties to this
   16       but that's all the questions I have
                                                       15   action, and that I am neither a relative nor
                                                            employee of such attorney or counsel, and
   17       for you, subject to my earlier             16   that I am not financially interested in the
                                                            action.
   18       objection. We'll reserve the right,        17
                                                       18
   19       but that's all I have for you today.       19      _____________________________
   20            THE WITNESS: Okay. Thank you.                 Susan Perry Miller
                                                       20      CSR-TX, CCR-LA, CSR-CA-13648
   21            THE REPORTER: Anything                        Registered Diplomate Reporter
                                                       21      Certified Realtime Reporter
   22       further?                                           Certified Realtime Captioner
                                                       22      NCRA Realtime Systems Administrator
   23            MR. BERG: No questions.                       Notary Public, State of Texas
   24            THE VIDEOGRAPHER: Off the
                                                       23
                                                       24
                                                               My Commission Expires 03/30/2020
   25       record at 3:50.                            25
                                                               Dated: 12th of February, 2019

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                                         Page 250
    1            __ __ __ __ __ __
    2             LAWYER'S NOTES
                 __ __ __ __ __ __
    3
    4   PAGE    LINE
    5   ____   ____ _____________________________
    6   ____   ____ _____________________________
    7   ____   ____ _____________________________
    8   ____   ____ _____________________________
    9   ____   ____ _____________________________
   10   ____   ____ _____________________________
   11   ____   ____ _____________________________
   12   ____   ____ _____________________________
   13   ____   ____ _____________________________
   14   ____   ____ _____________________________
   15   ____   ____ _____________________________
   16   ____   ____ _____________________________
   17   ____   ____ _____________________________
   18   ____   ____ _____________________________
   19   ____   ____ _____________________________
   20   ____   ____ _____________________________
   21   ____   ____ _____________________________
   22   ____   ____ _____________________________
   23   ____   ____ _____________________________
   24   ____   ____ _____________________________
   25




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